2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 131-3

Page 1 of 129

EPA Buority . o . . . Biden/pute/Rolicy Addtessing . Steps Needed to Fully Execute . . Difficulties (noting any that need WH Agency Component
Office(s) Level Action Messaging Relevant EO/Action and Section/Category (include rule number or explanation of policy {completed ones bolded) Date of Completion (Estimated) pecisiance) Tasked with Follow-
(1-3) overturned) Ups
AO Social Cost of GHG Remove the inapproiate use of Social Cost of EO 14154 - Unleashing American Energy 1. Determine applicability of Social Cost of GHGs 1. Day-->Ongoing Administrator's
Greenhouse Gases in government-wide actions Office, General
Delivering Emergency Price Relief/Cost of Living -- 2. Reevaluate all previous agency actions/decisions made with Biden SC- 2. Ongoing Counsel
Eliminate harmful, coercive “climate” policies GHGs and determine path forward
3. Draft Guidance to OMB/OIRA/NEDC by Week of
3. If needed, develop updated Guidance on the Social Cost of Carbon, April 7
Methane. and Nitrous Oxide
AO Support Cooperative Federalism Increasing opportunities for cooperative federalism to |EO 14154 - Unleashing American Energy 1. Issue formal memo rescinding Biden EPA interpretation of EPA’s role in 1. Early April Administrator's
remove federal government decision-making, delays state delegated programs Office, all relevant
Delivering Emergency Price Relief/Cost of Living -- 2. Ongoing program offices (Air,
Lower the cost of housing and expand housing 2. Program specific revamped guidance to ensure deference to states Chemicals, Water,
supply ; Eliminate harmful, coercive “climate” administering programs 3. March 10 - Ongoing Land), Enforcement
policies Office, General
3. Create teams to expedite target primacy/delegation of federal programs to Counsel
states (ie INC CWAANA\
OAR Remove the carbon pollution Revise regulations impacting and restricting energy EO 14154 - Unleashing American Energy Reconsideration of “New Source Performance Announce reconsideration carbon pollution standard (part of Clean Power |Announced - March 12 Administrator's
standard (part of Clean Power Plan _|production, generation, transportation, etc. Standards for Greenhouse Gas Emissions from Plan 2.0) Proposed Rule to OMB - End of April with limited or Office, Air Office,
2.0) Delivering Emergency Price Relief/Cost of Living -- |New, Modified, and Reconstructed Fossil Fuel- no RlAchanged (original timeline with RIA changes: General Counsel
Eliminate harmful, coercive “climate” policies Fired Electric Generating Units; Emission August)
Guidelines for Greenhouse Gas Emissions from Proposed Rule Issues - May 2025
Existing Fossil Fuel-Fired Electric Generating Final Rule - Early 2026
Units; and Repeal of the Affordable Clean Energy
Rule” (89 FR 39798; May 9, 2024).
OAR Reconsider Oil and gas standards Improvements to this rule are critical as we work to EO 14154 - Unleashing American Energy Reconsideration of “Standards of Performance for |Announce reconsideration oil and gas standards (OOOOb/c) Announced reconsideration for six high priority Administrator's
(OOOCOb/c} reduce burden on oil and natural gas producers and New, Reconstructed, and Modified Sources and issues - March 12 Office, Air Office,
restore American energy dominance Delivering Emergency Price Relief/Cost of Living -- |Emissions Guidelines for Existing Sources: Oiland Interim Final Rule to OMB - May 2025 General Counsel
Some requirements are unnecessarily burdensome, Eliminate harmful, coercive “climate” policies Natural Gas Sector Climate Review. (89 FR 16820; Final reconsideration rule on two high priority rules
particuarlly affecting smaller producers. March 8, 2024.) to OMB - June 2025
Proposed reconsideration on six high priority issues
to OMB - Dec 2025/Jan 2026
Final reconsideration on six high priority issues -
Der 2N9A/lan 9N27
OAR Revise National Ambient Air Quality |Hinders American manufacturing with burdensome EO 14154 - Unleashing American Energy Revisiting the “Reconsideration of the National Announce reconsideration NAAQS PM 2.5 Announced - March 12 Administrator's
Standard for Particulate Matter (PM |Clean Air Act permitting requirements that deter Ambient Air Quality Standards for Particulate Proposed Rule to OMB - End of May Office, Air Office,
NAAQS) economic growth Delivering Emergency Price Relief/Cost of Living-- |Matter” (89 FR 16202; March 6, 2024). Proposed Rule - June (original timeline: December) General Counsel
Burdens states with planning requirements Eliminate harmful, coercive “climate” policies Final - January 2026 (original timeline: August 2026)
(Dependant on review of to-be reconstituted CASAC
Advisory Board
OAR Ending the EV Mandate Ending the EV Mandate = Lower Car Prices -We're EO 14154 - Unleashing American Energy 1. EPA sends 3 targeted California Clean Air Act waivers to Congress for 1. 2/19/2025 WH OMB/OSTP,
fighting to stop costly electric vehicle mandates that consideration under CRA DOT/NHTSA,
drive up car prices. By pushing back on California’s Delivering Emergency Price Relief/Cost of Living -- 2. 2/19/2025 3. WH OMB/OSTP help with review and science |Administratar's
overreach, we're keeping affordable gas-powered Eliminate harmful, coercive “climate” policies 2. EPA r dsr ‘ing and reviewing the ment basis Office, Air Office,
options on the market. Finding, which would have direct impact on tailpipe emission rules 3. w/in next 2 months (by end mid-May) General Counsel
4, Coordination w/ DOT/NHTSA to expedite
Overhauling Costly Tailpipe Regulations - Reviewing 3. Review of Endangerment Finding 4, Late 2025 (depending on End. Finding) timeline
the Endangerment Finding and tailpipe emissions rules
could stop burdensome regulations that increase the 4, Overhaul of tailpipe emissions rules
cost of cars, trucks, and transportation across the
EDA
OAR End the EV Mandate - Light-  |This rule set emission standards for cars and trucks at | Executive Order 14154: Unleashing American Reconsideration of “Multi-Pollutant Emissions Proposed Rule to OMB - May 2025

Duty and Medium-Duty
Vehicles

such aggressive levels that automakers cannot
realistically satisfy the standards without shifting
production away from internal-combustion engine
(ICE) vehicles to electric technologies; hence, it
functions as an electric vehicle (EV) mandate.

Energy

Standards for Model Years 2027 and Later Light-
Duty and Medium-Duty Vehicles” (89 FR 27842;
April 18, 2024),

Final Rule - September 2025

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End ihe EV Mandate Heavy
Duty Vehicles __

Ensure E15 vear-Hound

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This tule set emission standards for large trucks at
such aggressive levels ihat truck manufacturers cannot
realistically catisty the standards without shift ne
production away from diesel engine vehicles to electric
Hechnologies: hence, i lunctions as an electric vehicle
(EV) mandate, :

_ [Decrease the cost of fuel

Cheaper Gas with 15 Expansion - Qui decision to

Revise the EPA's AIM Act Technology
Transfer rule

expand year-round access to E15 tucl means more
competition at the pump, loweling gas prices or
millions, of divers inthe Midwest

Will allow time for companies to succeastully transition
to new solutions from U.S chemical and

_|manutactaring companies to) the affected commercial

Reconsider the Mercury Air Toxics
Standards (MATS)

and industial refrigeration uses.

Ihe estimated costs to power plant owners and
lopelators to comply wilh the revieed amendments to
MATS ate lalde given the success the Industry has

lother hazardous alr pollutants -

JEPAU neerectinaied ihe compliance costs of the rule.

|Reconside! National Emission
Slandards for Hazardous Air
Pollutants (NESHAP) (8 rulemakings)

and that there are no meaningful public health benefits
ito be gained from the rule’s mandated reduction in
HAP emissions

Copcerns that NESHAPs may create Unnecessary
burdens fo: domestic ind ustty and manufacturers and
negatively impact oul woikioice, who ale avitel part ot
oureconomy. In addition, these NESHAPs raise costs

_ ito the consumer across the country and may ipen!

Reconsider Good Neighbor Plan

Revise the Exceptional Events Rule

Restiuctuye Regional Haze Progiam

domestic supply at critical materials,

GNP is pre coed con th electric enerey
production, oll and gascompanies, and indusival
Manufacturing. We areconcerned it unduly burdens
some states withquestionab le impacts onthe alr
quality in other slates.

Pulls critical US Manufacturing sectors_—like.

cement iron, And steel, paper, and glass into a

States ofan cannot meen alr pollution fram
“exceptional events’ suchas wildfires, and including
date tiom these events when assessing state's air
quality-standard atlainment status can be untalr,
Congress provided EPA au ihovity lo account toy this.

Ensure states fave the tools they need to effectively

/ protect vieibility. Better take into account fon United

States and Bon -anthyopogenic impacts on ony) in
Class | areas,

SienWcant Improvements in Visibility Have occu ha
over ihe past 20 yeals as a resull of Clean Air Act and
slate actions.

The federal program must evolve to allow far
Idemonstrated improvements that avoid unnecessary
burdens tor states and industry.

Jexecutive Cre ibe Unleashing pecan
Energy

Delivering Eni elgency Price Reliet/Cost of Living -
Elonmate parniul coc ive (camate polcies _

EO 14154 - Unleashing American Enersy

Deliveling Emergency Price Reliet/Cosi of Living --
Euminate countemproductive requirements that

_ |ralee the costs of home appliances

EO 14154 Unleashing American Enerey

| | Bellvering Emergency Piice Rellet/Cost of Living _
jaleady achieved in reducing emissions oy mercury and

| Eliminate harmlul, coercive ‘climate’ policies —

EQ 14154. Unleashing American Energy

Delivering Emergency Price Relict/Cost of Living --

Eliminate Patritul coercive “Cliniale” policies

Executive Order tatga: u Hee Ais
Energy

|Executive Order 14170: Removing Barriers fe

American Leadership in Artificial Intelligence
Execiitive Oider 1419. Unleashing Depo

though Deresulation

/ a progranithat i been tied up in stop and start|

|Executive Order 14154: Unigashi ing American

Eneigy

Date Filed 04/21/25

Rec onsidelation of "Greenhouse Gas Emissions

Entry Number 131-3

Standards {or Heavy Duty Vehicles Phase 3” ee

FR 29440: April 22, 2024), ane

: Reevaluation of Control of Air Pollution from New

Moto) Vehicles) Heavy-Duty Engine and Vehicle
Standards” (68 FR 4206; January 24, 2023),

_ Reconsideration of ‘Phasedown of

Hydrolluorocarbons: Restiictions on the Use of :
Certain Hydrofluorocaybons Underthe American
nnovation and Manutactuting Act of 2020) (86 FR
79098, Oclober 24 2000),

Reconsideration of the “National Emlesion
Standards tor Hazardous Alt Pollutants: Coal and
Oll-Fired Electric Ullity Steam Generating Units
Review of the Residual Risk and Technology
Review? (89 FR 36508; May 7, 2024),

Initially reconsidering NESHAPs for ea iton

and steel manufacturing, rubber tire
manufacturing, synthetic oyganic chemical
IManulactuling industry, commercial sledlze sto
medical devices and spices, lime manufacturing,
Coke ovens, copper smelting, and taconite ore

HOCPSSING
Reconsidevation of “Federal (Good Neighboy Plan’
fortle 2015 Ozone National Ambient Air Quality
Standards’88 FR G6654 (une 5, 2023) and Federal
( GoodNeighbor Plan forthe "2015 Ozone

_ (National AmiblentAlr Quality Standards, Notice on

Remand of the Recordof the Good Neighbor Plan

_lto Respond to CenainComments” (89 FR oe

December 10, 2024),

[Revising Obama Teaver of Data Influenced by

Exceptional Events” (61 FR 682 i October 3.
2016),

Revising 4 number of (egulations going back

dozens of years

Page 2 of 129

Proposed Rule to OMB - May 2025

Final Bule-Seplember2025 | __

Heavy Duly Greentiouse Gas will be the priority,
Heavy Duty NOx will have longer timeline,

L Uphold the current April 28, 2025, |mplementation date to provide parity! 1. 22t2025

for E15 and E10 in Midwestern states

2. Assess the utilization ot as walvers as we entel into the summer

iduvingAuel season

4. Determine path fonwatd on outstand Small Refinery Waivers (150+) __

Revies te EPA's AIM Act Technology Transfer rule

Reconsidel Mercury and Al: Toxics Standards (MAIS)

feconsidel multiple Nav Emission Stnds, for Hazardous Air foe nis
Ne impactin 6 broad range of industrial Sertols

2. Ongoing

{Each NESHAP will take 1 2 yeas to finalize absent

_ | Potential luse of emergency ay fesu ne ing
_ |year delay of effectiveness |

S. View on approach

3, Ongoing |

Announced - March 12
Proposed Rule. june 2025
Final Rule Decembey 2025

Announced- March 12

Proposed Rule - {uly 2025

Final Rule Dec 20254.an 2026

Possible Presidentialemergency authority to

litigation use (0 evel used betore)

Proposed Rules - August 2025
Final Rules - March 2026 __

_ | limeline to be determined based on State

Implementation Plan Analysis and discussions with
states

Proposed Rule: Fall 2025
Final Rule: Fall 2026

Proposed Rule: Fall 2025
Final Rule: Fall 2026

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Administrators

_ Office, Al) Office, _
|General Counsel

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General Counsel

Administrators

_ lOtice Air otice,

General Counsel

jAdministrator s -

Office, Al Office,
General Counsel

Reconsider Greenhouse Gas
Reporing Rule (General)

Reconsider Greentiouse Gas __
Reporling Rule (Subpan W)

Revise TSCA Risk Evaluation
Framework Rule

[Revise TSCA PFAS 8[a)7 ce

Rule

Revise TSCA New Chemicals
Framewoik Rule

_ [Revise TSCA TCE Risk a
fue

Revise 15CA Methylene Chloride Risk | Revise the [SCA Methylene Chloride Risk Management |

(Management Rule

_|Bevise [SCA Carbon lelrachlorde
Risk Management Rule

Revise TSCA Perchlorbethylene Risk
Management Rule

_jensure thal restrictions are driven by the science

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Removing eRIN progjam from RFS. :

Setting new volumes to support liquid fuels and cteate
new value add for domestic farmers while keeping es
prices low

Revisions io GHGRP as a whole can be made to
|streamline (he reporting (eq urements across other
sectors in the program to find efficiencies and lower
burden on reporters

AD plies to approwmately 5, 700 regu lated entilies

Ipprovemente lo ths rule ae ciitical as we work to |

reduce burden on oil and natural gas producers and

festore American energy dominance

Some monitoring requirements are fmecessarlly _

burdensome, including those acne smaller olland
prodicers _

_ [Revise TSCA Risk Ban Framework Buleto noe

public health, increase efficiency, and follow the law __

Revise the [SCA 8(a)/ feporting rule to significantly
Cecrease the near billion dollar costs and over 11
million burden hours, [he majovity of this burden _
reduction will be realized by small businesses

Revise the 1SCA New chemicals framework rule to
improve tie approval process for new chemicals and to

|execulive Order, Unleashing American Encigy

Executive Older. Unleashing Amelican Energy

Execiitive Oder 14154 a American
Energy

EO 14192. alleviating unnecessary regulatory

|burderis EO 14219-ensure consistency with

statutory authority, EO 14154 ensure adherence
Io legislative requirements and eliminate
considerations beyond requirements

EO 14192. allieviating unnecessary regulatory :
burdens EO 14219-ensure consistency with

Slatutory authority, EO 14154. ensue adherence:

to legislative requirements and eliminate
rconsiderations beyond requirements

EO 14192. allieviating unnecessary regu latory
burdens EO 14219-ensure consistency with

to legislative fequire ments and eliminate

_ |considejations beyond Tequirements

Revise he ISCATCE Risk Management Ruleto
ponside! all regulatory options, a licu ofa ‘ban diret)
:

Rulelo conside: all regulatory options, in lieu ofa “‘ban-
first approach

Revise the [SCA Carbon Tetrachloride Risk
Management Rule to consider all regulatory options, in
lieu of a ban-tirst” approach

/Revise the TSCA Perchloroethylene Risk Management

Rule to consider all regulatory a inliguota ban-
first” approach

EO 14192-allieviating unnecessaly (egulatory
burdens EO 14219 ensure consistency with
statutory authority; EO 14154. ensure adicience
fo legislative requirements and eliminate
considerations beyond requirements

EO 14192 allieviating unnecessary (egulatory
burdens EO 14219 ensure consistency with
statutory authority; EO AA154. chsuie adherence
to legislative requirements and eliminate
considerations beyond requirements

EO 14192. allieviating u necessary regulatory
burdens EO 14219-ensure consistency with

Date Filed 04/21/25 = Entry Number 131-3

Rec oneidesation of “Revisions and Confidentiality
Determinations tai Data Elements Under the

Greenhouse Gas Reporting Rule’ (89 FR 31602)

Aol 25, 2024) and :

Beconsidesation of “Revisions and Confidentiality
Determinations for Data Elements Under the
Greenhouse Gas Reporting Rule” (B9 FR 31802:
|Apnl 25, 2024);

Reconsideration of “Greenhouse Gas Reporting
Rule: Revisions and Confidentiality Determin ations
for Petroleum and Natural Gas Systems” (B9 FR
42062; May 14, 2024),

Reconsideration Announced, Awalting court remand and Umeline WiLL be
determined

Coordinate Agency wide PFAS plan before announcing and proposing

CRA resolution intiaduced; litigation pending

(statutory authority, EO 14154. ensure adherence

CRA fesolution ileduced: (ligation pending

(ligation pending

Statutory authority: EO 141s; ensure adticvence :

to legislative fequlrements andeliminate _
considelations beyond fequiiements

EO 14192-allieviating unnecessary regulatory
burdens EO 14219-ensure consistency with
statutory authority; EO 14154. ensure adherence
to legislative requirements and eliminate
considerations beyond requirements

Page 3 of 129

Proposed Rule: May 2025
Final Rule: October 31,2025

Proposed Rule - wae 2025

| Final Rule- Septembe) 2025

Issue tour sdminivathe petitions letter-

March 2025 ©
Proposal Rule- May 2025
Final Rule November 2025

Administrators
Office, Office of
Chemical Safety and
Pollution Prevention,
General Counsel

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General Counsel

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General Counsel

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Chemical Safety and
Pollution Prevention,
General Counsel

EPA_00299723
Review enfoicement actions and
_ |revise enforcement policies

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Refoctis OECA to its core migsion of law enforcement
iby shitting away fom entorcing unlawful regulations

and from seeking to create pew regulation through
enforcement actions toward quick, efficient

enforcement tial brings industry back | inte as nce
/ Swiflly and without excessive peace

Revise unnecessary Coal Combustion Residuals
Management (disposal/storage) restrictions that are
creating a burden on energy providers

Reoventtocus of blownfields remediation program to

focus on economic development opportunities

Revise Designation a PFOA and PFOS as CERCLA
Hazardous Substances

_|Reconsideration widens On reducing burdens that do

Inol have demonstrable ben a

Faster, Streamlined Permitting - We have stleamiined

the EPA NEPA/EIS review process atthe EPA TQ and

Regional level to ensure Unnecessary climate-related

considerations are not being included, which should
help accelerate project approvals.

EO 14154. Unleashing American Enersy

_ }£0 14219 Encuiing Lawful Govermance

Date Filed 04/21/25

Delivering Emergency Price RellevCoot of Living

Eliminate harmtul, coercive “climate” policies

EO 14154 Unleashing American Energy __

Elminate fae coercive “climate policies

Delivering Emergency Price Reliel/Cost of Living —
Lower the cost of oe and expand:
SuoDy

EO 14192 allieviating u necessary regulatory
burdens EO 149 19-eneuie consistency with

: Delvenne Emergency Price Reliet/Cost of Living -—-

statutory authority: EO 14154- ensure adherence

to legislative requirements and eliminate
considerations beyond requirements

EO 14154. Unleashing American Energy :

Delivering Emergency Price Rellel/Cost of Living -—-
Lower te cost of housing and expand housing
Oe a | Eliminate barm{ul, coercive “climate”

Entry Number 131-3 Page 4 of 129

1. Internal format guidance implemented throughout OECA Headquarters 1, March 12 |

_ [te align enforcement with Executive Orders, including femoving
lenvironmental justice considerations

2. Elinunation of non Statutory elements throughout all enforcement
| programs

13. Formal/broad enfoicement discretion memoranda, tardet/detailed

guidance and secon rolling with area relevant issues, and revision

1 Propose teveion to addies waste below the water table
effectiness of potential fOuleS
2 Proposed revisions to er Meragement Una te

3. Finanlize Federal permit program to provide consistency for states __

4 Expidite stale perniit program approvals (ND, AL, backlog)

5. Reevaluate potential for beneficial use and fevisions te current uses

ongoing stakeholder discussions io determine cost: |

2. Guidance on any efor to target certain

communities (similar to Opportunity Zones)

DOJ, Administrators -

_ (Office, allrelevant

program offices (Air,
Chemicals, Wate;
Land), QECA,

|General Counsel

|Administiators

Office, Office of Land

land Emergency

_|Adminishators

Office, Otfice of Land
and Emergency
General

iRaveinistior

Office, Office of Land
and Emeigency _

Memt, General

Administrators

Office, Regional
Offices, General
Counsel

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 5 of 129

Revise/Overhaul Waters of he US (WOTUS) _ |Delivering Emerge ney Price Beliet/Cost of Living -- : : __|L. Update guidance replacing Biden EPAincojrect interpretations —__ 1. March 12 | . / : Administrators
a (Lower the cost of housing andexpand housing —_ / : ao a Co : | (Office, Wate: Office,
jsupoly : 2, Jargeted Rulemaking — Focused on most problematic implementation Z Announced March 12 | : General Counsel _
: elements L /

JANPREE

- Draling 2 weeks),

= Public Comment Petiod (G0 days}, and _
|_| Besponse to Comments (30 days),

Repeal - slightly offset of drattiy a fevision:
- Drafting (60 days),
OMB Review (G0 ae = unless a to reduce thelr
review time);
_ Draft Rule out for Public. Comment (80 a
| Response to Comment and Finalize Rule {60-90 days);
- OMB Review (00 days - unless they aeree to reduce their
feview time) aod :

OMS Review (80 days unless they agree to feduce their
feviewtime),
_ Drag Rule out for Public Comment (60 days);
| Response to Comment and Finalize Rule (60-90 days);

| OMB Review (80 days- unless they a to reduce they
review me): and

Underground Injection Contral Permitting — Created £O14154- Unleashing American Energy a iL Annee EPA Geos toexpedie ue state primacy approval po Iotermal Launched Early March / Administrators
HIMming targets to exped i fle (ature EPA eviews and ' : with new application forlexas | _ . Office, Office of
approvals for all the types of UIC state primacy reviews Delivering Emeimency Plice Reliet/Cosi of Living -- / | : : : Water Regional
and permitling io get decision-making out of the hands Eliminate farts coercive ee potcies / . - / Offices, Goncal

lol Pe - into the slates to support enerey and water Lo oo a : :  . Counsel

ae regulations cannot be Keonened bystates | EO 14154. Unleashing American Energy : : 1, Targeted plan of action fer lndivudal projects currently planned to Lon i . . : a : Administrators
to stop energy and Infjastiuctule piojecis resulting in a / / Ay Foviege Biden a tule oo. LL |Office, Office of
the continued elevation of taxes and energy prices | Delivering Emergency Price Reliet/Cost of Living — | / a ' | _ANPRM: co a | | co ___ |Water, Regional
eoose the county, {CWA 401). Flominate parmiul, coercive “climate” policies | : oe 2. Toreeled Rulemaking — Focused on most problematic implementation _ 1 Drafting (30 days): oe i ) | : ___ | Olfices, General
: : / : : a elements : : | Public Comment Period (40 days); and : CL : | Counsel

Revise regulations impacting and restricting energy oo. Lo . i . _ | | Response to Comments (30 days),
production, genevation, transportation, etc. : / / : L . :

Revision.

Detling (@Odays),

- OMB Review (90 days - unless they agice to

feduce tell eview ume)

- Draft Rule out for Public Comment (60 days):

- Response to Comment and Finalize Rule {80 90

days),

- OMB Review (90 days - 4 less ihey agree ia

i luce thel/ review time), and

[Revise regulations impacting and jestricting cherey EO 14154 - Unleashing American Energy Lo o Repeal of Steam ElecticELG __ i. Anpounced ha uy : i : oo | (Administatars
production, geneiation, anepoitation, etc. : : ce a . - : L . Office, Office of
| | Delivering Emergency Price Reliel/Cost of Living - a | / So te. a. : Water, General
Eliminate harniful, coercive “climate” policies |  . : : dp Drafting (60 days), L / Counsel
: : : : - OMB Review (90 days - unless they agree io __
feduce thejr review time), :
- Draft Rule out for Public Comment (60 days),
| Response to Comment and Finalize Rule (60-90
ays),
- OMB Review (90 days - unless they agree ta
_ [reduce thelr review time) and

EPA_00299725
Revise Steam Electic ELG

Revise Oil and Gas ELG

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Halting Unnecessary Restiictions on Water Appli ances. EQ [Aiba Unleashing Amenean Energy
+ We have halted the use of EPA's Wate/Sense _

vou flary standaids fot appliance established by the
Biden-Hartis Ad ministration, including lavatory/kilchen | Eliminate counterproductive requirements tat
Naucets, sprinkler nozzles, and residential toilets, raise (fe costs of home appliances

Delwering Emercency Price Reliet/Cost of Living -
Lower ihe cost of housing and expand housing
pupply

Revise the Implementation | Hmeline onthe Lead and
Copper Rule

Delivering Emeigency Price Reliet/Cost of Living --
Lower the costof ousting and expand housing
supply

Increase the oppoitunities for water jeuse inthe
commercial/industiial space fo reduce water
ulllization costs and to ensure availability of domestic
wate! supply to reduce costs to ratepayels

Ensuring appropriate and timely actions are takento Deliveling Emeigency Price RelietiCost of Ling
support drinking water and wastewater systems. Lower the cost of housing and expand housing
against robust cybersecurity attacks, thereby reducing supply

yemedialion cosis to islepayers |

Reconsideration will focus on eliminating u Anecessaty EO 14192. allieviating unnecessary regulatory

fegulatory burden, specifi aye as it ielales focoaltire | burdens EO 14219-ensure consistency with

power plants. statutory authority; EO 14154. ensure adherence
to legislative requirements and eliminate
considerations beyond requirements, EO 14154
Unleashing Amenean Energy

Deliveting Emeigency Price Rellet/Cost of Living --
Eliminate haimful, coetcive “climate” policies

Reconsideral/on will focus on eliminating unnecessary
regulotory bulden, specifically asitreletesto Ollene ges
facilities

EO 14199 -allieviating unnecessary (egulatory
{burdens EO 14219-ensu te consistency anith
q statutory authority, EO 14154- ensure adherence
to legislative requirements and eliminate

Delivering Emergency Price feces otlving--

Date Filed 04/21/25

[Steam Electric ELG Rulemaking

_| considerations beyond requirements, EO q4154-

Unleashing American Energy

Delivering Emetgency Plice Rellef/Cost of Living .
Eliminate harmful, coercive “climate” policies

faucets, spriniler nozzles, and residential toilets.

classification of Advanced (reated Water as a ee ot pollutants under

Entry Number 131-3 Page 6 of 129

1. Halted the use of EPA's WaterSense voluntary standardstorappliance | 1. 2/14/2025
established by the Biden-Harris Administration, including lavatory/ kitchen :
2 Early March

Jlmplemeat similar action on EPA's other voluntan programs——(1) Enerevsiar 13. Early March

and (2) Sater Choice Standard for Commercial and Household Cleaning

_ |S Sater Choice Siandard Jor Commercial and Household Cleaning Products

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passing untenable costs on & fatepayers

|eomipliance costs from states and litigation
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whether we can go in wilh target adjustments to implementation dates and

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Administrators

2 Private sere! lenient to deenine path |Office, all relevant
progam offices (Al,
Chemicals, Water,
Enforcement Office,
General Counsel

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Water General
Counsel

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Message

From: Voyles, Travis [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]

Sent: 3/27/2025 6:03:01 PM

To: Kramer, Jessica L. [kramer.jessical@epa.gov]; Szabo, Aaron [Szabo.Aaron@epa.gov]

Subject: FW: Weekly Updates

Attachments: Weekly Update to NEDC - EPA - Week of March 24_2025-03-27.docx

Travis Voyles
C: (202) 787-0595

From: Voyles, Travis

Sent: Thursday, March 27, 2025 2:03 PM

To: 'Deeley, Blake R. EOP/WHO' <Blake.R.Deeley2@who.eop.gov>

Ce: 'Underwood, Emily A. EOP/WHO' <Emily.A.Underwood@who.eop.gov>; ‘Blakely, Kyser S. EOP/WHO'
<Kyser.S.Blakely@who.eop.gov>; 'Doffermyre, William L. EOP/WHO' <William.L.Doffermyre@who.eop.gov>
Subject: RE: Weekly Updates

Attached is the EPA update.

Jess Kramer (water) and Aaron Szabo (air) will be joining for our check-in. .

Travis Voyles
C: (202) 787-0595

From: Voyles, Travis

Sent: Friday, March 21, 2025 12:14 PM

To: Deeley, Blake R. EOP/WHO <Blake.R.Deeley2@who.eop.gov>

Cc: Underwood, Emily A. EOP/WHO <Emily.A.Underwood@who.eop.gov>; Blakely, Kyser S. EOP/WHO
<Kyser.S.Blakely@who.eop.gov>; Doffermyre, William L. EOP/WHO <William.L.Doffermyre@who.eop.gov>
Subject: RE: Weekly Updates

Attached is the EPA update for the call today. Looking forward to it.

Jess Kramer (water) and Aaron Szabo (air) will be joining and between us three we should be able to speak to anything
energy/cost of living related actions at EPA.

Travis Voyles

Assistant Deputy Administrator

Office of the Administrator

U.S. Environmental Protection Agency
C: (202) 787-0595

From: Deeley, Blake R. EOP/WHO <Blake.R.Deeley2@who.eop.gov>
Sent: Monday, March 17, 2025 7:59 PM

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To: jodee_hanson@ios.doi.gov; gregory _wischer@ios.doi.gov; bbrooke@doc.gov; Voyles, Travis
<voyles.travis@epa.gov>; kailee.buller@usda.gov; Scarlett, Katherine R. EOP/CEQ <Katherine.R.Scarlett@ceg.eop.gov>;
alexander.fitzsimmons@hq.doe.gov; milton.w.boyd.civ@army.mil

Cc: Underwood, Emily A. EOP/WHO <Emily.A.Underwood@who.eop.gov>; Blakely, Kyser S. EOP/WHO
<Kyser.S.Blakely@who.eop.gov>; Doffermyre, William L. EOP/WHO <William.L.Doffermyre@who.eop.gov>

Subject: Weekly Updates

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good evening!

Great work so far on all your implementation efforts. Thanks to your hard work, we’re making great progress
toward achieving the President’s agenda and unleashing American energy. Keep it up!

As implementation grows across all agencies, so does the need for NEDC to maintain clear visibility on the
numerous achievements, messaging strategies, due outs, specific deregulatory efforts, and other major projects.
Therefore, we’ve developed a comprehensive Weekly Update for each agency. (See attached for your agency’s
specific Weekly Update.)

The Weekly Update is relatively straightforward.

° In Part I (where it says “[Description]’”), please describe your agency’s most significant achievements
from the past week as they relate to permitting and deregulation.

° In Part II (where it says “[Description]”), please describe your agency’s upcoming public
announcements related to energy projects or policy. If a date has already been set, please include it. Please also
indicate the best point of contact.

° Part III lists the EO tasks specific to your agency and the respective due date. For each task, please
prove the most recent update (subpart b), the actions your agency plans to take going forward, along with a
target completion date (subpart c), and the best point of contact (subpart d).

° In Part IV, please identify and describe specific deregulatory actions your agency is taking or is
planning to take, along with the best point of contact. Importantly, the deregulatory actions listed here should
not duplicate any deregulatory actions already identified in Part III.

° In Part V, please identify and describe permitting actions your agency is taking or is planning to take
with respect to major projects, along with the best point of contact. Importantly, the permitting actions listed
here should not duplicate any permitting actions already identified in Part HI.

We understand some responses may be duplicative. In that case, you can refer to a prior response instead of
copying and pasting the same material again. Please submit (via email) the completed Weekly Update by this
Wednesday (3/19) at 10:00 am ET. Please include Will, myself, and DCOSP team (Emily and Kyser) on that
email. Also, please be on the lookout for agency-specific meetings during the back half of this week to discuss
the Weekly Updates, including establishing a consistent schedule for submitting the Weekly Update.

Please let us know if you have any questions. Happy to jump ona call with you to discuss further.

-Blake

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Blake Deeley

National Energy Dominance Council
202.814.7253

Blake.r.deeley2 @who.eop.gov

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 10 of 129

ENVIRONMENTAL PROTECTION AGENCY

Weekly Update to the National Energy Dominance Council
Week of March 23, 2025

Most Significant Achievements (Permitting and/or Deregulatory)

A. Ensuring Continued Use of Reliable Energy Facility - EPA approved a request by the
Salt River Project (GRP) in Arizona to extend a May 30th deadline (to Sept. 30, 2026) to
cease placing Coal Combustion Residuals (CCR) in their unlined impoundment at
Coronado Generating Station. EPA evaluated whether meeting EPA’s original
compliance deadline would cause the plant to close and result in grid reliability issues,
in consultation with the Department of Energy. EPA’s formal reliability assessment
established that the temporary outage of CGS during the period needed to obtain
alternative disposal capacity will have an adverse impact on grid reliability. CGS’s 780
MW net capacity represents nearly 10% of SRP’s peak demand in the summer months,
and more than 70% of the 1,100 MW planning reserve. As shown by the submitted
reliability assessment conducted by PowerGem, if CGS is forced to close for the summer
of 2025, SRP would not have sufficient reserves, increasing SRP’s reliability risk tenfold
(i.e., would result in a LOLE of 0.36 days/ year, well above the standard 0.1 LOLE
target). Based on these estimates, if weather conditions for this summer are similar to
those in 2020 or 2023, SRP would expect to have at least one day of insufficient
operating reserves, during which SRP would need to implement rotating outages across
its service territory.

B. Greenhouse Gas Reporting Rule - EPA sent to the Federal Register a final rule to extend
the reporting deadline under the Greenhouse Gas Reporting Rule for reporting year
2024 data from March 31, 2025, to May 30, 2025. This only changes the reporting
deadline for annual greenhouse gas (GHG) reports for reporting year 2024, but is part of
a larger reconsidering of the mandatory Greenhouse Gas Reporting Program (GHGRP).
Unlike every other mandatory information collection by EPA under the Clean Air Act,
the GHGRP is not directly related to a potential regulation nor developed with that
intention. The program requires over 8,000 facilities and suppliers in the United States
to calculate and submit their emissions reporting annually. It costs hundreds of millions
of dollars that could be better used to improve and upgrade environmental controls or
other items at these facilities to have a noticeable impact on the improvement of the
environment.

C. Increasing Cheaper Gas and Availability with E15 Expansion - EPA sent to the Federal
Register a final rule, “Extension of Effective Date for Removal of Gasoline Volatility
Waiver for Ohio and Nine Counties in South Dakota.” This action extends the effective
date of the removal of the 1-psi volatility waiver for gasoline in Ohio and nine counties
in South Dakota, as requested by the Governors of Ohio and South Dakota. This action
is part of EPA effort to ensure cheaper gas with E15 expansion. Our decision to expand
year-round access to E15 fuel means more competition at the pump, lowering gas prices
for millions of drivers in the Midwest.

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 11 of 129

Upcoming Public Announcements

A. — Week of March 31 - No Energy/Cost of Living-Related Announcements Anticipated
1. POC: Travis Voyles (AQ), Molly Vaseliou (OPA)

EO Tasks

A. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions/2025/01/unleashing-american-energy/" ] (January 20, 2025)

1. Submit report to OMB that identifies whether and how enforcement discretion and
regulations can advance American energy. (No. 129)

a. Due: February 19, 2025

(i) Feb. 19 - EPA has submitted a report to OMB detailing directed a
shift in the EPA Office of Enforcement and Compliance Assurance
(OECA) from heavy-handed enforcement, to a compliance model
and working more collaboratively with states and within the EPA
universe of regional and headquarters/national program offices.
EPA has also been working as part of this process to assess whether
enforcement discretion of authorities and regulations can be utilized.
While EPA’s assessment of these authorities is still ongoing, the
following issue/policy areas have been identified as proprieties for
applying identified enforcement discretion:

(1) Oiland gas regulations (OQQOOa-c)
(2) | Emission guidelines for EGUs

(3) National Emission Standards for Hazardous Air Pollutants
(NESHAP) (i.e. benzene)

(4) Datacenter and other uses of diesel generators for emergency
use

(5)  Tailpipe vehicle regulations
(6) Coal ash residual storage requirements

(ii) | Feb 12 - EPA announced updated enforcement discretion to allow
the agency to better focus on its core mission and Powering the Great
American Comeback. Specifically, he announced that EPA will
immediately revise National Enforcement and Compliance
Initiatives to ensure that enforcement does not discriminate based on
race and socioeconomic status (as it has under environmental justice
initiatives) or shut down energy production and that it focuses on
the most pressing health and safety issues. This focus on EPA’s

2

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 12 of 129

established mission will also provide predictability as EPA considers
changes to regulations, thereby lowering costs for Americans and
relieving the economy of potentially unnecessary bureaucratic
burdens.

(1) [ HYPERLINK
"https://www.epa.gov/system/ files/documents/2025-

03 /implementingnecisconsistently witheosandagency prioriti
es.pdf" |

(2) [ HYPERLINK
"https://www.epa.gov/newsreleases/administrator-zeldin-
directs-enforcement-resources-align-executive-orders-and-
epas' |

b. Weekly Update: Anticipate providing NEDC with full details on
“enforcement discretion” as it applies to potential use by Dept. of Energy
of the Federal Power Act Section 202(c).

(i) EPA Initial Review - DOE has the authority to order power
generation and the facility will not be in violation of an otherwise
applicable environmental obligation.

(1) Section 202 of the Federal Power Act grants the DOE
authority to order power generation. Such an order waives
otherwise applicable environmental requirements under a
broad set of circumstances and under certain conditions,
including that any such order must be tailored to minimize
environmental impacts and limit time of operation to what is
necessary to meet the emergency or demand deemed to be in
the public interest. An order issued by DOE that creates a
conflict with an existing requirement of federal, state, or local
environmental law or regulation expires in 90 days but can be
renewed in 90 day increments, as appropriate.

c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions as
expeditiously as possible, the Agency will deploy enforcement
discretion to ensure the transition to a compliance model with
appropriate regulations. As any enforcement discretion is deployed,
we will provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AO), Jeff Hall (OQECA)
2 Review and revise all agency actions burdening domestic energy. (No. 115)

a. Due: Immediately

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 13 of 129

(i) Day 1-Ongoing - See attached EPA Action Tracker for full list of
significant actions, including interim actions and targeted milestones
for deregulatory actions

(ii) © March 12 - EPA announced the agency will undertake 31 historic
actions in the greatest and most consequential day of deregulation
in U.S. history, to advance President Trump’s Day One executive
orders and Power the Great American Comeback. These historic
actions will roll back trillions in regulatory costs and hidden “taxes”
on U.S. families. As a result of these announcements, the cost of
living for American families will decrease. It will be more affordable
to purchase a car, heat homes, and operate a business. It will be more
affordable to bring manufacturing into local communities while
individuals widely benefit from the tangible economic impacts.
([ HYPERLINK "https://www.epa.gov/newsreleases/epa-
launches-biggest-deregulatory-action-us-history" ])

(A) Reconsideration of regulations on power plants (Clean
Power Plan 2.0)

(B) Reconsideration of regulations throttling the oil and
gas industry (OOOO b/c)

(C) Reconsideration of Mercury and Air Toxics Standards
that improperly targeted coal-fired power plants
(MATS)

(D) Reconsideration of mandatory Greenhouse Gas
Reporting Program that imposed significant costs on
the American energy supply (GHG Reporting
Program)

(E) Reconsideration of limitations, guidelines and
standards (ELG) for the Steam Electric Power
Generating Industry to ensure low-cost electricity
while protecting water resources (Steam Electric ELG)

(F) Reconsideration of wastewater regulations for oil and
gas development to help unleash American energy
(Oil and Gas ELG)

(G) Reconsideration of Biden-Harris Administration Risk
Management Program rule that made America’s oil
and natural gas refineries and chemical facilities less
safe (Risk Management Program Rule)

(H) Reconsideration of light-duty, medium-duty, and
heavy-duty vehicle regulations that provided the

4

EPA_00299733
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 14 of 129

foundation for the Biden-Harris electric vehicle
mandate (Car GHG Rules)

(I) Reconsideration of the 2009 Endangerment Finding
and regulations and actions that rely on that Finding
(Endangerment Finding)

(JJ) Reconsideration of technology transition rule that
forces companies to use certain technologies that
increased costs on food at grocery stores and
semiconductor manufacturing (Technology Transition
Rule)

(K) Reconsideration of Particulate Matter National
Ambient Air Quality Standards that shut down
opportunities for American manufacturing and small
businesses (PM 2.5 NAAQS)

(L) Reconsideration of multiple National Emission
Standards for Hazardous Air Pollutants for American
energy and manufacturing sectors (NESHAPs)

(M) Restructuring the Regional Haze Program that
threatened the supply of affordable energy for
American families (Regional Haze)

(N) Overhauling Biden-Harris Administration’s “Social
Cost of Carbon”

(O) Redirecting enforcement resources to EPA’s core
mission to relieve the economy of unnecessary
bureaucratic burdens that drive up costs for American
consumers (Enforcement Discretion)

(P) Terminating Biden’s Environmental Justice and DEI
arms of the agency (EJ /DEI)

(Q) Ending so-called “Good Neighbor Plan” which the
Biden-Harris Administration used to expand federal
rules to more states and sectors beyond the program’s
traditional focus and led to the rejection of nearly all
State Implementation Plans

(R) Working with states and tribes to resolve massive
backlog with State Implementation Plans and Tribal
Implementation Plans that the  Biden-Harris
Administration refused to resolve (SIPs/TIPs)

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 15 of 129

(S) Reconsideration of exceptional events rulemaking to
work with states to prioritize the allowance of
prescribed fires within State and_ Tribal
Implementation Plans (Exceptional Events)

(T) Reconstituting Science Advisory Board and Clean Air
Scientific Advisory Committee (GSAB/CASAC)

(U) Prioritizing coal ash program to expedite state permit
reviews and update coal ash regulations (CCR Rule)

(V) Utilizing enforcement discretion to further North
Carolina’s recovery from Hurricane Helene

b. Weekly Update: Regulatory Actions Underway

(i) Greenhouse Gas Reporting Rule - EPA sent to the Federal Register a
final rule to extend the reporting deadline under the Greenhouse Gas
Reporting Rule for reporting year 2024 data from March 31, 2025, to
May 30, 2025. This only changes the reporting deadline for annual
greenhouse gas (GHG) reports for reporting year 2024, but is part of
a larger reconsidering of the mandatory Greenhouse Gas Reporting
Program (GHGRP). Unlike every other mandatory information
collection by EPA under the Clean Air Act, the GHGRP is not
directly related to a potential regulation nor developed with that
intention. The program requires over 8,000 facilities and suppliers in
the United States to calculate and submit their emissions reporting
annually. It costs hundreds of millions of dollars that could be better
used to improve and upgrade environmental controls or other items
at these facilities to have a noticeable impact on the improvement of
the environment.

c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions as
expeditiously as possible, the Agency will implement and provide
updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AO)

3. Eliminate all permitting delays. For example, take advantage of general permitting
and permit by rule. And for essential projects, take advantage of all authorities,
including emergency authorities, to expedite the permitting process. (No. 120)

a. Due: Immediately

(i) Feb. 19 - EPA submitted a report to OMB, CEQ, Interior, and
Commerce, and while EPA is still conducting a review of potential

6

EPA_00299735
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 16 of 129

actions to facilitate the consultation process under the Endangered
Species Act with emergency treatment, EPA has identified other
potential short term, immediate solution for emergency authorities
relevant to share with these agencies.

(ii) | Day 1-Ongoing - To date, where EPA has a role in the overall
authorization/approval of energy infrastructure projects, the
Agency in our oversight role (i.e. NEPA/EIS reviews) has limited
our involvement to statutory-related input and _ ensured
expedited/limited reviews. Additionally, where EPA has had a
contributing permitting approval role, the Agency has expedited the
consideration of those permits.

EPA has worked with DOJ to reevaluate all ongoing litigation
related to enforcement actions or delegated permitting programs
impacting existing permitting and operations.

(1) An example of this is the recent news of DOJ dismissed a
lawsuit against Denka Performance Elastomer LLC (Denka)
concerning its manufacturing facility in LaPlace, LA, which
produces neoprene, a synthetic rubber essential for products
like orthopedic braces, wetsuits and automotive components.
The lawsuit, originally filed by the Biden Administration in
2023, relied on the Clean Air Act’s rarely invoked
“Emergency Powers” provision (42 U.S.C. § 7603). That
statute authorizes EPA to seek immediate restraints on
pollution sources presenting “an imminent and substantial
endangerment” to public health or the environment. In an
effort to satisfy this standard, the Biden-era complaint alleged
a marginally increased risk of harm after prolonged exposure.
The complaint did not allege that emissions from Denka’s
LaPlace plant violated any regulatory air quality standard,
but the Biden-EPA framed the case as part of its “ongoing
effort to advance environmental justice in overburdened
communities.”

As EPA continues to identify other potential immediate solutions for
strategic actions to suspend, revise, or rescind the relevant agency
actions as expeditiously as possible, the Agency will explore the
utilization of the following authorities to provide emergency relief
to facilitate the Nation’s energy supply:

(2) Clean Water Act - No- emergency authorities
identified / available (i.e. CWA § 401)

(3) Clean Air Act -

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Date Filed 04/21/25 = Entry Number 131-3 Page 17 of 129

(A) Sec. 112(4)(4) [clearest and broadest] - “The President
may exempt any stationary source from compliance
with any standard or limitation under this section for
a period of not more than 2 years if the President
determines that the technology to implement such
standard is not available and that it is in the national
security interests of the United States to do so. An
exemption under this paragraph may be extended for
1 or more additional periods, each period not to exceed
2 years. The President shall report to Congress with
respect to each exemption (or extension thereof) made
under this paragraph.”

(B) Sec. 110(f) [permitting] - Provides for exemptions
limited to 4 months and focused on fuel burning
stationary sources providing energy for residential
dwellings or related to high levels of unemployment in
an energy emergency.

(C) Sec. 118 - up to 1 year, but only applies to federal
facilities

(iii) © March 20 - EPA Team (AO, Water, Air) met with DPC staff (Theo
Merkel) to discuss permitting and emergency authorities around
pharmaceutical manufacturing facilities, with similar identified
emergency authorities for National Emission Standards for
Hazardous Air Pollutants (NESHAP) as discussed above.

(1) Follow Up Mtg. Planned w/ Army Corps to discuss
Nationwide Permits and potential incorporation of
pharmaceutical manufacturing facilities ina new NWP.

(iv)

Weekly Update: No Update - To date, EPA has not received any new permit
applications for major energy infrastructure projects under our primary
permitting programs.

Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to utilize permitting or emergency authorities for the
relevant agency actions as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB

(ii) Ongoing/TBD - EPA is implementing increased cooperative
federalism principles and focus through permit program
delegation/assumption/ primacy.

8

EPA_00299737
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 18 of 129

(1) Reviewing EPA Standards/Guidance - Although EPA
directly issues some permits, many jurisdictions (states,
territories, tribal nations and municipalities) are approved to
directly implement federal environmental permit programs
on EPA’s behalf. Where EPA has approved the delegation of
permitting and regulatory responsibilities to states, EPA is
returning to a focused oversight role, reducing the burden
placed on these justifications and states to implement their
programs in an efficient manner. In these situations, EPA is
responsible for developing standards and guidance for
permit programs. EPA is reviewing and updating (as needed)
these standards and guidance for permit programs to ensure
jurisdictions do not overstep their authorities under the
authorizing statues.

(2) Focus Areas/Programs to Increase
Delegation/Assumption/Primacy - While delegation is
common in a subset of environmental statutory programs,
EPA is increasing the opportunities for states to assume
additional programs, completely removing the need for full
federal programs and involvement beyond oversight. EPA is
focusing on permitting programs (like Underground Injection
Control (UIC) permitting) that have a direct impact on future
energy projects.

d. POC: Travis Voyles (AQ), Aaron Szabo (OAR), Jess Kramer (OW), Jeff Hall
(OECA)

4. Ensure all agency guidance on greenhouse gas emissions are consistent with OMB
Circular A-4 of September 17, 2003 (Regulatory Analysis), including domestic
versus international effects, appropriate discount rates, and the value of emissions
changes resulting from agency actions. Engage rule-making and regulatory or
policy processes as necessary. (No. 124)

a. Due: Immediately (this is a gating item for another task assigned to EPA,
which is due March 21)

(i) Day 1-Ongoing - EPA completed a review of all agency guidance to
ensure consistency with OMB Circular A-4 and working to
incorporate into all ongoing regulatory / policy reconsiderations and
updates. EPA and NEDC staff have discussed two potential paths
forward on the reconsideration of the social cost of greenhouse gases
(SC-GHGs).

(1) Options - (1) Return to previous valuation used under last
Trump Adminstration; or (2) completely rescind utilization of
consistent valuation across federal agencies and return
obligation to incorporate application of GHG emission

9

EPA_00299738
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 19 of 129

impacts to individual agencies in their applicable cost-benefit
analyses.

b. Weekly Update: Using NEDC/DCoS feedback on SC-GHG considerations,
EPA is drafting guidance to provide for review that will be a first step in
providing a consistent approach and appropriate value.

Cc. Interim Action Items and Targeted Completion Dates:

(i) TBD - Announcing path forward on SC-GHG and working with
other federal agencies on implementation of impacted actions and
regulatory/ policy reconsiderations

d. POC: Travis Voyles (AO)

5. Pause disbursement of funds appropriated through IRA of 2022 and IIJA unless
APEP and OMB approve, including funds for EV charging stations through the
National Electric Vehicle Infrastructure Formula Program and the Charging and
Fueling Infrastructure Discretionary Grant Program, subject to current and
pending decisions. (No. 126)

a. Due: Immediately

(i) Day 1-Ongoing - EPA immediately initiated a funding freeze and
review of all IRA/IJA funding programs. In compliance with
relevant court orders, EPA has released IJA/IRA awarded and
obligated funding.

(1) Feb. 6 - EPA initiated a review (outside of any EO/OMB
directive) of all IJA/IRA funding programs, which resulted
in some additional pauses of program implementation, but
focused on clearing programs from an implementation,
oversight, and funding source standpoint.

(2) Current Status -

(A) Funding in 2 of the 3 programs ($20B) within the
Greenhouse Gas Reduction Fund have been frozen at
an outside financial agent. On March 18, EPA cancelled
all of the existing grants and pending ongoing
litigation is in the process of getting the remaining
funding returned to the US Gov't.

(B) All environmental justice related grant programs
(funded by IRA, IIJA, and base appropriations) have
been halted and all active grants have been cancelled
(totalling nearly $2B).

10

EPA_00299739
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 20 of 129

(C) All IRA-funded grant programs have halted new
awards, but awarded and obligated funding is
continuing to flow.

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency funding
programs and policies as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

6. Review and adjust all processes and policies for grants, loans, contracts, and other
financial disbursements for consistency with the policies of this order. (No. 126.1)

a. Due: Immediately

(i) Day 1-Ongoing - Working with DOGE, EPA a review process of all
grants and contracts to ensure compliance, which has resulted in
over $2B in cancellations and more anticipated.

b. Weekly Update: No Update
Cc. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As EPA identifies the correct approach for strategic
actions to suspend, revise, or rescind the relevant agency actions and
funding policies as expeditiously as possible, the Agency will
implement and provide updates to NEDC/NEC/OMB.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

7. Identify, revise, and rescind actions unduly burdening domestic mining and
processing of non-fuel minerals. (No. 132)

a. Due: Immediately

(i) Feb. 19 - More broadly, but directly impacting mining and
processing, EPA submitted a report to OMB and CEQ detailing
relevant agency actions to identify potential changes and agency
actions to facilitate the Nation’s energy supply. While EPA is still
coordinating with Army Corps on potential actions to facilitate
direct Corps authority to act with emergency treatment, EPA has
identified a short term, immediate solution, paired with a targeted
revision of the current 2023 definition of “Waters of the United
States” to conform with Sackett v. EPA, 598 U.S. 651 (2023).

11

EPA_00299740
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 21 of 129

(ii) March 12 - EPA and the Army Corps announced a joint
memorandum issuing guidance to field staff on implementation of
“continuous surface connection” consistent with the U.S. Supreme
Court’s May 25, 2023, decision in the case of Sackett v. EPA. The
agencies also announced a Federal Register notice publicizing a series
of six listening sessions and a 30-day recommendations docket to
solicit feedback on key aspects of the definition of “waters of the
United States.”

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing - Federal Register notice publicizing a series of six listening
sessions and a 30-day recommendations docket to solicit feedback
on key aspects of the definition of “waters of the United States.”

d. POC: Jess Kramer (OW), Travis Voyles (AQ)

8. Issue guidance to address harms and inadequacies of “social cost of carbon”
calculations, including consideration of eliminating it from any federal permitting
or regulatory decision. (No. 123)

a. Due: March 21, 2025

(i) Day 1-Ongoing - EPA completed a review of all agency guidance to
ensure consistency with OMB Circular A-4 and working to
incorporate into all ongoing regulatory / policy reconsiderations and
updates. EPA and NEDC staff have discussed two potential paths
forward on the reconsideration of the social cost of greenhouse gases
(SC-GHGs).

(1) Options - (1) Return to previous valuation used under last
Trump Adminstration; or (2) completely rescind utilization of
consistent valuation across federal agencies and return
obligation to incorporate application of GHG emission
impacts to individual agencies in their applicable cost-benefit
analyses.

b. Weekly Update: Need NEDC/DCoS feedback on SC-GHG considerations.
Cc. Interim Action Items and Targeted Completion Dates:

(i) TBD - Announcing path forward on SC-GHG and working with
other federal agencies on implementation of impacted actions and
regulatory/ policy reconsiderations

d. POC: Travis Voyles (AO)

12

EPA_00299741
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 22 of 129

5. Submit a report to NEC and OMB detailing findings and recommendations for
aligning appropriated funds related to IRA and IIJA with the policies of this order.
(No. 127)

a. Due: April 20, 2025
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing - EPA is identifying funding programs into three primary
categories and will provide the comprehensive report to NEC/OMB

by April 20. EPA has continued to provide ongoing feedback to OMB
as we have made individual decisions on programs and funding.

(1) (1) programs to continue to implement as is; (2) programs that
require updated implementation guidance or changes to
implementation; and (3) programs that are not in alignment
with Adminstration priorities and should not continue.

d. POC: Travis Voyles (AO), Paige Hanson (OCFO)

10. Identify and eliminate all environmental considerations not required by legislation
and use the most robust non-arbitrary and non-ideological methodologies for
permitting adjudications and regulatory processes. (No. 122)

a. Due: Ongoing
b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:
(i) Ongoing comprehensive review and related decisions implemented
d. POC: Travis Voyles (AO)

B. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions /2025/01/declaring-a-national-energy-emergency/" ] (January 20, 2025)

1. Consider issuing emergency fuel waivers for year-round sale of E15 gasoline. (No.
167)
a. Due: Immediately

(i) Feb. 21 - EPA announced the agency’s decision to uphold the
current April 28, 2025, implementation date to provide parity for E15
and E10 in Midwestern states (IL, IA, MN, MO, NE, OH, SD, WI).
This action provides regulatory certainty for fuel suppliers and
expands consumer access to E15 year-round in these states. At the

13

EPA_00299742
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 23 of 129

same time, in recognition of concerns raised by some regarding fuel
supply transitions, EPA intends to consider granting requests for a
one-year delay for those states seeking additional time for
compliance. Along with this, EPA will still have the ability to issue
emergency fuel waivers to allow the year-round sale of E15.

(1) [ HYPERLINK "https: //www.epa.gov/newsreleases/ahead-
summer-driving-season-epa-allows-expanded-el5-access-
midwest-states-year-round" |

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing - EPA is assessing the need to issue emergency fuel waivers
to allow the year-round sale of E15.

d. POC: Aaron Szabo (OAR), Travis Voyles (AO)

2. Status report on actions taken and planned actions to promote energy use
consistent with this order. (No. 169)

a. Due: March 21, 2025 (last report submitted [Insert Date])
b. Weekly Update: No Update
Cc. Interim Action Items and Targeted Completion Dates:
(i) Ongoing updates provided weekly
d. POC: Travis Voyles (AO)

Cc. [ HYPERLINK "https:/ /www.whitehouse.gov/ presidential-
actions/2025/03/immediate-expansion-of-american-timber-production/" | (March 1,
2025)

1. Eliminate all undue delays in permitting processes related to timber production,
and take all steps to suspend, revise, or rescind all existing agency actions that
impose an undue burden on timber production. (No. 472)

a. Due: Immediately and ongoing

(i) Day 1-Ongoing - To date, where EPA has a role in the overall
authorization/ approval of timber related activities or infrastructure
projects, the Agency in our oversight role (ie. NEPA/EIS reviews)
has limited our involvement to statutory-related input and ensured
expedited/limited reviews. Additionally, where EPA has had a
contributing permitting approval role, the Agency has expedited the
consideration of those permits.

14

EPA_00299743
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 24 of 129

(1) | EPA also may have permitting involvement in timber-related
processing facilities under the Clean Air Act and Clean Water
Act. As detailed on our general approach to permitting.

(ii) March 12 - EPA took action to decrease the risk of future
catastrophic wildfires by revisiting the Obama-Biden
Administration’s Exceptional Events rulemaking and prioritizing
the allowance of prescribed fires within State and _ Tribal
Implementation Plans (SIPs/TIPs). When EPA reviews SIPs and
TIPs, EPA will work to ensure states and other entities that work
within those states can use prescribed fires to properly manage their
forests, without being unfairly penalized when it comes to assessing
their air quality. EPA will convene meetings with state and tribal air
agencies and state, local, and federal forest managers to evaluate
ways to ease unnecessary burdens that prevent prescribed fires.
These unnecessary burdens are related to, but not limited to,
Exceptional Events, Regional Haze, Interstate Transport, and
International Transport.

(1) [ HYPERLINK
"https://www.epa.gov /newsreleases/administrator-zeldin-
takes-action-decrease-risk-future-catastrophic-wildfires" ]

b. Weekly Update: No Update
c. Interim Action Items and Targeted Completion Dates:

(i) Ongoing/TBD - As projects are identified, EPA will evaluate any
potential role we would have and determine necessary actions.

d. POC: Travis Voyles (AO), Jess Kramer (OW), Aaron Szabo (OAR)

2 Maximize use of ESA emergency consultation regulations to facilitate timber
production. (No. 473)

a. Due: Ongoing

(i) Feb. 19-Ongoing - EPA submitted a report to OMB, CEQ, Interior,
and Commerce, and while EPA is still conducting a review of
potential actions to facilitate the consultation process under the
Endangered Species Act with emergency treatment, EPA has
identified other potential short term, immediate solution for
emergency authorities relevant to share with these agencies.

b. Weekly Update: No Update

c. Interim Action Items and Targeted Completion Dates:

15

EPA_00299744
IV.

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 25 of 129

(i) Ongoing/TBD - As projects are identified, EPA will evaluate any
potential role we would have and determine necessary actions.

d. POC: Travis Voyles (AO), Jess Kramer (OW), Aaron Szabo (OAR)

Progress Updates on Specific Deregulatory Matters (excluding those covered above)

A. — See attached EPA Action Tracker for full list of significant actions, including interim
actions and targeted milestones for deregulatory actions.

1. Weekly Update: No Update
2. POC: Travis Voyles (AQ)
Major Project Permitting Status (excluding those covered above)

A. Constitution Pipeline (PA/NY)

1. Interim Action Items and Targeted Completion Dates:
a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY on 401
certification.

Zs Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)
B. Enbridge Line 5 Project (WI/MI)
1. Interim Action Items and Targeted Completion Dates:
a. Reevaluating Biden EPA’s finding under CWA that project may have

“substantial and unacceptable” impacts, which was used throughout
permitting /review process.

2 Weekly Update: No Update
3. POC: Travis Voyles (AQ), Jess Kramer (OW)

C. NESE Pipeline (PA/ NY/NJ)

1. Interim Action Items and Targeted Completion Dates:
a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY/NJ on 401
certification.

2 Weekly Update: No Update
16

EPA_00299745
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 26 of 129

3. POC: Travis Voyles (AQ), Jess Kramer (OW)

D. Northern Access Pipeline (PA/ NY)

1. Interim Action Items and Targeted Completion Dates:
a. Informal discussions around CWA 401 strategy if project were to become
active again, focusing on FERC options on engagement with NY on 401
certification.

2 Weekly Update: No Update
ah POC: Travis Voyles (AQ), Jess Kramer (OW)
E. Energy Transfer - U.S. Gov’t Debarment Proceedings
1. Interim Action Items and Targeted Completion Dates:
a. March 10 - EPA dismissed proposed debarment proceedings from Biden
Administration and then PA AG Shapiro state-level criminal CWA

violations, ensuring Energy Transfer would be eligible for federal
contracting opportunities (i.e. Trans-Panama Gateway Pipeline project).

2. Weekly Update: No Update

3. POC: Travis Voyles (AQ)

17

EPA_00299746
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 27 of 129

Message

From: Voyles, Travis [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]

Sent: 3/7/2025 11:24:53 PM

To: Molina, Michael [molina.michael@epa.gov]

Subject: FW: Zeldin QFR Responses

Attachments: 01-16-2025 Zeldin QFR Responses.pdf

Travis Voyles
C: (202) 787-0595

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Friday, March 7, 2025 4:34 PM

To: Barja, Jaide <Barja.Jaide@epa.gov>; Barsottelli, William <Barsottelli.William@epa.gov>; Amidon, Eric
<Amidon.Eric@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>; Szabo, Aaron <Szabo.Aaron@epa.gov>; Tardif, Abigale
(Abbie) <Tardif.Abigale@epa.gov>; Dominguez, Alexander <dominguez.alexander@epa.gov>; Donahue, Sean
<donahue.sean @epa.gov>

Subject: FW: Zeldin QFR Responses

From: Tomlinson, Adam (EPW) <Adam_Tomlinson@epw.senate.gov>
Sent: Friday, March 7, 2025 4:30 PM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>

Subject: Zeldin QFR Responses

Caution: This email originated from outside EPA, please exercise additional caution when deciding whether to open
attachments or click on provided links.

Attached.

Adam Tomlinson

Republican Staff Director

Chairman Shelley Moore Capito

U.S. Senate Committee on Environment and Public Works
202-228-1391

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 28 of 129

Senate Committee on Environment and Public Works
Hearing Entitled, “Hearing on the Nomination of the Honorable Lee M. Zeldin to
be Administrator of the Environmental Protection Agency.”
January 16, 2025
Questions for the Record for The Honorable Lee M. Zeldin

Senator Curtis:

1. The United States District Court for the Northern District of California ordered EPA in
September to “engage with a regulatory response” to a citizen petition to stop community
water fluoridation. This was an extremely rare instance in which a judge disagreed with a
federal agency and is now forcing EPA to regulate against its wishes. What is your view
of how this might affect EPA’s authorities and mission more broadly?

Response: The courts play an important role in our system of government, which is ultimately

defined by the separation of powers. If confirmed, I look forward to receiving a comprehensive
briefing on this issue and how it impacts drinking water systems.

Senator Sullivan:

1. In 2009, the EPA declared a nonattainment area of portions of the Fairbanks North Star
Borough, which failed to meet federal PM2.5 air quality standards. The state has submitted
several proposals since then, but the EPA ruled that those plans were inadequate, and in
December 2023, the EPA imposed sanctions. Finding a solution meant not only ensuring
the safety of Alaskans but also evaluating the economic and lifestyle burdens that might be
passed on to those who switch from more conventional methods of heating their homes. On
January 8, the EPA made a favorable interim determination that the most recent state
implementation plan (SIP) revisions satisfy outstanding Clean Air Act requirements and
will remove the sanctions put in place last year. Will you commit to upholding and
supporting this favorable determination on the State of Alaska’s state implementation
plan (SIP) revisions for the Fairbanks North Star Borough?

Response: While I cannot prejudge the outcome of any particular issue that I might be called on to
address if I am confirmed as Administrator, this is a promising development and any state
regulation that satisfies the law and protects public health should be supported.

2. The EPA has jurisdiction over permitting discharges into water and emissions into the air.
Permits and authorizations, according to these authorities, often add time and regulatory
requirements to business and infrastructure projects. A key concern in recent years has been
the increasing amount of delays to do extended permitting application reviews and
environmental challenges to issued permits. To that end, Clean Water Act Title 4 (401, 402,
and 404) permits are a huge obstacle to the permitting of mining projects in Alaska. Do
you agree that EPA must find ways to more efficiently permit projects in a manner
that can survive legal scrutiny and provide greater certainty to project proponents
and citizens?

Response: Yes. Congress has authorized the delegation of authority under numerous permitting

EPA_00299772
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 29 of 129

authorities. Streamlining the process for allowing states to take the reins in projects should be better
promoted and encouraged.

3. Alaska has over 174 million acres of wetlands subject to federal jurisdiction — home to 63%
of the waters subject to the Clean Water Act and 65% of the nation’s wetlands. While the
WOTUS definition is a national concern, it is particularly problematic for Alaska because
so much of the State is covered by water bodies and wetlands. Alaska also has unique issues
conceming the extent of infrastructure and development generally, the geographic breadth
of wetlands and permafrost, and the lack of comprehensive waterbody survey data, which
present challenges not encountered by most states generally or in such
magnitude. In light of the Supreme Court’s decision in Sackett, do you commit to
ensuring proper implementation of the law that considers Alaska’s unique geography
rather than adopting the broad, unworkable, ambiguous standards?

Response: Yes.

4. I have championed bipartisan efforts to combat the global challenge of marine debris: my
Save Our Seas and Save Our Seas 2.0 Acts, passed during the first Trump Administration,
are being implemented by EPA through recycling grants, recycling education, and other
efforts. If confirmed do you pledge to continue Save Our Seas implementation efforts,
and follow-on legislative efforts to combat this challenge?

Response: Yes.

5. Carbon capture has been an opportunity for bipartisanship in Congress, including the 45Q
tax credit, as well as historic investments and regulatory support in the Bipartisan
Infrastructure Law. In the HJA, Congress created the opportunity for states to apply for
primacy to approve Class VI carbon capture wells, including EPA grant funding to help
states apply. Since enactment, many states have taken advantage of that grant funding but
continue to face slow, years-long approval timelines. As Administrator, do you commit
to working with Congress and state governments to use EPA’s current authorities to
improve the Class VI primacy application process and the overall permitting process
for American energy projects?

Response: If confirmed, I commit to working with Congress on these issues. States should take a
lead role in these projects.

6. The trucking industry underwent two extremely stringent vehicle emissions regulations
under the Biden EPA. Motor carriers, especially small business truckers, have expressed
serious concerns about the cost and workability of both the agency’s 2022 NOx emissions
rule and 2024 zero-emissions vehicle requirements, which set ambitious goals for trucking
electrification, yet infrastructure like EV charging stations and grid capacity is inadequate
in many regions. Will you commit to working with Congress to ensure any EPA policies
related to the trucking industry are practical and aligned with infrastructure
readiness, preventing undue burdens on the industry?

Response: Yes. The concerns you identify are important and I commit to working with Congress

2

EPA_00299773
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 30 of 129

and within the authorities that Congress has delegated to the EPA.

7. Recently, the EPA granted a waiver to the state of California to enforce amendments to their
Commercial Harbor Craft Regulation. These regulations will mandate expensive
equipment aboard tugboats and towboats critical to domestic and international commerce.
The waiver was granted despite the U.S. Coast Guard’s warnings that compliance with
California’s regulations poses a serious risk to mariners. When similar equipment was
installed on trucks and school buses, they had a history of catching fire. Tugboats—
especially those that operate offshore—don’t have the option of pulling over so that drivers
and passengers can escape. In addition, the Coast Guard raised serious questions about the
regulation’s impact on vessel stability and maneuverability. As you can see, this state
regulation is hazardous to the safety of the men and women who work on commercial
harbor craft. As such, could I get your commitment to review the waiver and take all
necessary steps to safeguard the lives of crewmembers aboard these vessels?

Response: If confirmed, I commit to studying this issue and appreciate the gravity of these
questions. Safety is a paramount consideration in regulations.

8. The Basel Convention on the Control of Transboundary Movements of Hazardous Wastes
and their Disposal is an international agreement that regulates the global movement of
hazardous waste, plastic waste, and electronic waste. Because the U.S. is one of a small
handful of countries not Party to the Convention, other countries can no longer freely trade
these wastes with the U.S. This places U.S. recyclers at a significant disadvantage in the
global recycling market. If confirmed, will you commit to working with us to explore
whether it is in the national interest for the U.S. to ratify Basel?

Response: If confirmed, I commit to working with you to understand how EPA can improve how
these waste streams move through commerce and better protect public health and the environment.

9. Alaska, like many other states, is an infrastructure-poor state when it comes to waste
management. Can you commit to working with me over your next four years as EPA
Administrator to pursue commonsense opportunities to expand our domestic and,
specifically, rural recycling capabilities and the necessary infrastructure?

Response: Yes.

10. As required by statute, ozone NAAQS levels will need to be reconsidered in 2025.
Lowering the ozone NAAQS below 70 parts per billion will seriously disadvantage
manufacturers in the U.S. and make it significantly more difficult to make and expand
investments that the U.S. will need to compete in the decades to come. Can you commit
to working with me on this NAAQS reconsideration, in order to balance the need for
a clean environment and continued economic growth?

Response: I commit to working with you and your staff.

11. This Committee has jurisdiction over both chemical and highway policies, and we are
tasked with passing a highway reauthorization package, so we must ensure these vital
infrastructure materials are protected and avoid unintended consequences when it comes to
PFAS regulation. As Administrator of the EPA, will you commit to work with me and
this Committee to ensure we are aligned on sound policy to effectively tackle PFAS

EPA_00299774
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 31 of 129

issues, without marginalizing the critical infrastructure to maintain and expand our
surface transportation network?

Response: Yes.

Senator Wicker:

1. What steps will you take to streamline the federal registration process and ensure that
EPA remains the primary authority?

a. What is your plan to ensure EPA policies remain grounded in sound science and
promote innovation in sustainable agricultural practices?

Response: If confirmed, I commit to ensuring rulemakings are fair, deliberate, and receive the
appropriate amount of public input.

2. Are you concerned about the negative impact that the proposed rule would have on our
country’s agriculture producers, food supply, and ultimately American consumers if
finalized?

a. If so, what would you do to address those concerns as EPA Administrator?

Response: I am uncertain which rulemaking you are referencing but I look forward to
working with you to implement rulemakings consistent with the rule of law.

3. As Administrator, how will you work with the regulated community to continue to update
and refine the Rodenticide Strategy and the proposed interim decisions (PIDs) for eleven
rodenticides to include stakeholder input on the feasibility of mitigation measures and
measurable feedback on their effectiveness at minimizing exposure to nontarget wildlife,
and to endangered species and their critical habitats?

Response: If confirmed, I look forward to working with you on this issue and learning more about
how it impacts your constituents.

4. In February 2024, the Biden EPA set strengthened National Ambient Air Quality
Standards (NAAQS) for Particulate Matter and in 2025 the EPA will need to reconsider
ozone NAAQS levels. If confirmed, do you commit to implementing specific strategies
and frameworks at the EPA that balance strengthened air quality regulations with the
needs of the manufacturing sector?

Response: If confirmed, I commit to using all the tools at my disposal to ensure we don’t have
to choose between having clean air and having a strong economy.

Senator Boozman:

1. A company in my state owns and operates an RCRA permitted hazardous waste
combustor in El Dorado, Arkansas. As a component of its waste minimization and
sustainability efforts, the company began permitting a deep well in 2019. An Arkansas
Department of Environmental Quality permit (ADEQ) and EPA No Migration Petition

EPA_00299775
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 32 of 129

approval are required to operate at the site. An ADEQ state permit application was
submitted in 2019 and conditionally approved in 2020, pending approval of the EPA No
Migration Petition. EPA Region 6 communicated to my constituent company that it
typically takes two years for a no migration petition to be approved, and the expectation
was that EPA would grant approval no later than 2022. This process has now been going
on for six years, and, despite my constituent company’s good faith efforts, a petition still
has not been approved by Region 6. The delays by the current Region 6 leadership, and
the current Administration, are unacceptable. These approval delays have also had a
significant financial impact on my constituent company — more than $10 million in total
expenses to date. Your leadership and the Administration’s leadership are greatly
needed to cut through the bureaucratic red tape at the EPA. I would be grateful for your
assistance, and the assistance of your new Region 6 team once it is in place, in helping
to expedite the timely approval of this no migration petition so this critical project in
Arkansas can move forward. As you settle into your position, will you commit to me
that petitions, like this, will continue to move forward and not experience unnecessary
delays?

Response: I commit to promoting efficient decision making and improving how we deliver
projects.

Ranking Member Whitehouse:

1. During the hearing, I laid out some of the donors to American First Policy Institute
(AFPI) and America First Works (AFW), but I also noted that most of these
organizations’ donors are not public. You are currently the Chair of AFPI’s Pathway to
2025 initiative and serve as a member of the board of AFW. Please provide the
Committee with a list of the top 20 donors to both the AFPI and AFW for each of the last
four years.

Response: As you may understand, being a member of a board or participant in individual
programs for an organization does not always mean one is involved in the making of books for
an organization. As such, I will direct you to the representatives of the respective organizations
to better respond to your question.

2. It’s also been reported that AFW has given $4.8 million to Donors Trust,'an identity
laundering organization. Please provide the Committee a list of the top 20 ultimate?
recipients of money from AFW for each of the last four years.

Response: As you may understand, being a member of a board or participant in individual
programs for an organization does not always mean you are involved in the making of books
for an organization. As such, I will direct you to the representatives of the respective
organizations to better respond to your question.

| Pro-Trump nonprofit gives millions to groups boosting his agenda, Carrie Levine, Public Integrity, Nov. 20,
2021, https://publicintegrity.org/politics/pro-trump-nonprofit-gives-millions-to-groups-boosting-his-
agenda/ “In this instance, “ultimate” is defined to mean the recipient that benefited from the funds, not a
pass-through entity such as Donors Trust.

3. If confirmed as EPA Administrator, do you commit to recuse yourself from any matters
in which any of the donors to AFW and/or AFPI have a pecuniary interest?

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 33 of 129

Response: I commit to consulting counsel in all matters of ethics to promote and protect the
public trust.

4. If confirmed as EPA Administrator, do you commit to not meeting with any
representatives of AFW, AFPI, or any of their donors for the next two
years?

Response: I commit to consulting counsel in all matters of ethics to promote and protect the
public trust.

5. The homepage for AFW states, “The American Dream is being challenged by a powerful
few, the “elites”, who exploit their positions at the expense of the People.” I agree. The
largest disclosed donor to AFW appears to be the Pharmaceutical Research and
Manufacturers Association of America (PhRMA), which has given AFW at least $2.5

million.? PhRMA is a trade association that represents large pharmaceutical companies.

a. Do you believe that giant corporations and their trade associations are part of the
“elite?” Please explain why or why not.

Response: Individuals and organizations have the constitutional right to petition their
government. Associations or corporations are no different. I commit to being fair and even
handed in my execution of the law, if confirmed as Administrator.

b. Do you believe that giant corporations and their trade associations generally
represent the interest of the American people? Please explain why or why not.

Response: The American people have the constitutional right to petition their government. The
law allows them to do so through associations or corporations. I commit to being fair and even
handed in my execution of the law, if I am confirmed as Administrator.

6. In economics, is it considered a subsidy to allow an industry to pollute for free? Do you
agree that, in market economics, the cost of negative externalities should be built into the
price of a product?

Response: I am not an economist but I look forward to working with you to better understand
your question, if confirmed.

7. The International Monetary Fund (IMF) estimates that the negative externalities
associated with fossil fuels cost over $700 billion per year in the U.S. alone.* Should
polluters pay for those costs or should American taxpayers?

Response: Whether positive or negative externalities should be internalized by the company
or externalized is a decision for Congress, which establishes our laws. If confirmed as
Administrator, I will abide by the laws established by Congress.

8. You have been very supportive of the Fire Island to Montauk Project, or FIMP. This
project has a total cost of $2.4 billion, of which roughly $1 billion has been dedicated to
elevating 4400 homes to protect them from sea level rise. The remaining money is for
beach replenishment and other efforts to stabilize and protect the shoreline from rising

EPA_00299777
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 34 of 129

seas and increasingly frequent and severe storm surges.° FIMP spans approximately 80
miles of coastline, from Fire Island Inlet to Montauk Point. According to NOAA, the
total U.S. saltwater coastline is roughly 90,000 miles. As a rough thought exercise, let’s
imagine that we were to undertake similar efforts along the entire coast, understanding
that some portions or our coast or more or less vulnerable to sea level rise than is the
Suffolk County coast. The cost of FIMP works out to $30 million per mile. At 90,000
miles, if we were to replicate this for our entire coastline, that would work out to a total
cost of $2.7 trillion. While FIMP is obviously very important to the people of Suffolk
County, do you think we can afford to undertake similar efforts along our entire
coastline?

Response: No, but a one-size-fits-all approach is not how we should mitigate risk. I look
forward to working with communities throughout this country to protect human health and the
environment.

3 America First Works, SFOFExposed, https://sfofexposed.org/america-first-works/

4IMF Fossil Fuel Subsidies Data: 2023 Update, Black et al., IMF Working Paper, Aug. 24, 2023
shttps://www.imf.org/en/Publications/WP/Issues/2023/08/22/IMF-Fossil-Fuel-Subsidies-Data-2023-Update
537281

* Rising tides are coming for Lee Zeldin’s hometown, Miranda Willson, Dec. 19, 2024,
https://www.eenews.net/articles/rising-tides-are-coming-for-lee-zeldins-hometown/

9. You once defended a decision to halt work on a beach replenishment project on Fire
Island so that unrelated environmental work could be done at Mar-a-Lago.° Was that a
political or scientific decision?

Response: The Army Corps of Engineers assured my office that both projects they were
involved in, one at Westhampton Beach and the other at Point O’ Woods and Ocean Bay Park,

would be completed before their initial deadlines of June 19th, 2020. These projects were
completed on March 13th, 2020, and June 11th, 2020, respectively, both ahead of deadline.

10. On your OGE Form 278e, which is public, you list yourself as a Director of Plymouth
Union Public Research based in Washington, DC. What is Plymouth Union Public
Research, who comprises its leadership, and who are your fellow Board members?

Response: This is a recently formed 501(c)(6), with final details being worked on.

11. On your OGE Form 278e, you list the following entities as clients of your consulting
company, Zeldin Strategies:

a. New York Cancer and Blood Specialists;

b. Amneal Pharmaceuticals;

c. Americans for Transparency and Accountability;

EPA_00299778
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 35 of 129

d. Elections LLC;

e. RSL Management Corp;

f. Job Creators Network;

g. Softheon;

h. America First Policy Institute;
i. Richard Kurtz;

j- Building America’s Future; and

k. Marwood Group.

6
- Dredging Up a Load of Controversy, The East Hampton Star, Feb. 27, 2020,
https://www.easthamptonstar.com/government/2020227/dredging-load-controversy

For each of these identified clients, please answer the following questions:
a. What was the nature of the work completed on behalf of the client?

Response: Consulting Services.

b. Does the client remain an active client of Zeldin Strategies?

Response: Clients a, b, h, and j for now while I am still pre-confirmation.

c. Did any of the work completed on behalf of the client include seeking to influence
President-elect Donald Trump (whether before or after November 5, 2024) or his
advisors?

Response: Zeldin Strategies does not participate in any lobbying.

d. Did any of the work completed on behalf of the client relate in any way to work
that may be relevant to the jurisdiction of the Senate Committee on Environment
and Public Works?

Response: No.

EPA_00299779
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 36 of 129

12. During the hearing, it was claimed that the U.S. has been the world leader in reducing
global emissions of CO2 since 2005. However, when you include other greenhouse
gases and consider emissions per capita, in 2022 the U.S. on a per person basis emitted
more than 50% more greenhouse gasses than the UK, Japan, Germany, the EU as a
whole, Indonesia, India, and China. When you consider greenhouse gas emissions per
unit of GDP (1.e., emissions intensity), the U.S. fairs better but still has a significantly
higher emissions intensity than the UK, Japan, Germany, and the EU.’

a. Would you agree that these two metrics — greenhouse gas emissions per capita and
greenhouse gas emissions per unit of GDP — are better metrics for benchmarking our
decarbonization progress relative to other countries?

Response: I would have to confer with the scientists, economists, and other technical experts at
EPA to make a judgment on this question.

b. Moreover, since their origin has no bearing on the warming effect of greenhouse gas
emissions and since a significant share of global greenhouse gas emissions is the result
of the manufacturing of goods that are ultimately imported into the U.S., would you
agree that the most important metric for evaluating our progress on mitigating climate
change is the rate at which global greenhouse gas emissions are rising or falling?

Response: I would have to confer with the scientists, economists, and other technical experts at
EPA to make a judgement on this question.

c. And since global greenhouse gas emissions continue to increase, would you agree that
collectively more needs to be done to limit these emissions?

Response: It is an important goal to reduce air emissions generally. Any emissions limits
imposed by EPA must be consistent with applicable law.

13. The Methane Emissions Reduction Program (MERP) is a partnership between the U.S.
Department of Energy (DOE), the EPA, and the National Energy Technology Laboratory
(NETL). Under the program, Congress provided $1.36 billion in financial and technical
assistance to improve methane emissions monitoring and reduce methane and other
greenhouse gas emissions from the oil and natural gas sector. A key to deploying
technology to reduce methane emissions is knowing the source of those emissions, and

J GHG Emissions of all world countries: 2023 report, European Commission,
https://edgar.jrc.ec.europa.eu/report 2023?vis=ghgpop#emissions table

Page 8 of 67
we have ground-level sensor, aerial, and satellite data that can help us pinpoint those
sources. If confirmed, will you commit to ensure that both companies and communities
are able to collect and access empirical emissions data and participate in monitoring
methane emissions?

Response: Using technology to understand and improve environmental outcomes is important.
If confirmed as Administrator, I look forward to learning more from EPA’s expert staff and
from my colleagues in other departments of the government about these monitoring
technologies.

EPA_00299780
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 37 of 129

14. Methane emissions from the oil and gas sector are a large source of the greenhouse gas
pollution that is driving climate change. Methane is also the main component of natural
gas. Leaked, vented, and flared methane is wasted natural gas that could have been
captured and sent to market. Capturing this escaped or wasted methane would therefore
increase natural gas supplies and reduce the cost of natural gas.

a. Do you believe that the oil and gas industry’s practices with respect to leaked,
flared, and vented methane should be unregulated?

Response: EPA, along with other agencies like the Department of the Interior and state
governments, have a role in ensuring that our natural resources are developed responsibly.

b. As a general matter, do you believe it is sound stewardship to waste a large
percentage of a product?

Response: As a general matter, I do not think it is in a company’s interest to waste its
product when there is a better available use for that product.

15. EPA’s current rules regulating methane emissions include a super-emitter program which
allows third parties with access to satellite or other data to alert EPA to large methane
emission events. Under the program, EPA must then alert operators to these emissions
and the operators must then perform inspections and eliminate emissions sources that
they find. This program will reduce greenhouse gas pollution as well as localized air
pollution that harms frontline communities.

a. Do you pledge to implement the super-emitter program if confirmed as EPA
Administrator?

Response: If confirmed as Administrator, I will review this and other programs and
implement them to the extent that they are authorized under the statutes that Congress has
enacted, are supported by the evidence in the record, and protect the environment in a cost-

effective and appropriate way.

b. Do you pledge that EPA will rapidly process applications from third party
monitors that wish to be certified under the super-emitter program?

Response: EPA should avoid unnecessary delay in carrying out any of its functions, but
the Agency also cannot sacrifice quality and legitimacy.

16. Under the MERP, oil and gas companies whose methane emissions surpass certain
allowable thresholds are required to pay a waste emissions charge (WEC) starting in
2025 based on 2024 emissions. Do you commit to faithfully collect this charge based on
what is owed for 2024 methane emissions?

10

EPA_00299781
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 38 of 129

Response: If confirmed as Administrator, I will follow the laws that Congress has enacted.

17. Congress passed bipartisan legislation to phase down polluting refrigerants, known as the
AIM Act, and ratified the Kigali Amendment to the Montreal Protocol to ensure that the
U.S. could lead in providing the cleaner refrigerants we produce in the U.S. to the rest of
the world.

a. Will you make implementation of the AIM Act, which requires an 85%
phasedown of HFCs by 2036, a top priority for EPA under your
leadership?

Response: As I stated at the hearing, if confirmed it will be my duty to follow my
obligations under this law and every law that Congress has duly enacted to delegate
responsibilities to the Agency.

b. In 2024, EPA undertook a number of enforcement actions against illegal
importation of HFCs. Will you continue to make enforcement a priority?

Response: Ensuring compliance and enforcing where appropriate are important tools at
EPA’s disposal. Curbing illegal importation of these or any other substances is part of
following the rule of law.

c. Are you familiar with the next generation of refrigerant chemicals? If confirmed,
will you work with the Committee to help ensure that this next generation of
chemistry is developed and scaled in the U.S.?

Response: If confirmed, I look forward to working with EPA’s expert staff to explore these new
technologies. Ensuring that our nation has a growing industrial base, including in the latest
scientific developments, is an important part of the President’s agenda and of EPA’s role, and I
look forward to working with the Committee in this regard.

18. In June 2023, the Clean Air Scientific Advisory Committee (CASAC), a panel of
independent experts, indicated that the current National Ambient Air Quality Standard
(NAAQS) for ground level ozone does not adequately protect public health or the
environment. The Clean Air Act mandates that EPA set primary ambient air quality
standards based solely on the latest science in order to properly protect public health,
including the health of sensitive and at-risk populations with an adequate margin of
safety. CASAC noted that “based on the scientific evidence currently available, it is
concluded that the level of the current standard [70 ppb] is not protective with an
adequate margin of safety” and that a limit of 55 to 60 ppb “is more likely to be
protective and to provide an adequate margin of safety.”

a. Do you commit to using the latest science in order to properly protect public
health when setting the primary and secondary standards for ground-level ozone
NAAQS?

11

EPA_00299782
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 39 of 129

Response: Congress in the Clean Air Act requires the Administrator to periodically review
NAAQS standards and determine whether it is appropriate to revise them, taking into account
CASAC’s views as well as public comment. I understand that Congress has delegated to the
Administrator the task of determining what are the safe concentrations of this and other
pollutants of concern, informed by expert advice and guided by the public’s input and the scope
of the task assigned to the Administrator by Congress.

b. Do you commit to including the health of sensitive and at-risk populations, such
as children, outdoor workers, the elderly, and frontline and fenceline
communities, when promulgating ground-level ozone NAAQs?

Response: If confirmed as Administrator, I will work to protect the health of all Americans,
including the most vulnerable among us.

c. What are the health effects of long-term exposure to ground-level ozone?

Response: I am aware that EPA has identified potential health risks from exposure to
ground-level ozone, including respiratory symptoms, that are subject to variables such as
the concentration and duration of exposure. If confirmed, I look forward to being briefed
by EPA’s career staff experts on the effects of ground-level ozone exposure.

d. Do you agree that frontline and fenceline communities are more likely to be
affected by ground-level ozone? Why is this so?

Response: Air quality is an issue that affects us all. If there are areas with especially poor
air quality, that is a matter that requires careful study to determine the nature of the
problem and what tools Congress has given the Agency to best address it.

e. Do you commit to finalizing a stronger ground-level ozone NAAQS before the
end of 2025?

Response: It would be inappropriate for me to commit to taking any particular action at this
stage; I cannot prejudge the outcome of this or any other rulemaking. I will work with EPA’s

expert staff and follow the law and the evidence in the rulemaking record.

19. Do you commit not to attempt to claw back already-obligated EPA grant funding, unless
concrete evidence of misuse of funds is established?

Response: I cannot prejudge outcomes, but I believe as EPA Administrator I have the
responsibility to be a good steward of tax dollars.

20. Do you commit to upholding the memorandum of understanding signed by EPA and the
Department of Labor to ensure high-road labor standards on federally funded projects?

Response: It is critical to work cooperatively with other agencies across the federal government.
I have not reviewed this memorandum of understanding; however, if confirmed, I commit to

reviewing it.

21. You stated in your opening remarks that you are a supporter of my efforts with Senator
Sullivan on our Save our Seas and Save our Seas 2.0 legislation. Save Our Seas 2.0

12

EPA_00299783
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 40 of 129

included several grant programs at EPA aimed at improving domestic infrastructure to
prevent marine debris. Do you commit to advocating for full funding for all grant
programs within EPA jurisdiction that were created in Save Our Seas 2.0?

Response: While serving in Congress, I was proud to support the Save our Seas and Save our
Seas 2.0 legislation. While funding decisions are the responsibility of Congress, I commit to
being a good steward of taxpayer dollars and ensuring that funds appropriated to EPA are
spent in a manner consistent with the law.

22. Do you agree that reducing virgin plastic creation is necessary to end the plastic pollution
crisis?

Response: The key to reducing pollution is getting the key parties responsible for pollution to
stop polluting. I look forward to working with you to identify methods for working with our
international partners in reducing plastic-related pollution.

23. According to the EPA, only about 9 percent of the plastic we generate is recycled,
although other groups have estimated that even 9 percent may be an optimistic figure. As
EPA administrator, what are you going to do to improve this statistic?

Response: I am aware that EPA has long viewed recycling as beneficial to our environment. For
example, EPA has stated that recycling efforts reduce the need to extract new natural resources,
reduce greenhouse gas emissions, conserve energy, and divert waste from landfills. EPA
administers a number of voluntary programs to promote recycling and the circular economy. I
look forward to learning from EPA’s experts on this subject about the ways that our rate of
plastic recycling can be improved.

24. The Clean Water State Revolving Fund (CWSRF) and Drinking Water State Revolving
Fund (DWSREF) provide crucial financial assistance for States and water utilities to
protect aquatic ecosystems, meet infrastructure needs, and ensure that safe drinking water
is available for all Americans. Will you commit to advocating for robust CWSRF and
DWSRF funding from Congress on behalf of the agency?

Response: I am aware of the important role that the State Revolving Fund programs play in
assisting states with water infrastructure needs. While funding decisions are the responsibility of
Congress, I commit to being a good steward of taxpayer dollars and ensuring that funds
appropriated to EPA are spent in a manner consistent with the law.

25. On November 11, 2024, you wrote on X, “It is an honor to join President Trump’s
Cabinet as EPA Administrator. We will restore U.S. energy dominance, revitalize our
auto industry to bring back American jobs, and make the U.S. the global leader of AI.
We will do so while protecting access to clean air and water.”

a. The U.S. is now the largest producer of oil and gas and is a net petroleum
exporter. Given this, how would you define U.S. “energy dominance”?

Response: Energy dominance describes a circumstance in which the United States is not
dependent on energy from other countries, including adversaries like Iran, Russia, and

Venezuela. Energy dominance is a matter of environmental stewardship as well as
national security. Imported energy may not benefit from the same degree of

13

EPA_00299784
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 41 of 129

environmental rigor that we practice in this country, it affects the price Americans pay
for energy, and it increases our geopolitical vulnerability.

b. To truly achieve dominance shouldn’t we be focusing on expanding our
capacities—both in terms of generation and supply chains—for energy sources
where we are not currently the leader, like renewables (onshore wind, offshore
wind, solar, geothermal) and nuclear (both conventional and small modular
reactors)?

Response: As I stated in the hearing, I believe in an all-of-the-above energy approach.

c. The U.S. has some of the best solar and wind resources in the world, and due to the
fact that the country spans a continent and multiple time zones, solar and wind
power can be generated and sent to places where the sun is not shining or the
wind is not blowing. Does “energy dominance” as you define it include exploiting
our solar and wind resources to their full potential?

Response: As I stated in the hearing, I believe in an all-of-the-above energy approach.

d. You opposed the Biden administration’s pause on the permitting of new LNG
export terminals. Do you support a pause on the permitting of new offshore wind
projects?

Response: I cannot prejudge the outcome of any particular permitting decision that may come
before the Agency.

e. Do you support a federally-imposed halt on the construction of already-permitted
offshore wind projects?

Response: Many agencies regulate offshore wind projects. To the extent EPA has a role in that
regulation, I commit to following the law.

26. Approximately 16 million new passenger cars and light-duty trucks were sold in the U.S.
in 2024 and about 10 million were produced here. By comparison, S&P estimates that
global vehicle sales reached 88.2 million in 2024, of which about 13% were EVs. They
project that EV sales will continue to rise to 15.1 million units or 17% of new vehicle
sales in 2025. By contrast, S&P projects that global sales of internal combustion engine
vehicles will shrink by 3% this year. In China, the largest consumer market for new
vehicles—as well as our largest competitor in the global autos market—nearly half the
vehicles sold last year were EVs.

a. As we work to revitalize our auto industry, shouldn’t we be working to capture as
much of the global market and the segments of the market that are growing as possible?

Response: I share your concern that our national policies should promote American industry.

b. In your view, should we compete with China over this market, or should we cede
dominance to them?

Response: We should never cede dominance to any other country. Nor should we necessarily

14

EPA_00299785
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 42 of 129

base our policies on imitating our competitors.

c. And if we do choose to compete, which I believe we should, doesn’t that require
us and our auto manufacturers to have a comprehensive strategy for expanding
EV production—most of which are currently manufactured in China and are
dependent on Chinese supply chains?

Response: I share your concern that our supply chains should not be dependent on China and
that we should encourage American manufacturing.

27. President-elect Trump and a number of his cabinet nominees have called for expanding
U.S. oil and gas production. In several posts on X, you have called for the U.S. to
become “energy independent” by increasing domestic energy production. Again, the U.S.
is the largest producer of oil and gas and is a net petroleum exporter. While the U.S.
continues to import crude oil, this is due largely to a mismatch between the type of oil
(namely its viscosity and sulfur content) produced in the U.S. and the capacity of U.S.
refiners to process that oil.

a. How would you define “energy independence” in this context?

Response: Energy independence means reducing our reliance on foreign energy sources, which
are typically produced in less environmentally friendly ways than in the United States.

b. Why would further expanding domestic oil production unlock that independence?

Response: The more energy we produce at home, the less dependent we are on energy from
abroad.

c. Shouldn’t the focus instead be on petroleum refiners to retool so that they can
better process U.S. crude and thus reduce our reliance on foreign oil from
countries like Saudi Arabia and Venezuela?

Response: It is important that the United States be energy independent. The refinery process
is a complex issue and if confirmed as Administrator I will follow all legal requirements,
including with respect to whether petroleum refineries can better process U.S. crude relative
to foreign oil.

28. During the hearing, you affirmed that you would follow the law. Section 328(a)(1) of the
Clean Air Act requires the EPA to control air pollution from outer continental shelf
resources in order to attain and maintain ambient air quality standards. As Administrator,
do you commit to following this legal requirement?

Response: If confirmed, I will follow all legal requirements.

29. Your home state of New York receives electricity from our nation’s first commercially
operational wind farm, South Fork Wind. President Trump has threatened to halt the
offshore wind industry. According to the Federal Permitting Dashboard, seven offshore

wind projects need to obtain an EPA air permit.

a. Pursuant to your authorities under the Clean Air Act’s Section 328(a)(1), will you

15

EPA_00299786
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 43 of 129

issue timely permits for these pending offshore wind projects?

Response: Reaching timely decisions on permits is a high priority for the Administration. If
confirmed as Administrator, my goal is for EPA to provide timely permit decisions consistent
with the legal requirements.

b. Pursuant to your authorities under the Clean Air Act’s Section 328(a)(1), will you
continue to issue timely permits for future offshore wind projects?

Response: The President has made it very clear that in general reaching timely decisions on
permits is a high priority. If confirmed, my goal is for EPA to provide timely permit decisions
consistent with the legal requirements.

30. Over the last ten years, your home congressional district and its neighboring district
received nearly $500 million in coastal resilience funding. That is just from the Army
Corps of Engineers, and it does not include all of the $2.4 billion in federal funding for
the Fire Island to Montauk Point project.

a. Do you acknowledge that our coastal communities require substantial financial
investments?
Response: Yes.

b. Do you acknowledge that climate change will require more dedicated resources
for our coastal communities?

Response: Yes.

c. As the EPA Administrator, will you commit to supporting and growing programs
at EPA that assist our vulnerable coastal states and constituents?

Response: If confirmed, I look forward to working with you and Congress to better understand the
unique interests and goals of all our communities to ensure EPA is meeting and exceeding their
needs.

d. Will you advocate for the needs of coastal states in discussions with other Agency
leads and with the Administration?

Response: If confirmed, I will ensure that EPA is meeting the needs of all communities,
consistent with the law.

e. As a long-time support of the upland and inland Land and Water Conservation
Fund, would you support more dedicated funding toward its coastal sibling, the
National Oceans and Coastal Security Fund?

Response: Although Congress determines funding levels, I commit to working with you on the
issue.

31. Project 2025 proposes to dismantle the National Oceanographic and Atmospheric
Administration which could have devastating consequences to our coastal states.

16

EPA_00299787
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 44 of 129

Regardless of whether you have read Project 2025, do you support its recommendation to
dismantle NOAA?

Response: I have not read any of Project 2025’s recommendations, including with regard to
NOAA. If confirmed, I commit to working with other federal agencies and departments across
the executive branch, including NOAA, to achieve EPA’s mission. I defer to Congress as well as
the Secretary of Commerce and NOAA Administrator on questions related to the organization
and structure of NOAA.

32. Project 2025 also proposes to downsize the Office of Oceanic and Atmospheric Research,
which includes program offices studying sea level rise, as well as the NOAA Sea Grant
Program, which you have previously supported. Regardless of whether you have read
Project 2025, do you support its recommendation to downsize the OAR office?

Response: I have not read any of Project 2025’s recommendations, including with regard to the
Office of Oceanic and Atmospheric Research within NOAA. If confirmed, I commit to working
with other federal agencies and departments across the executive branch, including NOAA, to
achieve EPA’s mission. I defer to Congress, as well as the Secretary of Commerce and NOAA
Administrator, on questions related to the organization and structure of NOAA.

33. You’ve been a long-time vocal supporter of EPA’s National Estuaries Program. In fact,
you co-founded the National Estuary Caucus, cosponsored a resolution to designate a
National Estuaries Week, and pushed for National Estuary Program reauthorization.
Given your experience with the Long Island Sound and the Peconic Estuary, you
undoubtedly know how important this and other programs at EPA are to protecting our
waters.

a. What will you do to safeguard these programs at EPA?

Response: The National Estuaries Program is a non-regulatory program established by Congress
under section 320 of the Clean Water Act, designed to improve the waters, habitats, and living
resources of 28 estuaries across the country. If confirmed as EPA Administrator, I look forward
to working closely with EPA’s career professionals on administering this program and others that
affect our nation’s estuaries in a manner consistent with the law.

b. Will you guarantee that the National Estuaries Program at EPA will not see a
funding cut?

Response: While funding decisions are the responsibility of Congress, including as to the
National Estuaries Program, I commit to being a good steward of taxpayer dollars and ensuring
that funds appropriated to EPA are spent in a manner consistent with the law.

34. In a 2018 op-ed, you wrote about EPA grants that would assist your district in collecting
nearly 3,000 pounds of floating trash from the Long Island Sound. We can all agree that
nobody wants to see trash washing up on the shores of their state or district. The EPA
has an important role in preventing plastic pollution. What will you do to safeguard the
programs at EPA that improve recycling, clean up our waterways, and tackle the issue of
plastic pollution?

Response: I look forward to working on this important issue if confirmed as Administrator,

17

EPA_00299788
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 45 of 129

including by working with EPA’s State, Tribal, and local government partners.

35. Project 2025 proposes to eliminate the Office of Environmental Justice and External
Civil Rights.

a. Do you believe that there are communities that have been over-burdened?

Response: I believe that every American deserves access to clean air and water, and I
commit to working hard to meet the needs of all communities, consistent with the law.

b. Do you believe that frontline and fenceline communities deserve an office that
works with them to correct those historical wrongs and give them the rights of
other Americans to a clean and healthy environment?

Response: I believe all communities have a right to a clean and healthy environment.

c. Regardless of whether you have read Project 2025, do you support its proposal to
eliminate the Office of Environmental Justice?

Response: I have not read Project 2025. I cannot prejudge outcomes.

36. During the last Trump Administration, EPA Administrator Scott Pruitt altered the
membership rules for serving on the EPA Science Advisory Board, resulting in a
significant decrease in academic expertise and an increase in members with ties to the
fossil fuel and chemical industries. Similarly, Project 2025 calls for a resetting of the
EPA Science Advisory Board.

a. Do you plan to restructure the Science Advisory Board?

Response: While I cannot speak to specifics regarding any EPA advisory committee, I can say
that it is important to consider input from people with a variety of backgrounds and areas of
expertise when EPA makes decisions. If Iam confirmed, I look forward to being briefed on the
Science Advisory Board’s current composition and role.

b. Do you recognize the need for trained expertise that is free of industry-related
conflicts of interest?

Response: I recognize the importance of ensuring that government policy is insulated from
any inappropriate conflict of interest.

37. Project 2025 has called for increased transparency in the data and science used by the
EPA. While open science is important, there may be times when the data used for
regulations cannot be publicly shared, such as protected health data (e.g., the NHANES
dataset).

a. Do you believe that the EPA should use health data to make decisions?

Response: I believe that EPA should use the best available data, and that transparency is an
important principle of good government that may inform what is the best data for a particular
regulatory purpose.

18

EPA_00299789
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 46 of 129

b. Do you believe that the inability to publicly share protected health data should be
a barrier the use of scientific studies that rely on such data in rulemaking?

Response: Promoting public health and the environment is EPA’s mission. Protecting public
trust is critical to protecting the actions of the Agency. I cannot prejudge the appropriate use of
scientific studies in the abstract, but if confirmed I am committed to appropriate use of
scientific studies at EPA.

38. As you may know, the precautionary principle encourages caution when there is an
absence of scientific knowledge or consensus about the effects of a hazard on public
health or the environment. Project 2025 calls for revising risk management policies,
including how the EPA makes determinations about the risk that chemicals pose on
human health. Do you support using the precautionary principle when making decisions
about chemicals that will be widely released into the environment and come in contact
with the American public?

Response: If confirmed, I commit to ensuring that decisions regarding the potential risk of
chemicals to the human health or the environment use the best available science.

39. Do you believe that chemicals should be thoroughly reviewed before being introduced to
market and that, in its determinations, the EPA should prioritize the best available,
science-based risk models?

Response: The Toxic Substance Control Act requires that the EPA review and determine if a
new chemical substance presents an unreasonable risk of injury to human health or the
environment before introduction to the market. If confirmed, I will commit to ensuring that the
review uses the best available science.

40. Will you support the continued use of EPA’s long-standing and peer-reviewed risk and
cost assessment methods and reject proposals to adopt methods that exaggerate costs and
ignore categories of harm?

Response: If confirmed, I will require that EPA use risk- and cost-assessment methods that are
appropriate to the regulatory context, and I will prohibit the use of methods that inappropriately
over- or under-count costs or benefits.

41. Do you believe that any updates to risk management policy should be openly and
transparently reviewed by experts and subject to public comment before adoption?

Response: If confirmed, I commit to ensuring that EPA complies with all transparency
requirements that apply to EPA’s policies.

42. President-elect Trump shared that, as Administrator, “you will ensure fair and swift
deregulatory decisions that will be enacted in a way to unleash the power of American
businesses.” During his last Administration, President Trump rolled back over 100
environmental regulations, many governing clean air.

a. Do you agree that poor air quality contributes to negative health effects?

Response: Yes.

19

EPA_00299790
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 47 of 129

b. Do you agree that setting strong air pollution standards is important to reduce
public health risks?

Response: Yes.

c. What steps will you take as EPA Administrator to ensure that Americans are not
needlessly exposed to air pollution that will exacerbate public health risks?

Response: I cannot prejudge outcomes, but if confirmed I will uphold my obligation to fulfill
the important requirements of the Clean Air Act.

d. You stated at your confirmation hearing, in response to questions from both Senator
Ricketts and Senator Markey about your plans for EPA’s existing tailpipe emissions standards,
that you could not prejudge whether you would reverse them or preserve them. Yet President
Trump has promised that he (and by extension you, should you be confirmed as EPA
Administrator), will reverse these standards. If reversal of these standards is not supported by
the factual, scientific, technical, and economic analysis, will you reverse EPA’s tailpipe
emissions standards?

Response: If confirmed, I will follow the law, the facts, and the science when making and
reconsidering policy decisions.

e. As a general matter, do you think more fuel efficient (and less emissive) vehicles
are a positive or negative?

Response: As a general matter, we all appreciate going further on a dollar. We also all
appreciate environmental protection, consumer choice, cheaper vehicles, safer vehicles, and
more reliable vehicles. EPA’s role is to balance all these considerations in crafting its
regulations.

f. As a general matter, do you believe that the government should take steps to
improve vehicle fuel efficiency and reduce emissions (both carbon dioxide and
criteria air pollutants) from vehicles?

Response: As a general matter, Congress has passed laws to address these issues and those
laws should be faithfully executed.

43. Modern aquatic science has demonstrated time and time again that adjacent wetlands and
other non-perennial bodies of water have significant impacts on water quality and
ecology of traditionally navigable waters. Given that the water quality and quantity of
traditionally navigable waters depend on the status of adjacent wetlands and intermittent
streams, how do you plan to leverage and protect their value to navigable waters—
especially as it pertains to water bodies that cross State lines?

Response: Under the Clean Water Act, the federal and state governments each have important

20

EPA_00299791
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 48 of 129

roles to play. Regulators at all levels of government and stakeholders in all sectors of the
economy have a shared interest in preserving our water resources while allowing for responsible
development.

44. Roughly a third of the water workforce is within 5-10 years of retirement, and there are
considerable challenges associated with recruitment, retention, and training of utility
operators.

a. Will you support allocating funding to address this major issue?

Response: If confirmed, I will ensure that the Agency follows the law concerning expenditures of
money appropriated by Congress.

b. Do you believe that this is an issue that should be prioritized by the agency?

Response: While I cannot prejudge priorities, succession planning is an appropriate action by any
organization.

45. In 2015, you voted to require the EPA to develop a plan to manage risks associated with
algal toxins in drinking water. Will you support continued research and action throughout
the agency on this topic, including the Office of Water and the Office of Research and
Development?

Response: Risk management is vital to public health. If confirmed, I look forward to working
with states and drinking water systems to determine how best to address hazards posed to
drinking water.

46. Will you support programs like WaterTA that provide technical assistance to utilities to
help them manage water quality challenges, like algal bloom response?

Response: EPA plays a vital role in providing technical assistance to stakeholders to enhance
environmental outcomes. If confirmed, I look forward to learning more about these programs
from EPA’s dedicated experts.

47. In 2020, you voted against reauthorizing funding for lead service line replacement
projects. New York, as you may know, has nearly 500,000 lead service lines.

a. Do you believe that replacing lead service lines should be a priority for the
administration?

Response: Mitigating risk posed to public health comes in many forms. I understand that
lead service line removal is one approach to reduce childhood lead exposure from
drinking water. Replacing all lead service lines may not resolve all lead contamination in
this country due to things like premise plumbing. This means that a combination of
solutions may be necessary. I commit to supporting local communities in identifying the
best solution for their unique needs.

21

EPA_00299792
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 49 of 129

b. Do you believe that funding is needed to help water utilities and municipalities
complete lead pipe replacements?

Response: I cannot prejudge funding needs.

c. If the Lead and Copper Rule Improvements (LCRI) are challenged in court, will
you continue to support efforts and enforce a timeline to replace lead service
lines?

Response: I am aware that EPA first issued a national primary drinking water standards for lead
in 1991, and EPA during the Trump Administration’s First Term updated that rule for the first
time in three decades. I am also aware that EPA issued further revisions to this rule in 2021 and
again in 2024. I understand that this rule is currently the subject of litigation, and EPA may have
received requests from stakeholders to revisit it, as it does from time to time. It would be
inappropriate for me to prejudge the outcome of any regulatory proceeding.

48. The Bipartisan Infrastructure Law allocated $15 billion to be distributed through the
Drinking Water State Revolving Funds to replace lead service lines, though current
estimates suggest that it will take $46 to over $90 billion to complete this effort. Will you
commit to using all of the allocated money for its intended purpose?

Response: If confirmed, I commit to allocating resources provided by Congress.

49. Without sufficient funding, some utilities may increase customer rates to account for the
expense of pipe replacements.

a. Do you believe that addressing the issue of water affordability is important?

Response: Yes.

b. Do you believe that all Americans should be able to afford tap water?

Response: Yes.

c. Will you commit to supporting research, technical assistance for utilities, and
other agency efforts to combat water affordability issues?

Response: If confirmed, I commit to learning about EPA’s role in supporting research,
technical assistance, and other efforts to combat water affordability issues and acting
appropriately.
50. Recent EPA surveys found that the nation must invest $630 billion in its wastewater and
stormwater systems, and $625 billion in its drinking water systems, over the next twenty

years just to meet existing health and environmental standards.

a. How will you work with Congress to ensure that critical federal water
infrastructure programs are fully funded?

22

EPA_00299793
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 50 of 129

Response: If confirmed, I will work to ensure Congress has the information needed
as funding is allocated and will execute as directed by law.

b. What metrics will you use to evaluate whether states are investing
federal water infrastructure funds effectively, and what oversight
mechanisms will you use to hold them accountable for achieving
those benchmarks?

Response: States are already required to submit implementation plans. If confirmed,
I will work with states to ensure they have the resources to effectively serve people
and deliver clean and safe water.

51. The Emerging Contaminants in Small or Disadvantaged Communities grant program is
crucial to supporting access to safe drinking water in communities across America.

a. Will you commit to ensuring that all money allocated to this program through the
Bipartisan Infrastructure Law is used for its directed purpose?

Response: If confirmed, I will ensure that the Agency follows the law concerning expenditures
of money appropriated by Congress.

b. Do you believe that additional support, both financial and technical training, is
needed to help small and disadvantaged communities meet regulatory standards?

Response: If confirmed, I look forward to being briefed on the issue.
c. Do you intend for the EPA to continue to provide this support?

Response: I cannot prejudge outcomes.

52. The PFAS Action Act also required EPA to classify PFAS as hazardous substances under
CERCLA. In fact, with regards to the PFAS Action Act, you are quoted as saying: “With
Long Island identified as the area with the most amount of emerging contaminants in our
drinking water compared to the rest of New York State, all levels of government must act
with urgency to help protect local families’ drinking supplies. This is the drinking water
for so many Long Islanders. Failure to act is not an option, and passage of this important
legislation is a critical step to ensure local families have safe and clean drinking water.”
Can you give this Committee your commitment that, if confirmed, you will use your
position to ensure protections for all U.S. families from PFAS and ensure that PFAS
polluters pay?

Response: As I mentioned during my confirmation hearing, when I represented New York’s First
District in Congress, I was a member of the PFAS Task Force and voted for the PFAS Action
Act. I also saw PFAS issues firsthand in Suffolk County, New York. If confirmed, I will ensure
that EPA is doing its part so that all communities have safe and clean drinking water.

53. Will you commit to prompt finalization of the draft human health criteria and the
development, during your tenure, of Effluent Limitation Guidelines for priority industries
discharging PFAS chemicals?

23

EPA_00299794
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 51 of 129

Response: It would be inappropriate for me to prejudge the outcome of either of these two
potential agency actions, particularly without first having the opportunity to be briefed by EPA’s
career professionals on these topics.

54. As you have previously acknowledged, PFAS contamination in private wells is a concern
for many Americans, and because they are unregulated, private wells have historically
not benefited from public funding for testing and remediation support. In FY 2024, the
Consolidated Appropriations Act updated eligible uses for emerging contaminant grants
to include private drinking water wells for the first time.

a. Will you continue to advocate for funding for private well owners dealing with
contamination issues?

Response: If confirmed, I will follow the law, including the Consolidated Appropriations Act,
in working to protect public health and promote the general welfare of all Americans,
including those with private wells. I will ensure that the Agency follows the law concerning
expenditures of money appropriated by Congress.

b. Do you believe that continued support for private well owners is needed?

Response: If confirmed, I commit to discussing this issue with EPA’s career staff and
supporting clean water for all Americans.

55. In the 7" pillar of its America First Agenda, AFPI—where you serve as Chair of the
Pathway to 2025 initiative and on the Board of its advocacy arm AF W—states that
“Americans deserve access to affordable, reliable, and resilient energy that can handle
the unexpected without dramatic disruptions or price increases.” Why, then, should we
continue our dependence on oil, a global commodity the price of which is in large part
determined by the actions of a global cartel and geopolitical events outside of our
control?

Response: As I stated at the hearing, I believe in an all-of-the-above energy approach.

56. In 2019, you were one of 12 Republicans who voted with the majority of House
Democrats in favor of a ban on drilling off the Atlantic and Pacific coastlines. Do you
support President Trump’s promise to overturn recent actions that ban drilling in the
Atlantic?

Response: I cannot prejudge outcomes if this will be part of any process that will involve EPA
jurisdiction at all.

57. During your 2022 campaign for governor of New York, you stated that, if the state
“would reverse the Cuomo-Hochul ban on the safe extraction of resources under many
parts of the state, jobs will be created, energy costs will go down, communities will be
revitalized, and our state can prosper again.” The Department of Energy’s recent study
shows that exporting natural gas, like the gas that would be extracted from hydraulic
fracturing, would increase the cost of natural gas for American consumers.

a. If overturning fracking bans leads to lower energy costs, shouldn’t we avoid

24

EPA_00299795
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 52 of 129

exporting natural gas for the same reason?

Response: I have not seen the DOE study referenced in the question. As I traveled across
the state, New Yorkers sitting on the Marcelus and Utica Shales watched their communities
suffer as neighboring towns just across the border in Pennsylvania were thriving by
utilizing the same shales. I advocated for New York to reverse its ban on the safe extraction
of natural gas to allow these communities, mostly in the Southern Tier of the state, to thrive
again and allow the state to become energy independent.

b. How can you support overturning fracking bans in the interest of supposedly
decreasing consumer costs but promote its export, which has the exact opposite
effect?

Response: As I traveled across the state, New Yorkers sitting on the Marcelus and Utica
Shales watched their communities suffer as neighboring towns just across the border in
Pennsylvania were thriving by utilizing the same shales. I advocated for New York to
reverse its ban on the safe extraction of natural gas to allow these communities, mostly in
the Southern Tier of the state, to thrive again and allow the state to become energy
independent.

58. Project 2025 proposes to eliminate many offices within DOE, such as the Office of
Energy Efficiency and Renewable Energy (EERE), Office of Clean Energy
Demonstrations (OCED), the Grid Deployment Office (GDO). The rationale is that
“taxpayer dollars should not be used to subsidize preferred businesses and energy
resources, thereby distorting the market and undermining energy reliability.”

a. Regardless of whether you have read Project 2025, do you agree with its
reasoning, namely that “taxpayer dollars should not be used to subsidize preferred
businesses”?

Response: Taxpayer dollars should always and only be used to further the public interest.

b. If you agree, do you also agree that all subsidies for fossil fuels should also be
eliminated?

Response: I am not aware of the specific policies to which you refer.

59. In 2016, you said, “I have worked on securing funding as part of the ARPA-E program
money for Brookfield National Lab and Stony Brook University. This type of funding
allows us to be able to pursue alternative energy. Wind, solar farm—solar, water, there
are so many different new and efficient ways to be able to not just cut down costs but also
reduce our reliance on fossil fuels.” As EPA Administrator, would you commit to
continuing to support funding to research and pursue ways we can reduce our fossil fuel
dependence?

Response: As I stated in the hearing, I support an all-of-the-above energy approach.
60. Do you recognize that EPA’s Multi-Pollutant Emissions Standards for Model Years 2027

and Later Light-Duty and Medium-Duty Vehicles do not mandate any particular
technology, and that vehicle manufacturers have multiple available methods to reduce

25

EPA_00299796
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 53 of 129

emissions? Do you agree that there is no federal “mandate” to purchase zero-emission
vehicles?

Response: Maintaining consumer choice and affordability in the automobile market are important
priorities for the Trump Administration. EPA’s Multi-Pollutant Emissions Standards appear to be
designed to increase electric vehicle penetration beyond what consumer demand would otherwise
provide, and therefore may adversely impact consumer choice. For example, EPA’s estimates are
that the rule is anticipated to increase plug-in EV penetration to 68 percent by 2032.

61. These standards are estimated by EPA to save Americans $62 billion in fuel and
maintenance costs per year.* Do you agree that EPA’s tailpipe emissions standards should
strive to save consumers money?

Response: Consideration of the costs of regulations, including the costs to consumers, is an
important aspect of the rulemaking process. If confirmed, I commit to ensuring that EPA fairly
and accurately considers the costs of its regulations, including its vehicle emissions standards.

62. These standards are also estimated by EPA to result in $13 billion in avoided healthcare
costs per year by removing 8,700 tons of particulate matter, 36,000 tons of nitrogen
oxides and 150,000 tons of volatile organic compounds from the air.? Do you agree that
EPA’s tailpipe emissions standards should strive to improve public health by reducing
emissions?

Response: I agree that improving public health by regulating air quality and air emissions is the
purpose of the Clean Air Act generally and the Section 202 “tailpipe” program in particular. I
understand that Congress has enacted and the Courts have held that EPA’s role is to balance a
range of considerations when making these standards, including health, cost, choice, safety, and
energy security.

63. In 2022, you said that we “needed to ramp up domestic energy production,” citing high
gasoline prices. In 2014, Saudi Arabia and other low-cost OPEC producers responded to
the first U.S. shale oil boom by flooding the market and driving prices down to below
where U.S. companies could profitably produce. A recent Forbes Magazine article!®
suggested that the Saudis may soon run this play again in response to rising production in
the U.S. and other countries: “Over the next two years, more than 200 U.S. shale
producers were forced into bankruptcy, creating the worst depression in the domestic oil
and gas industry since the mid-1980s.” The marginal cost of oil production in Saudi
Arabia is approximately $10 per barrel, while the marginal cost of oil production in the
USS. varies between $50 and $70 per barrel'! depending on the production method and
basin. Given the vast Saudi advantage, why do you believe that we can produce our way
to lower energy costs when we are a high-cost producer and can always be undercut by
the Saudis and other low-cost producers, who, once they have put our producers out of
business, will reduce their own production and sit back and reap the profits from high oil
prices?

Response: Ramping up domestic energy production will help decrease our reliance on oil from
foreign nations. The marginal cost of production is not the only factor that determines the cost of

energy to Americans. Foreign producers have greater freedom to set prices when America is
dependent on their oil.

26

EPA_00299797
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 54 of 129

64. AFPI attacks renewable energy and claims that fossil fuels are necessary in order to avoid
energy poverty. Specifically, its website states: “The current administration’s restrictive
energy policies carry profound implications for millions of Americans and others
throughout the developed world. They seek to deny the use of affordable and reliable
energy, namely natural gas, and ignore the upward trend in global energy demand. For
regions experiencing the realities of extreme energy poverty, the imposition of
renewable-only energy systems cannot serve as the foundation of a dependable energy
system or provide a reliable basis for economic growth. Any such policy is nothing short
of climate colonialism.”

- Biden-Harris Administration finalizes strongest-ever pollution standards for cars that position U.S. companies and
workers to lead the clean vehicle future, protect public health, address the climate crisis, save drivers money, U.S.
Environmental Protection Agency, Mar. 20, 2024, https://www.epa.gov/newsreleases/biden-harris administration-
finalizes-strongest-ever-pollution-standards-cars

position#:~:text=These% 20standards% 20will%20avoid%20more,and%20repair%20costs%20for%20drivers "Jd.

10 Saudi Strategic Shift Raises Specter of Another Oil Bust, David Blackmon, Forbes, Oct. 1, 2024,
https://www.forbes.com/sites/davidblackmon/2024/10/01/saudi-strategic-shift-raises-specter-of-another-oil bust/
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insights/latest-market-news/2617831-permian-producers-face-new-headwinds; Saudi Arabia's fiscal breakeven oil
price is rising fast. What will the kingdom do about it?, Natasha Turak, CNBC, Sept. 5, 2024,
https://www.cnbc.com/2024/09/05/saudi-arabias-fiscal-breakeven-oil-price-is-rising-fast.html

a. Do you agree with the America First Policy Institute on this point?

Response: I agree that “the [Biden] administration’s restrictive energy policies carry profound
implications for millions of Americans.” I support an all-of-the-above energy approach.

b. Are you aware that Norway, Luxembourg, New Zealand, Austria, Denmark,
Switzerland, Canada, Sweden, Portugal, and Germany all produce well more than
50 percent of their electricity from renewables? Would you characterize those
countries as rich countries or poor countries?

Response: I was not aware of that, and would defer to the research of economists to characterize
the wealth of each nation.

c. Are you aware that, in 2022, renewables accounted for 83 percent of new
generation capacity globally?

Response: Yes. It should be noted as well, however, that the same study also states that “both the
volume and share of renewables need to grow substantially.” As I stated in my hearing, I support
an all-of-the-above energy approach.

d. Does the cost of sunshine, wind, flowing water, or geothermal heat depend upon
the production decisions of a cartel?

Response: Cartels should not dictate production decisions for energy in the United States. The
cost and reliability of energy produced from any resource base is subjected to a complex

interplay of market and policy factors.

e. Does the cost of sunshine, wind, flowing water, or geothermal heat depend upon

27

EPA_00299798
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 55 of 129

the whims of foreign dictators to invade their neighbors?

Response: The cost and reliability of energy produced from any resource base is subjected to a
complex interplay of market and policy factors.

f. Is sunshine free as a fuel source?

Response: Sunshine is free; however, this does not account for the costs of solar panels and
associated infrastructure. Furthermore, no form of energy is without environmental impacts.

g. Is wind free as a fuel source?

Response: Wind is free; however, this does not account for the costs to install wind facilities and
associated infrastructure, or environmental impacts associated with their manufacturing,
processing, use, and disposal. Likewise, I am aware that some have raised concerns about the
impacts of windmills on wildlife such as birds and marine life. No form of energy is without
environmental impacts.

h. Is flowing water free as a fuel source?

Response: Flowing water may be free; however, this does not account for the costs to install the
technologies necessary to turn flowing water into electricity. Furthermore, no form of energy is
without environmental impacts.

i. Is geothermal heat free as a fuel source?

Response: Geothermal heat is free; however, this does not account for the costs to install the
technologies necessary to turn geothermal heat into electricity. Furthermore, no form of energy is
without environmental impacts.

j. What is the cost of a barrel of oil?
Response: One barrel of Brent crude oil costs around $80.

k. What is the cost of 1,000 cubic feet of natural gas?
Response: 1,000 cubic feet could cost as much as $15.

|. What is the cost of a ton of coal?
Response: One ton of coal costs roughly $120.

m. Does the cost of a barrel of oil depend in part upon the production decisions of a
cartel?

Response: The cost and reliability of energy produced from any resource base is subjected to a
complex interplay of market and policy factors. Energy independence will reduce the pricing

power of foreign producers.

n. Does the cost of a barrel of oil depend in part upon the whims of foreign dictators

28

EPA_00299799
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 56 of 129

to invade their neighbors?

Response: The cost and reliability of energy produced from any resource base is subjected to a
complex interplay of market and policy factors. Energy independence will reduce the pricing
power of foreign producers.

o. Does the domestic cost of natural gas depend in part upon foreign production and
consumption patterns and the amount of LNG this country exports?

Response: The cost and reliability of energy produced from any resource base is subjected to a
complex interplay of market and policy factors. Energy independence will reduce the pricing
power of foreign producers.

p. Does the cost of coal depend in part upon foreign production and consumption
patterns and the amount domestic producers export?

Response: The cost and reliability of energy produced from any resource base is subjected to a
complex interplay of market and policy factors.

65. While a House Member in 2019 you voted to kill an amendment to HR 3055 that would
have prohibited funds from being used to implement or enforce the EPA’s finding that
greenhouse gasses endanger public health and welfare. You were, in fact, one of only a
handful of Republicans to do so. Would you still agree that emissions of greenhouse gases
pose a threat? If confirmed as EPA Administrator, will you continue to implement and
enforce this endangerment finding?

Response: If confirmed, I will learn from EPA career staff about the current state of the science
on greenhouse gas emissions and follow all legal requirements.

66. While a House Member in 2017 and 2019, you voted to support the military’s efforts to
study the risks posed to national security and military operations by climate change.
Would you still agree that climate change has consequential national security
implications?

Response: I have nothing new to add beyond my prior statements.

67. In your testimony at the hearing, you agreed that under the Supreme Court’s rulings — in
Massachusetts v. EPA and in three subsequent cases including West Virginia v. EPA —
greenhouse gases such as carbon dioxide and methane emitted from vehicles, power plants,
and other industrial sources are “air pollutants” under the Clean Air Act.

Response: In Massachusetts v. EPA, the Supreme Court held that the general definition of “air
pollutant” in the Clean Air Act is broad enough to include greenhouse gases. More recent cases
like West Virginia v. EPA have addressed EPA’s authority to regulate greenhouse gases from
power plants, but none of these cases have required EPA to issue any particular type of
regulation as to greenhouse gases. I respect the Supreme Court’s rulings. It is important to note,
as I stated at the hearing, that greenhouse gases have never been recognized as a “criteria”
pollutant, the focus of the NAAQS program that is the core of EPA’s authority under Title I of
the Clean Air Act.

29

EPA_00299800
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 57 of 129

68. You later stated that Massachusetts by itself “authorizes” but does not “obligate” EPA
to regulate those pollutants. You appear to have recognized, however, that EPA becomes
legally obligated to regulate GHG emissions when EPA makes an endangerment
determination — a finding that their emissions contribute to air pollution that “may
reasonably be anticipated to endanger public health or welfare.” Do you agree?

Response: If confirmed, I commit to following the law in every respect, including the Clean Air
Act and Supreme Court precedent. The Supreme Court in the Massachusetts case stated that it
was not deciding whether EPA must make an endangerment finding, or whether policy concerns
can inform EPA’s actions in the event that it makes such a finding.

69. You also acknowledged that EPA "treats" them as pollutants which must be regulated.
That, I am sure you are aware, is because in 2009 EPA made the endangerment finding.

a. Do you acknowledge that the 2009 endangerment determination was well supported,
based on a wide body of national and international scientific assessments, and adopted after
extensive public comment?

Response: I acknowledge that there are many who endorse the endangerment finding and others
who have concerns about it.

b. Do you acknowledge that it was upheld by the D.C. Circuit and that the Supreme
Court has rejected petitions for review of that finding?

Response: To my understanding, this is an accurate statement of the litigation that followed the
endangerment finding.

70. Are you aware that EPA has reiterated the endangerment finding for multiple
greenhouse gases multiple times since 2009, each time finding that the scientific evidence
for endangerment had strengthened?

Response: To my understanding, this is what the Agency has previously done and said.

71. Will you commit to this Committee that this issue is settled, and that EPA will not
reopen or consider reversing the endangerment determination?

Response: I am aware that EPA from time to time receives requests and petitions to revisit its
prior decisions, including with regard to the endangerment finding. I am also aware that EPA
during the Trump Administration’s first term and the Biden administration denied certain
petitions related to the endangerment finding. I cannot prejudge the outcome of any agency
proceeding or decision on a pending petition before the Agency, as I stated during my hearing. I
can commit, however, to always following the law and ensuring a transparent process for any
actions taken by the Agency, if I am confirmed.

72. Separately, are you aware that some opponents of climate action are renewing a proposal
— rejected in the first Trump administration -- to convene a "red team/blue team debate”
over climate science and the endangerment finding? This would be utterly out of keeping
with the scientific method and peer-review procedures. It would also be deeply
disrespectful of the scientists at EPA and other federal science agencies for whom you
expressed respect and admiration at the hearing. Will you commit to oppose any such red

30

EPA_00299801
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 58 of 129

team/blue team undertaking?
Response: I am not aware of the specifics of any such proposal.

73. Communities across the country are grappling with PFAS contamination in their air,
water, soil, and other forms of environmental media. Designating PFOA/PFOS as
hazardous substances under the Superfund law was a huge win for communities, as
polluters will now be held responsible for cleaning up some of the most contaminated
sites in the country.

a. Will you commit to defending the PFOA and PFOS hazardous substance
designations?

Response: I understand that EPA’s hazardous substance listing for PFOA and PFOS is currently the
subject of litigation, and EPA may have received requests from stakeholders to revisit it. Thus, it would
be inappropriate for me to prejudge the outcome of any proceeding on this subject. However, I can
commit to following all legal requirements and administering the Superfund program in a manner
consistent with the law.

b. How will EPA build upon these safeguards under the Superfund law with regard
to other harmful PFAS chemicals?

Response: It would be inappropriate for me to prejudge the outcome of any proceeding on this
subject. However, I can commit to following all legal requirements and implementing the
Superfund program in a manner consistent with the law.

c. Will EPA evaluate the risks posed by PFOA and PFOS during EPA’s mandatory
five-year review of Superfund site remedies?

Response: I can commit to following all legal requirements and implementing the Superfund
program in a manner consistent with the law.

d. EPA has a long history of reliable and equitable enforcement discretion. Will you
commit to holding polluters accountable under this rule as outlined in EPA’s
policy enforcement memo?

Response: I can commit to following all legal requirements and implementing the Superfund
program in a manner consistent with the law.

74. Over 200 million Americans have PFAS in their water supplies. Even at low levels,
PFAS are highly toxic, and take years to break down in our bodies. EPA’s recent
drinking water standards seek to reduce exposure to PFAS, which is linked to an array of
illnesses such as testicular cancer, kidney cancer, immune suppression, impaired fetal
development, and other adverse health effects.

a. Will you commit to maintaining the drinking water protections under the Safe
Drinking Water Act that were recently adopted?

Response: I understand that EPA’s national primary drinking water standards for certain PFAS
chemicals are currently the subject of litigation, and EPA may have received requests from stakeholders

31

EPA_00299802
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 59 of 129

to revisit them. Thus, it would be inappropriate for me to prejudge the outcome of any proceeding on
this subject. However, I can commit to following all legal requirements and implementing the Safe
Drinking Water Act in a manner consistent with the law.

b. Will you commit to defending these drinking water protections in court?

Response: I understand that EPA’s national primary drinking water standards for certain PFAS
chemicals are currently the subject of litigation, and thus it would be inappropriate for me to
speculate about this litigation.

c. What, specifically, will you do to build upon the drinking water standards under
the Safe Drinking Water Act, to prevent further PFAS contamination in our
nation’s drinking water?

Response: I can commit to following all legal requirements and implementing the Safe Drinking
Water Act in a manner consistent with the law.

75. There are currently no federal requirements governing the disposal of PFAS-containing
waste, even though landfills and incinerators are known sources of PFAS releases. Will
you commit to designating PFOA, PFOS, and other PFAS as hazardous waste under the
Resource Conservation and Recovery Act?

Response: I am aware that EPA in 2024 proposed to designate a number of PFAS chemicals as
hazardous constituents under the Resource Conservation and Recovery Act. I cannot prejudge
the outcome of this or any other future regulatory proceeding.

76. Industrial wastewater is a huge source of PFAS discharges into lakes, rivers, and drinking
water sources throughout the country. Currently, agencies are not effectively using Clean
Water Act discharge permits to limit and control industrial sources of PFAS, putting
communities at risk.

a. What steps will you direct EPA to take to ensure that states and regional EPA
offices adequately address PFAS discharges using the Clean Water Act discharge
permitting program?

Response: While I cannot prejudge the outcome of any particular permitting decision, I agree
that it is important for EPA to provide guidance and technical support to its State and Tribal
partners who administer the Clean Water Act NPDES permitting program in the vast majority of
the country.

b. What specific actions will you take to finalize and implement effluent limitation
guidelines for PFAS under the Clean Water Act in order to reduce community
exposure?

Response: It would be inappropriate for me to prejudge the outcome of any proceeding on this
subject. However, I can commit to following all legal requirements and implementing the Clean
Water Act’s ELG program in a manner consistent with the law.

77. While POTWs are not responsible for manufacturing PFAS, they play an important role

in minimizing the spread of PFAS pollution because they receive PFAS pollution from

32

EPA_00299803
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 60 of 129

industries. The Clean Water Act gives POTWSs the tools to require their industrial
customers to pretreat for PFAS before the chemicals ever reach POTWs. What is EPA
going to do to further encourage POTWS to use these tools to control industrial PFAS
pollution and protect communities from exposure?

Response: I agree that POTWs play an important role in ensuring drinking water complies with
applicable standards. If confirmed, I look forward to being briefed on tools available to POTWs
under the Clean Water Act by EPA’s career professionals.

78. Last April EPA adopted drinking water health standards for 6 toxic “forever chemicals,”
or PFAS, that the agency said would help protect up to 105 million Americans from
dangerous levels of these highly hazardous contaminants. EPA concluded that adverse
health effects associated with PFAS exposure include damage to the liver, kidneys,
reproductive, nervous, and immune systems, problems with growth and development,
interference with hormones, and increased risk of certain types of cancer. EPA also found
that the rules will prevent about 30,000 illnesses and nearly 10,000 deaths. As a member
of the House of Representatives, you voted twice for the “PFAS Action Act” that would
have required EPA to issue drinking water standards for PFAS. Will you commit to
maintain, defend, and implement EPA’s PFAS drinking water health standards that would
save tens of thousands of Americans from becoming ill and nearly 10,000 people from
dying due to PFAS exposure from their drinking water?

Response: As I mentioned during my confirmation hearing, when I represented New York’s
First District in Congress, I was a member of the PFAS Task Force and, as you note, I voted
for the PFAS Action Act. I also saw PFAS issues firsthand in Suffolk County, New York. I
understand that EPA’s national primary drinking water standards for certain PFAS chemicals
are currently the subject of litigation, and EPA may have received requests from stakeholders
to revisit them. Thus it would be inappropriate for me to prejudge the outcome of any
proceeding on this subject. However, I can commit to following all legal requirements and
implementing the Safe Drinking Water Act in a manner consistent with the law.

79. PFAS and microplastics have increasingly been identified as a major environmental and
health concern. Can you outline your approach to these pollutants and if this will be a
priority research area for the Agency moving forward? Considering that PFAS and
microplastics can be found in air, food systems, drinking water, and of course our oceans,
if confirmed, how do you plan to coordinate EPA’s efforts with other agencies or
international bodies to address the widespread contamination of these substances?

Response: | agree that it is important for EPA to investigate emerging contaminants in a manner
consistent with its authority under the law and the funding provided by Congress. I also agree
EPA must coordinate across the federal government on cross-cutting environmental issues such
as these.

80. The Supreme Court's 2023 decision in Sackett v. EPA sharply curtailed the federal
government’s ability to protect wetlands and other waters from pollution and destruction.
What specific steps do you intend for EPA to take to advance the Clean Water Act’s goal
of restoring and maintaining the integrity of the nation's waters, particularly vulnerable
wetlands and streams?

33

EPA_00299804
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 61 of 129

Response: If confirmed, I will work with all stakeholders to promote the wellbeing of the
nation’s waters and protect them in accordance with applicable laws and regulations.

81. Administrations typically claim credit for pollution reductions that occur during their
tenure as a result of standards issued by their predecessors. There’s often a delay in the
results because EPA standards generally allow substantial lead time for compliance.
Putting aside improvements that are due to past administrations’ actions and focusing on
what you will do in your tenure to achieve further pollution reductions, what are the top
3 actions you intend to take as EPA Administrator that will reduce freshwater pollution?

Response: It would be inappropriate for me to identify priority actions without first being briefed
by EPA's career professionals on these important questions. However, I can commit to
emphasizing the importance of working cooperatively with States, Tribes, and local
governments to make meaningful improvements in surface water and drinking water quality and
to enhance compliance with Clean Water Act and Safe Drinking Water Act compliance.

82. In a 2017 report to Congress!*, EPA found that 55 percent of the rivers and streams
assessed by states did not meet state water quality standards. How do you intend to
reduce sources of freshwater pollution during your tenure as EPA Administrator?

Response: Surface water quality is an important issue, and I commit to following the law
when implementing EPA’s water quality standards program under the Clean Water Act in
conjunction with EPA’s State and Tribal partners.

83. Last year, the U.S. Fish & Wildlife Service found that wetlands loss in the continental US
accelerated between 2009 and 2019, and that the nation lost approximately 670,000 acres
of vegetated wetlands during that time. How do you intend to reduce wetland loss during
your tenure?

Response: I am aware that EPA has a number of authorities, both regulatory and voluntary, to
protect and conserve wetlands, and I will implement those authorities in a manner consistent with
the law. It is also important to work cooperatively with other federal agencies, including the
United States Army Corps of Engineers, as well as EPA’s State and Tribal partners, on this issue.

84. Water quality projects needed to meet goals of the Clean Water Act will cost an
estimated $630.1 billion nationwide over the next 20 years, according to the most recent
Clean Watersheds Needs Survey. What can EPA do to close this gap?

Response: While funding decisions are the responsibility of Congress, if confirmed, I commit to
carrying out EPA’s water quality programs as authorized by Congress in a manner consistent with
the law and in conjunction with EPA’s State, Tribal, and local government partners.

85. Over 50% of our nation’s surveyed surface waters are impaired for one contaminant or
another. Can you outline some priority steps you intend to take to reduce that number,
and get us back on track towards clean water for all?

Response: Surface water quality is an important issue, and I commit to following the law
when implementing EPA’s water quality standards program under the Clean Water Act in
conjunction with EPA’s State and Tribal partners.

34

EPA_00299805
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 62 of 129

86. A recent EPA analysis estimated that between and 12 and 19 million households in the
U.S. lack affordable access to water and sewer services, due in part to the rising costs of
building, replacing, and maintaining our nation’s aging infrastructure. If confirmed, what
actions will you take to ensure that all people in America have affordable water and
sewer bills?

Response: Too many American families are facing numerous economic hardships. If confirmed
as Administrator, I will address the issue of water and sewer affordability using the authorities
provided to the Agency by Congress, in partnership with States, Tribes, and local governments.

87. Hurricanes Helene and Milton caused severe impacts to communities’ water and sewer
systems throughout the Southeast, including flooded treatment plants, damaged pipes,
sewage spills, and extended water outages.

a. If confirmed, what will you do to reduce the vulnerability of the nation’s water
infrastructure to natural disasters?

Response: I agree with the importance of ensuring that America’s water infrastructure is
resilient during natural disasters, and I commit to using the authority Congress has provided to
EPA to support this effort in partnership with our State and Tribal partners.

b. Do you acknowledge that rising seas and increasingly extreme precipitation
events are putting more water systems at risk?

Response: Water systems may be at increased risk if exposed to precipitation levels or

flood waters beyond their design capacity.

12
- National Water Quality Inventory: Report to Congress, U.S. Environmental Protection Agency, EPA 841-R-16- 011,
Aug. 2017, https://www.epa.gov/sites/default/files/2017-12/documents/305brtc_finalowow_08302017.pdf

88. In 2024, GAO reported that EPA needed to take specific actions to help make water and
wastewater utilities more secure against cyber-attacks. This is an urgent matter, as attacks
continue. Most recently, in late 2024, an Iranian-backed terrorist organization called
Cyber Avengers targeted Israeli-made equipment used by utilities, such as one small
Pennsylvania water utility that had to temporarily halt pumping water. If confirmed, what
actions will you take to address the protection of critical water infrastructure against
cyber- attacks?

Response: I am aware that EPA has stated that cyber attacks against public water systems are
increasing. If confirmed, I commit to carrying out the authorities that Congress has granted to
EPA on this issue in a manner consistent with law.

89. The HIJA provided over $50 billion over 5 years for various water infrastructure
programs.

a. Will EPA continue to work with States to expeditiously spend this funding?

35

EPA_00299806
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 63 of 129

Response: If confirmed, I will ensure that the Agency follows the law concerning expenditures
of money appropriated by Congress.

b. What priorities will you have in implementing these programs?

Response: If confirmed, I look forward to being briefed on these programs and making an
appropriate prioritization.

c. Will you assist States and localities in using available funding to treat emerging
contaminants, such as PFAS in water?

Response: If confirmed, I will work with State, Tribal, and local government partners to ensure
they are aware of funding opportunities for water treatment.

90. Administrations typically claim credit for pollution reductions that occur during their
tenure as a result of standards issued by their predecessors. There’s often a delay in the
results because EPA standards generally allow substantial lead time for compliance.
Putting aside improvements that are due to past administrations’ actions and focusing on
what you will do in your tenure to achieve further pollution reductions, what are the top 3
actions you intend to take as EPA Administrator that will reduce drinking water
contamination?

Response: It would be inappropriate for me to identify priority actions without first being
briefed by EPA's career professionals on these important questions. However, I can commit to
emphasizing the importance of working cooperatively with States, Tribes, and local
governments to make meaningful improvements in drinking water quality and to enhance Safe
Drinking Water Act compliance.

91. Congress adopted the Clean Air Act, the Clean Water Act, and the other core
environmental laws because the American people were fed up with dangerous pollution
in their air and water, carcinogens and neurotoxins in their drinking water, hazardous
wastes in their neighborhoods, and so forth. Back then, industry complained that EPA
wasn’t paying attention to the cost of curbing these pollutants. So EPA and other
institutions developed methods to assess costs and benefits — methods that have been
peer-reviewed, subjected to rounds of public comment, and tested in the courts. These
studies have consistently found that EPA standards have saved the American people from
millions of deaths and illnesses and cut economic losses, such as lost work and school
days, by tens of billions of dollars. The studies show that the benefits of EPA’s standards
have dramatically exceeded the costs. Do you agree that the health costs of lead in
drinking water outweigh the cost of the recent drinking water standards?

Response: I am aware that EPA first issued national primary drinking water standards for lead in 1991,
and EPA during the Trump Administration’s first term updated that rule for the first time in three
decades. I am also aware that EPA has concluded that there is no level of exposure to lead that is
without some risk. Likewise, I understand that under the Safe Drinking Water Act, EPA sets standards
based on a broad consideration of statutory and regulatory factors that include cost-effectiveness and
technical feasibility.

36

EPA_00299807
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 64 of 129

92. Toxic lead contamination in drinking water has plagued many communities around the
country, including in states like Rhode Island, Massachusetts, New York, West Virginia,
(and many others)!?. As you know, lead causes a host of health problems for children as

well as adults — including decreased IQ, brain and nerve damage, kidney damage, and
cardiovascular disease. After years of effort and after receiving hundreds of thousands of
public comments, EPA recently adopted a rule under the Safe Drinking Water Act to

13
- Finding Lead Water Pipes: New NRDC Map Shows the Hot Spots in Every State, Natural Resources Defense
Council, Sept. 15, 2024, https://www.nrdc.org/resources/lead-pipes-are-widespread-and-used-every-state

largely rid the nation of lead service lines within the next ten years. Getting lead pipes out
will not only address this public health problem but will create tens of thousands of local
jobs in the many communities that still have these pipes (an estimated 9 million across
the nation). Studies show that the health and economic benefits of removing lead pipes
exceed the costs by 14-fold or more.!* Indeed, EPA said the new rule will prevent up to
1,500 premature deaths from heart disease and avoid up to 200,000 IQ points from being
lost by children.!°

a. Do you agree that lead in drinking water is a major public health problem?

Response: Lead exceedances in drinking water have declined over time; however,
challenges remain. If confirmed, I commit to working with our State, Tribal, and local
government partners to address this issue.

b. Do you agree that to address lead in drinking water, removing lead service lines
on the expedited 10-year timeline will help dramatically reduce lead poisoning
and help to avoid harming yet another generation of young children?

Response: I understand that lead service line removal is one approach to reduce childhood lead
exposure from drinking water.

c. Will you commit to maintain, defend and implement the Lead and Copper Rule
Improvements that will avoid hundreds of thousands of childhood IQ point losses
and 1,500 premature deaths from heart disease?

Response: I am aware that EPA first issued a national primary drinking water standards for lead in
1991, and EPA during the Trump Administration’s First Term updated that rule for the first time in
three decades. I am also aware that EPA issued further revisions to this rule in 2021 and again in 2024.
I understand that this rule is currently the subject of litigation, and EPA may have received requests
from stakeholders to revisit it, as it does from time to time. Thus, it would be inappropriate for me to
prejudge the outcome of any regulatory proceeding.

93. EPA has acknowledged that the Trump administration’s lead and copper rule slowed
down the rate of replacement of lead service lines across the country. The more recent
Lead and Copper Rule Improvements would expedite lead service line removal across the
country. Can you commit to ensuring your EPA wouldn’t slow down lead line
replacement, prolonging exposure to lead in drinking water across the country?

Response: I am aware that EPA first issued national primary drinking water standards for lead in 1991,

and EPA during the Trump Administration’s first term updated that rule for the first time in three
decades. I am also aware that EPA issued further revisions to this rule in 2021 and again in 2024. I

37

EPA_00299808
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 65 of 129

understand that this rule is currently the subject of litigation, and EPA may have received requests from
stakeholders to revisit it, as it does from time to time. Thus, it would be inappropriate for me to
prejudge the outcome of any regulatory proceeding.

94. EPA finalized an updated Mercury and Air Toxics Standards (MATS) rule in May 2024,
which limits emissions of toxic air pollution from power plants, including mercury that
builds up in fish and puts people who eat contaminated fish at risk—especially pregnant
women, babies and young children. The MATS standard has broad support from public
health advocates including the American Lung Association, American Academy of
Pediatrics, and American Public Health Association. If you are confirmed as
Administrator, will you continue to defend these standards against attempts to roll them
back?

Response: I understand that this rule is currently the subject of litigation, and EPA may have received
requests from stakeholders to revisit it, as it does from time to time. Thus, it would be inappropriate for
me to prejudge the outcome of any regulatory proceeding. However, if Iam confirmed, I commit to
defending policies that follow the law, accord with common sense, and are supported by the evidence.

95. GAO has recommended that EPA, in consultation with state, local and federal agencies,
develop and make public an air quality monitoring modernization plan to better meet the
additional information needs of air quality managers, researchers, and the public. One
action that EPA has taken is to use funding from the American Rescue Plan Act of 2021
and Inflation Reduction Act of 2022 to make investments in air quality monitoring to
help address the information needs identified in GAO’s report. Will you continue this

14
- Issue Brief: Getting the Lead Out, Natural Resources Defense Council, IB: 23-08-A, Oct. 2023,
https://www.nrdc.org/sites/default/files/2023-10/getting-lead-out-health-benefits-ib.pdf *Biden-Harris
Administration Issues Final Rule Requiring Replacement of Lead Pipes Within 10 Years, Announces Funding to Provide
Clean Water to Schools and Homes, U.S. Environmental Protection Agency, Oct. 8, 2024,
https://www.epa.gov/newsreleases/biden-harris-administration-issues-final-rule-requiring-replacement lead-pipes-
within

work and what are your plans to address monitoring needs and to protect the public
health?

Response: If confirmed, I commit to following the laws enacted by Congress.

96. Administrations typically claim credit for pollution reductions that occur during their
tenure as a result of standards issued by their predecessors. There’s often a delay in the
results because EPA standards generally allow substantial lead time for compliance.
Putting aside improvements that are due to past administrations’ actions and focusing on
what you will do in your tenure to achieve further pollution reductions, what are the top 3
actions you intend to take as EPA Administrator that will reduce air pollution?

Response: It would be inappropriate for me to identify priority actions without first being
briefed by EPA’s career professionals on these important questions. However, I can commit to
working with other federal agencies as well as State, Tribal, and local governments to improve
forest management and the use of prescribed fires to address wildfire risk. I also commit to
working with the regulated community to improve compliance with Clean Air Act
requirements.

38

EPA_00299809
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 66 of 129

97. Congress adopted the Clean Air Act, the Clean Water Act, and the other core
environmental laws because the American people were fed up with dangerous pollution
in their air and water, carcinogens and neurotoxins in their drinking water, hazardous
wastes in their neighborhoods, and so forth. Back then, industry complained that EPA
wasn’t paying attention to the cost of curbing these pollutants. So EPA and other
institutions developed methods to assess costs and benefits — methods that have been
peer-reviewed, subjected to rounds of public comment, and tested in the courts. These
studies have consistently found that EPA standards have saved the American people from
millions of deaths and illnesses and cut economic losses, such as lost work and school
days, by tens of billions of dollars. The studies show that the benefits of EPA’s standards
have (or are projected to) dramatically exceed the costs.'® Do you agree that the health
costs of soot and smog pollution exceed the costs of clean up?

Response: If confirmed, I look forward to conferring with economists and other talented
technical experts on these important issues.

98. You said when nominated that you will “protect access to clean air” for Americans.
According to the most recent air pollution monitoring information in the U.S., more than
131 million Americans live with unsafe levels of smog or soot air pollution, or both.!7

a. What are your top three measures that have not been taken already that will help
deliver safe, clean air to all Americans?

Response: It would be inappropriate for me to rank actions like this without first being briefed
by EPA’s career professionals on these important questions. However, I can commit to working
with other federal agencies as well as State, Tribal, and local governments to improve forest
management and the use of prescribed fires to address wildfire risk. I also commit to working
with the regulated community to improve compliance with Clean Air Act requirements.

b. Do you commit to reducing the number of Americans that live with unsafe air?

Response: I commit to administering EPA’s authorities from Congress in a manner consistent
with the law with the goal of improving air quality for Americans. I also commit to working
with States, Tribes, local governments, and the regulated community to achieve positive air
quality outcomes.

c. Will you commit to take no step that increases air pollution or worsens air
quality?

Response: If confirmed, I commit to protecting air quality consistent with the lawful
authorities delegated to EPA by Congress and the evidence in the record.

d. Will you commit to take no action that increases ozone/smog pollution?

Response: If confirmed as Administrator, I commit to protecting air quality consistent
with the lawful authorities delegated to EPA by Congress and the evidence in the record.

e. Will you commit to take no action that increases deadly soot pollution?

39

EPA_00299810
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 67 of 129

Response: If confirmed, I commit to protecting air quality consistent with the lawful
authorities delegated to EPA by Congress and the evidence in the record.

16
- The Benefits and Costs of U.S. Air Pollution Regulations, Industrial Economics Incorporated, May 2020,

https://www.nrdc.org/sites/default/files/iec-benefits-costs-us-air-pollution-regulations-report.pdf; Regulatory Impact
Analysis for EPA Power Plant Rule and ACE Rule Repeal, EPA-HQ-OAR-2023-0072-8913, May 9, 2024,
https://www.regulations.gov/document/EPA-HQ-OAR-2023-0072-8913

'” State of the Air 2024 Report, American Lung Association, https://www.lung.org/getmedia/dabac59e-963b 4e9b-bfOf-
73615b07bfd8/State-of-the-Air-2024. pdf (“despite decades of progress cleaning up air pollution, 39% of people living in
America—131.2 million people—still live in places with failing grades for unhealthy levels of ozone or particle
pollution”).

f. Will you commit to take no action that increases hazardous air pollution like lead,
mercury, and arsenic?

Response: If confirmed, I commit to protecting air quality consistent with the lawful
authorities delegated to EPA by Congress and the evidence in the record.

99. The Clean Air Act’s interstate pollution program protects Americans in downwind states —
including your home state of New York — from harmful air pollution coming from power
plants and industries in upwind states. A 2023 EPA “Good Neighbor’ rule requires 23
states to reduce 70,000 tons of smog pollution and save thousands of lives and help
millions of Americans in downwind states.'®

a. Do you agree EPA should carry out the Clean Air Act to protect Americans in
downwind states (like NY and RI) from harmful air pollution?

Response: If confirmed, I commit to protecting air quality consistent with the lawful
authorities delegated to EPA by Congress and the evidence in the record.

b. You may be aware that the Supreme Court paused that program until EPA
answered one question whether the stringency of requirements would remain the
same if a smaller or larger number of upwind states were included. Are you aware
that the agency has since formally determined that the stringency of emission
limits would not be affected by the number of states included? Will you commit
to defend that finding and implement the interstate pollution rule?

Response: My understanding is that, following the Supreme Court stay of the Good Neighbor
Rule, the Agency has issued subsequent analysis. This matter is currently before the courts and I
cannot prejudge its outcome. If confirmed, I commit to protecting air quality consistent with the
lawful authorities delegated to EPA by Congress and the evidence in the record.

c. Project 2025 has called for rolling back interstate pollution limits. Will you
commit to not rolling back clean air safeguards like these?

Response: If confirmed, I commit to protecting air quality consistent with the lawful
authorities delegated to EPA by Congress and the evidence in the record.

100. In 2021, EPA’s clean air science advisors agreed unanimously that the health standard
for fine particle (soot) air pollution, PM2.5, did not protect Americans’ health and
should be lowered from 12 micrograms per cubic meter. A majority of advisors

40

EPA_00299811
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 68 of 129

recommended strengthening the standard to between 8 and 10 micrograms, after
finding links between soot and premature death at or below 10.!? Do you have any
reason to believe EPA's official scientific advisors are wrong?

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

101. The Clean Air Act requires EPA to set health standards for the most common air
pollutants that are required to protect public health with an adequate margin of safety
for vulnerable groups.

a. Do you agree that at-risk groups such as asthmatics experience larger and more
serious health effects, or effects at lower levels, due to ozone pollution than

18
-  EPA’s “Good Neighbor” Plan Cuts Ozone Pollution — Overview Fact Sheet, U.S. Environmental Protection

Agency, n.d., https://www.epa.gov/system/files/documents/2023-
03/Final%20Good%20Neighbor%20Rule%20Fact%20Sheet_O.pdf, at 4; see also id. (“In the year 2026, the final Good
Neighbor Plan will prevent up to 1,300 premature deaths, reduce hospital and emergency room visits for thousands of
people with asthma and other respiratory problems, help keep hundreds of thousands of children and adults from missing
school and work due to respiratory illness, and decrease asthma symptoms for millions of Americans. For each year from
2027 through 2042, EPA estimates the benefits will be approximately as large as in 2026, although the annual benefits
decline slightly over time based on EPA’s projection that the health status of the population will improve over this
period.”)

19 CASAC Review of the EPA’s Policy Assessment for the Reconsideration of the National Ambient Air Quality
Standards for Particulate Matter (External Review Draft — October 2021), Clean Air Science Advisory Council, Mar.

18. 2022,

https://casac.epa.gov/ords/sab/r/sab_apex/casac/O?report_id=1094&request=APPLICATION PROCESS%3DREPOR

T DOC&session=185136633798

healthy people? If you disagree, please identify the basis for your view in any
peer-reviewed medical or scientific studies.

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

b. Do you agree that infants and children are at-risk groups likely to experience larger
and more serious health effects than healthy adults? How about the elderly? If
you disagree, please identify the basis for your view in any peer-reviewed
medical or scientific studies.

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

102. Do you accept the Supreme Court’s unanimous decision in Whitman v. American
Trucking Associations, 531 U.S. 457 (2001) that EPA may not consider claims about
potential economic harm when reviewing or revising the level of primary and secondary
national ambient air quality standards under the Clean Air Act?

Response: The Supreme Court is the highest judicial authority in our nation, and I respect its
binding opinions.

103. The Clean Air Act requires EPA to regulate 189 hazardous air pollutants from industrial

41

EPA_00299812
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 69 of 129

polluters that are the most dangerous and harmful air pollutants known. These
pollutants can be toxic in grams or micrograms or less and can cause cancer and kill.
Do you support EPA using its full legal authority to protect Americans from these
highly toxic air pollutants?

Response: If confirmed, I commit to protecting air quality consistent with the lawful authorities
delegated to EPA by Congress and the evidence in the record.

104. EPA’s Clean Air Scientific Advisory Committee (CASAC) supports the scientific
determination of a causal association between short-term and long-term PM2.5 air
pollution exposure and total mortality. Do you agree? If you disagree, explain why and
the basis for your disagreement.

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

105. The CASAC also supports the scientific determination of a causal association between
short-term and long-term PM2.5 exposure and cardiovascular effects, including
cardiovascular mortality. Do you agree? If you disagree, explain why and the basis for
your disagreement.

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

106. EPA has repeatedly concluded that PM2.5- related adverse health effects include
premature mortality, increased hospital admissions and emergency department visits,
and development of chronic respiratory disease. Do you agree? If you disagree, explain
why and the basis for your disagreement.

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

107. The Health Effects Institute also has found an association between PM2.5 and mortality.
Do you agree? If you disagree, explain why and the basis for your disagreement.

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and technical
experts on these and other important issues.

108. The World Health Organization estimates ambient (outdoor) air pollution caused 4.2
million premature deaths worldwide in 2019. Do you doubt or dispute that finding? If
so, explain why and the basis for your disagreement.

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

109. President-elect Trump has stated that he wants to support the US automaker industry
and build more automaker jobs domestically. Automakers are transitioning towards cleaner,
low- and zero-emission vehicles across the globe. Automakers and suppliers announced
almost 241,000 new jobs” related to electric vehicles and their components. Automakers in
the United States have already invested $312 billion towards clean and

42

EPA_00299813
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 70 of 129

20 EV Jobs Hub, BlueGreen Alliance, https://evjobs.bgafoundation.org/
zero-emission vehicles to keep pace with other countries. The automakers have
expressed support for EPA’s most recent light-duty vehicle standards, for model years
2027 and beyond. For example, the president of the Alliance for Automotive
Innovation said when these standards were announced that “the rules are mindful of the
importance of choice to drivers and preserves their ability to choose the vehicle that’s
right for them.”

a. Do you acknowledge that automakers have multiple technological options to meet
EPA’s light-duty vehicle standards for 2027 and later years? That there is no
“mandate” for automakers to produce or consumers to purchase electric vehicles
(EVs)?

Response: Maintaining consumer choice and affordability in the automobile market are important
priorities for the Trump Administration. EPA’s Multi-Pollutant Emissions Standards appear to be
designed to increase electric vehicle penetration beyond what consumer demand would otherwise
provide, and therefore may adversely impact consumer choice. For example, EPA’s estimates
are that the rule is anticipated to increase plug-in EV penetration to 68 percent by 2032.

b. Are you aware that EPA and many independent experts have found that these
federal clean car rules will save car owners thousands of dollars?

Response: I am generally aware that some experts and stakeholders support these rules, just
as others have serious concerns with them. If confirmed, I look forward to conferring with
EPA’s talented economic and technical experts on these and other important issues.

c. EPA calculates that car owners will save $6,000 over the lifetime of new vehicles
made in 2032, because of lower fuel and maintenance costs. Do you support rules
that save consumers on fuel and maintenance costs?

Response: As a general matter, we all appreciate going further on a dollar and lowering our
maintenance costs. We also all appreciate environmental protection, consumer choice, cheaper
vehicles, safer vehicles, and more reliable vehicles. EPA’s role is to balance all these
considerations in crafting its regulations.

d. Do you acknowledge that money drivers spend on gasoline is a direct monetary
transfer from consumers to the oil industry?

Response: The fuel supply chain includes multiple participants including independent retailers.
e. Are you aware that the automakers and suppliers have announced tens of billions
of dollars of new investments in U.S. factories in recent years, based on these
standards and the incentives in the Inflation Reduction Act — many facilities

located in places represented by members of your party?

Response: I am aware that the auto industry is one of the central pillars of the American
economy.

f. Are you aware that more than 50 years ago Congress authorized California to set

43

EPA_00299814
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 71 of 129

vehicle emission standards stronger than federal ones? And that more than 40
years ago Congress authorized other states to choose between federal and
California standards? This “two car” regime provides a stable arrangement for
the car makers and is a model of shared federal and state authority. Do you
pledge to respect the Clean Air Act and its provisions allowing California to set
stronger emissions standards?

Response: If confirmed, I pledge to respect all of Congress’s duly enacted statutes delegating
authority to the Agency.

g. Do you believe EPA has the legal authority to deny California waivers of
preemption for standards it says it needs to meet national ambient air quality
standards for dangerous smog and soot?

Response: My understanding is that the Clean Air Act provides the legal standards under
which EPA is authorized or required to grant or deny California’s waiver applications.

h. Do you believe that the Clean Air Act provides for the revocation of a waiver
previously granted to California?

Response: I cannot prejudge any particular issue of this nature. If confirmed, I pledge to
respect all of Congress’s duly enacted statutes delegating authority to the Agency.

110. Mr. Zeldin, Congress adopted the Clean Air Act, the Clean Water Act, and the other
core environmental laws because the American people were fed up with dangerous
pollution in their air and water, carcinogens and neurotoxins in their drinking water,
hazardous wastes in their neighborhoods, and so forth. Back then, industry complained that
EPA wasn’t paying attention to the cost of curbing these pollutants. So EPA and other
institutions developed methods to assess costs and benefits — methods that have been peer-
reviewed, subjected to rounds of public comment, and tested in the courts. These studies
have consistently found that EPA standards have saved the American people from millions
of deaths and illnesses and cut economic losses, such as lost work and school days, by tens
of billions of dollars. The studies show that the benefits of EPA’s standards have
dramatically exceeded the costs. Do you agree that consumers’ energy savings from more
efficient, less polluting vehicles, appliances, and other products outweigh the cost?

Response: As a general matter, we all appreciate going further on a dollar and lowering our
maintenance costs. We also all appreciate environmental protection, consumer choice, cheaper
vehicles, safer vehicles, and more reliable vehicles. EPA’s role is to balance all these
considerations in crafting its regulations.

111. The nation’s coal- and gas-fired power plants account for 25 percent of total US
greenhouse gas emissions. They are the largest industrial source of climate-disrupting
pollution, second only to the transportation sector. EPA issued standards to reduce
those emissions last April. The Supreme Court rejected requests to stay those standards
pending lower court review, which is underway. EPA issued these standards in
conformity with the Supreme Court’s 2022 ruling in West Virginia v. EPA. There the
Court told EPA what it can do, as well as what it cannot do. The Court confirmed once
again that EPA has the authority and obligation to set emission standards under Clean

44

EPA_00299815
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 72 of 129

Air Act Section 111 for power plant carbon pollution. The Court ruled that EPA did not
have authority to deliberately shift the generation shares of coal, gas, and other power
plants, as it had done in the 2016 Clean Power Plan. But the Court confirmed EPA’s
authority to set technology-based standards that “caus[e] plants to operate more
cleanly” and “ensur[e] the efficient pollution performance of each regulated source.”
These technology-based standards are within EPA’s authority even though they may
have the “incidental” effect of causing companies to operate some power plants more,
and others less. Later in 2022, Congress enacted the Inflation Reduction Act, which did
two things directly pertinent to EPA’s authority. First, it provided very large tax
incentives to lower the cost of power companies’ adopting carbon capture and storage.
And second, it directed EPA to set new standards taking into account the effect of these
and other IRA incentives. That is what EPA did in the 2024 standards. The president
elect has sharply criticized these standards, but neither he nor you have indicated what
changes the new administration wishes to make.

a. Do you agree that EPA has a legal obligation to issue standards for new and
existing CO2-emitting power plants under Section 111 of the Clean Air Act and
the Supreme Court’s multiple rulings from Massachusetts v. EPA through West
Virginia v. EPA?

Response: I cannot prejudge any particular issue of this nature. If confirmed, I pledge to
respect all of Congress’s duly enacted statutes delegating authority to the Agency and all
binding precedent from the Supreme Court.

b. Do you agree that it is not possible to stabilize and reduce CO2 levels in the
atmosphere without reducing and eventually eliminating power plants’ emissions
of CO2?

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

c. Are you aware that the so-called Affordable Clean Energy (ACE) rule issued in the
first Trump administration would have reduced power plant CO2 emissions by

less than 1 percent overall?

Response: I am not familiar with the particular details of the regulatory analysis that made that
conclusion.

d. Are you aware that the ACE rule could have increased overall emissions by
causing high-emitting plants to run more frequently?

Response: I am not familiar with the particular details of the regulatory analysis that resulted in
that conclusion.

e. Do you support carbon capture and storage? Do you know of any other
technologies to curb power plant CO2 emissions?

Response: I support the development of all promising technologies that can offer
environmental solutions.

45

EPA_00299816
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 73 of 129

f. Do you agree that EPA should take into account the cost-reducing incentives
Congress provided in Section 45Q when developing power plant CO2
standards?

Response: I cannot prejudge any particular issue of this nature. If confirmed, I pledge to
respect all of Congress’s duly enacted statutes delegating authority to the Agency.

112. EPA recently reinstated part of the longstanding Once In, Always In policy that requires
sources of cancer-causing hazardous air pollutants to monitor, report, and reduce their
emissions of hazardous air pollutants (such as super toxic dioxins, mercury, and lead)
regardless of if they are categorized as a “major” or “area” source of pollution (these
categories have different monitoring and reporting requirements). Undoing this policy
would allow for industrial “area” sources to stop monitoring and reporting the amount
of hazardous air pollutants they emit, greatly increasing the risk of cancer and other
life-altering health effects to communities living near one of these sources, of which
there are thousands. Do you commit to keeping the Once In, Always In policy in place?

Response: I cannot prejudge any particular issue of this nature. If confirmed, I pledge to
respect all of Congress’s duly enacted statutes delegating authority to the Agency.

113. Despite banning lead in vehicle fuel more than 25 years ago, lead continues to be used
in general aviation fuel, even though there is an existing, approved unleaded alternative
fuel. Lead is a known neurotoxin that has life-altering impacts, especially on babies and
young children, who may suffer from neurological impairment, developmental delays,
and more even at the smallest amounts of exposure. Will you commit the EPA to
ensuring the expeditious phase out of leaded aviation fuel?

Response: If confirmed, I look forward to conferring with EPA’s talented scientific and
technical experts on these and other important issues.

114. Coal ash is the second largest industrial waste stream in the United States, and the coal
industry generates approximately 70 million tons of coal ash every year. Coal ash
contains hazardous pollutants including arsenic, boron, cobalt, chromium, lead, lithium,
mercury, molybdenum, radium, selenium, and other heavy metals, which have been
linked to cancer, heart and thyroid disease, reproductive failure, and neurological harm.
Despite the federal 2015 Coal Ash Rule, widespread industry violation of the rule is
causing significant groundwater contamination across the country. Last year, EPA
acknowledged industry’s widespread non-compliance and made enforcement of federal
coal ash safeguards an EPA priority as part of the National Enforcement and
Compliance Initiative.

a. Do you believe that coal ash is a hazardous substance capable of contaminating
groundwater, surface water, and air with dangerous levels of toxic chemicals?

Response: I understand that EPA regulates coal combustion residuals as solid waste under
subtitle D of the Resource Conservation and Recovery Act, which governs non-hazardous solid

waste. I am aware that coal combustion residuals contain constituents such as heavy metals.

b. How will you ensure utilities are complying with federal rule requirements to
safely manage and dispose of coal ash?

46

EPA_00299817
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 74 of 129

Response: I commit to enforcing the law. I also commit to partnering with States and Tribes
and encouraging them to seek approval from EPA for state permitting programs governing
coal combustion residuals.

c. Will you ensure that regional offices have the resources to inspect and enforce
against coal plants?

Response: Funding decisions are ultimately for Congress to make, but I look forward to
being briefed on this issue by EPA’s career professionals if confirmed.

d. Will you commit to taking enforcement action against utilities and operators who
fail to adhere to the Coal Ash Rules?

Response: I cannot comment on any individual enforcement action the Agency has taken or may
take in the future, but generally speaking, I commit to enforcing the law.

e. Will you continue to rigorously pursue the enforcement actions initiated under the
Biden administration?

Response: I cannot comment on any individual enforcement action the Agency has taken or may
take in the future, but generally speaking, I commit to enforcing the law.

115. Hundreds of millions of tons of coal ash have been used as a substitute for clean soil -
often referred to as “fill”- for construction and landscaping projects, such as school
playgrounds, housing and recreational areas. The use of coal ash as fill has led to
groundwater contamination due to the leaching of highly toxic contaminants, including
carcinogens and neurotoxins. Even a small quantity of ash elevates the risk of cancer,
respiratory distress, developmental delays, and other health risks — especially when the
fill is uncovered. We have seen these harms play out in places like Gambrills,
Maryland; Town of Pines, Indiana; Mooresville, North Carolina; and Guayama, Puerto
Rico, where the levels of pollutants found in water and soil far exceeded federal health
standards. Communities have been left to deal with the consequences — most of which
are environmental justice communities. Despite this, there are no federal safeguards to
effectively protect against the use of coal ash as fill.

a. If confirmed, how will you direct the EPA to protect communities from
contamination caused by the use of toxic coal ash used as fill?

Response: I will protect communities facing groundwater contamination in a manner
consistent with EPA’s statutory authorities from Congress. I am aware that EPA’s
solid waste regulations under subtitle D of the Resource Conservation and Recovery
Act governing coal combustion residuals, first promulgated in the Obama
Administration and revised during the First Term of the Trump Administration and
again during the Biden Administration, continue to exclude from their scope the
beneficial use of coal combustion residuals, so long as that beneficial use meets certain
criteria in the regulations. I understand there are numerous environmental benefits
from beneficial use of coal combustion residuals, and those should be considered when
assessing the overall regulatory approach to coal combustion residuals.

47

EPA_00299818
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 75 of 129

b. There is little information on where exactly fill was used — dating back to the
1980’s. If confirmed, how will you use EPA authorities to gather data and
investigate potentially dangerous fill sites?

Response: I look forward to being briefed on this issue by EPA’s career professionals, if I
am confirmed.

c. If confirmed, will you commit to requiring utilities to make information that they
have regarding this threat publicly available?

Response: I look forward to being briefed on this issue by EPA’s career professionals, if I
am confirmed.

d. Do you agree that elevated levels of radium and arsenic in coal ash pose a danger
to the public when coal ash is used as fill?

Response: I look forward to being briefed on this issue by EPA’s career professionals, if I
am confirmed.

116. EPA finalized its Legacy Coal Combustion Residuals Surface Impoundments rule on
May 8, 2024. The new rule addresses the legacy contamination from hundreds of
inactive coal ash dumps that were exempted from the EPA’s 2015 rule. EPA establishes
groundwater monitoring, corrective action, closure, and post closure care requirements
for these dumpsites to ensure that health and the environment are protected from these
legacy units. EPA found that legacy coal ash dumpsites are located disproportionately
in communities of color and low-income communities.

a. Do you commit to rigorously defending and enforcing the Legacy CCR Surface
Impoundments Rule?

Response: I understand that EPA’s Legacy Coal Combustion Residuals rule is currently the
subject of litigation, and EPA may have received requests from stakeholders to revisit it. Thus, it
would be inappropriate for me to comment on litigation positions in this matter.

b. Will you ensure that EPA supports no further delay in the implementation of the
requirements of this essential rule?

Response: I look forward to being briefed on this issue by EPA’s career professionals, if I
am confirmed.

117. The Water Infrastructure Improvements for the Nation Act (WIIN Act) allows states to
petition EPA to administer their own coal ash programs in lieu of the federal protections.
We anticipate that many states will apply for EPA approval to run their own programs. EPA
has denied the State of Alabama’s application to run a federally approved state permit
program to manage its coal ash landfills and impoundments because Alabama’s
implementation of its state permit program is significantly less protective of people and
waterways than federal law requires. The primary reason is because Alabama permits
utilities to close ash ponds in contact with groundwater.

a. Do you commit to standing by the decision to reject Alabama’s permit program?

48

EPA_00299819
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 76 of 129

Response: I look forward to being briefed on this issue by EPA’s career professionals, if I
am confirmed. If confirmed, I commit to partnering with States and Tribes and encouraging
them to seek approval from EPA for state permitting programs governing coal combustion
residuals.

B. If confirmed, will EPA continue to examine state permits prior to an authorization
decision to determine whether a state program is sufficiently protective of health and the
environment and compliant with federal law?

Response: If confirmed, I commit to partnering with States and Tribes and encouraging them
to seek approval from EPA for state permitting programs governing coal combustion
residuals, and I commit to EPA reviewing any such requests in a manner consistent with the
Resource Conservation and Recovery Act and EPA’s regulations.

C. Specifically, do you agree that EPA may review state implementation of CCR rules
when considering granting or denying a state program approval, including a state’s permit
history?

Response: If confirmed, I commit to partnering with States and Tribes and encouraging them
to seek approval from EPA for state permitting programs governing coal combustion
residuals, and I commit to EPA reviewing any such requests in a manner consistent with the
Resource Conservation and Recovery Act and EPA’s regulations.

118. GAO has identified EPA’s management of toxic chemicals in need of major
transformation in its biennial high-risk reports. GAO has made recommendations to
improve workforce planning that can improve staff hiring and retention among other
areas. What will you do to ensure the office has the people it needs to complete its new
chemical reviews by the 90-day statutory deadline under TSCA?

Response: It is important for any agency to take its statutory deadlines seriously, and I commit
to doing so in a manner consistent with law and resources provided to EPA by Congress.

119. During your time representing Suffolk County, you saw first-hand the harm that
chemicals like 1,4-dioxane are causing to frontline communities. The amended Toxic
Substances Control Act, or TSCA, requires EPA to evaluate and address chemicals’
risks to those communities and other potentially exposed or susceptible groups.

a. Will you commit to using TSCA to protect communities from toxic
chemicals?

Response: I commit to following the law.

b. Do you agree with EPA’s finding that exposure to 1,4-dioxane in drinking
water presents unreasonable risk?

Response: If confirmed, I will confer with EPA’s talented scientific and technical experts on
1,4-dioxane in drinking water.

120. As a Member of Congress in 2016, you voted for the Frank R. Lautenberg Chemical
Safety for the 21st Century Act, which provided desperately needed reforms to TSCA.

49

EPA_00299820
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 77 of 129

Fundamentally, that bill made two simple, common-sense reforms: it said EPA has to
evaluate and manage the risks posed by existing toxic chemicals [like 1,4-dioxane] in a
specific timeframe and EPA has to review new chemicals for safety before they can come
to market. Indeed, according to a recent survey, 92% of voters agree that the government
should require products be proven safe before companies are allowed to put them on the
market.

a. Is it the Trump administration’s position that the American people — children,
workers, consumers, communities living next to polluting facilities — should be
subject to additional toxic chemical exposure?

Response: No. All communities should be equally protected from exposure to chemicals.

b. Do you commit to implement the Lautenberg Act and oppose any efforts to
reopen and weaken it?

Response: If confirmed, I commit to implementing the Lautenberg Chemical Safety Act,
and any future changes to the Toxic Substance Control Act that Congress may promulgate,
in a manner consistent with the law.

c. Is it consistent with the Trump administration’s Make America Healthy Again
agenda to allow toxic chemicals into our air, water, and consumer products with
inadequate safety reviews?

Response: If confirmed, I commit to ensuring that chemicals undergo adequate safety reviews.

121. Ethylene oxide is one of the most toxic chemicals this country regulates. It causes a
range of cancers, including leukemia, breast cancer, and lymphoma. It is used in a
number of applications, including currently sterilizing nearly 50% of medical devices in
the US. There are over 80 facilities across the country that use ethylene oxide to
sterilize medical equipment — 14 million people live within five miles of one of these
facilities and over 115 million people live within 50 kilometers of one. When EPA
conducted a risk review of these facilities, it found that this industry “pose[s]
exceptionally high [cancer] risks that are among some of the highest” that EPA has ever
seen in such a review — as high as 8,000-in-a-million, or over 8,000 times as high as the
risk that we in Congress have told EPA to reduce risk to. Last year, EPA finalized a
rule that will reduce ethylene oxide emissions from these facilities by an estimated
90%. It did so by using its authority to set health-protective standards. Nevertheless, the
chemical industry is suing EPA over this rule and is challenging the Agency’s authority
to set such health-protective standards.

a. Do you believe that EPA should use its authority to review its existing rules for
air pollutants to see if additional health protective standards are necessary?

Response: I cannot prejudge any particular issue of this nature. If confirmed, I pledge to
respect all of Congress’s duly enacted statutes delegating authority to the Agency.

b. Will you defend the agency’s authority to set health protective standards if they
are necessary to provide an ample margin of safety to the public?

50

EPA_00299821
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 78 of 129

Response: I commit to defending the Agency’s authority duly delegated to it by Congress and
implementing that authority in a manner that appropriately protects public health and the
environment consistent with the rule of law and the evidence before the Agency.

122. EPA is scheduled to propose additional rules to protect communities from ethylene
oxide emissions from hospitals this year and from storage warehouses in 2027. Will
you commit to moving these rules forward and doing so on time?

Response: I cannot prejudge any particular issue of this nature.

123. One of EPA’s critical functions is its oversight over toxic pesticides, to ensure that their
use doesn’t compromise our health or important natural resources—like clean air and clean
water. Yet the agency’s pesticide office has historically downplayed or ignored independent
science of human health threats posed by these chemicals”!, leading to pesticide approvals
that have failed to protect Americans and our environment from becoming poisoned. The
agency is currently in the middle of regulatory reviews of several major pesticide chemicals,
including neonicotinoids or “neonics,” the nation’s most widely used insecticides, and also
the most frequently detected insecticides (imidacloprid) in the water supply for Long
Island,”? where you once served. At the same time, growing evidence shows that wasteful
pesticide overuse pushed by large chemical corporations is harming the health of
Americans. For example, a recent study finds neonic pesticides in the bodies of over 95% of
pregnant women tested across the

71 The Department of Yes: How Pesticide Companies Corrupted EPA and Poisoned America, The Intercept, June
30, 2021, https://theintercept.com/2021/06/30/epa-pesticides-exposure-opp/
?Pesticides and their degradates in groundwater reflect past use and current management strategies, Long Island, New
York, USA, Fisher et al., Science of the Total Environment, 2020,
https://pubs.usgs.gov/publication/70212622
country”*, with other research‘ indicating that EPA has long ignored the neurotoxic
threats these chemicals pose, especially to children, including risks of birth defects of

the heart and brain, hormonal irregularities, and cognitive impairment.

a. Will you commit to a full, rigorous, and transparent review of the human health
risk assessments for the neonic chemicals by EPA’s Scientific Advisory Panel,
including opportunity for public comment?

Response: I commit to implementing the Federal Insecticide, Fungicide, and Rodenticide Act
in a manner that appropriately protects public health and the environment consistent with the
rule of law and the evidence before the Agency.

b. Will you commit to treat all the neonic chemicals as a cumulative assessment
group”? under the Food Quality Protection Act (FQPA)?

Response: I cannot prejudge any particular issue of this nature. If confirmed, I look forward to
being briefed by EPA’s talented scientific and technical experts on this subject.

c. Will you commit to account for neurotoxic risk to children exposed in the womb
by retaining the FQPA’s “children’s health safety factor””® for all the neonic
pesticide chemicals, which would further limit the allowable amount of these
chemicals in our food?

51

EPA_00299822
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 79 of 129

Response: I cannot prejudge any particular issue of this nature. If confirmed, I look forward to
being briefed by EPA’s talented scientific and technical experts on this subject.

124. Recently, the U.S. Fish and Wildlife Service has found that the monarch butterfly has
declined so profoundly that it requires protection under the Endangered Species Act to
prevent its extinction. Exposure to pesticides was listed as one of the primary drivers of
the monarch’s decline. Robert F. Kennedy, Jr. has raised similar concerns, writing that
the main cause of the monarch’s disappearance is, and I quote, “the soaring use of the
powerful weed killer glyphosate, first marketed as Roundup by biotech giant
Monsanto.” He said, quote “glyphosate use has risen tenfold and devastated the
monarchs’ milkweed habitat.” He also warns that the insecticide BT is quote “putting
holes in the stomach of caterpillars and may account for the disappearance of all our
butterfly species.””’ Will you commit to doing everything in your power to ensure that
the iconic monarch butterfly is not driven to extinction by glyphosate and other
dangerous pesticides?

Response: I cannot prejudge any particular issue of this nature. If confirmed, I look forward to
being briefed by EPA’s talented scientific and technical experts.

- Exposure to Contemporary and Emerging Chemicals in Commerce among Pregnant Women in the United States:

The Environmental influences on Child Health Outcome (ECHO) Program, Buckley et al., Ecotoxicology and Public
Health, May 10, 2022, https://pubs.acs.org/doi/10.1021/acs.est.1c08942

4 Neonicotinoid pesticides: evidence of developmental neurotoxicity from regulatory rodent studies, Sass, Donley, and
Freese, Frontiers in Toxicology, Oct. 1, 2024,
https://www.frontiersin.org/journals/toxicology/articles/10,3389/ftox.2024.1438890/full Cumulative Assessment of
Risk from Pesticides, U.S. Environmental Protection Agency, Feb. 20, 2024 https://www.epa.gov/pesticide-science-
and-assessing-pesticide-risks/cumulative-assessment-risk
pesticides#:~:text=A%20cumulative%20risk%20assessment%20evaluates, potential%20exposures%20across%20th
e%20country.

26 Application of the Food Quality Protection Act children’s health safety factor in the U.S. EPA pesticide risk
assessments, Naidenko, Environmental Health, Feb. 10, 2020

https://ehjournal.biomedcentral.com/articles/10.1186/s12940-020-0571-

6#:~:text=The%20Food% 20Quality%20Protection%20Act%200f%201996%2C%200r%20FQPA%2C%20required,safe
%20for%20infants%20and%20children.

2? Robert F. Kennedy Jr.: The vanishing monarch butterly, The Providence Journal, Nov. 5, 2014,
https://www.providencejournal.com/story/news/2014/11/06/20141106-robert-f-kennedy-jr-the-vanishing monarch-
butterfly-ece/35263204007/; GMOs and Monsanto with Jeffrey Smith, RFK Jr. Podcast, June 20, 2023,
https://www.podchaser.com/podcasts/rfk-jr-podcast-1987789/episodes/gmos-and-monsanto-with-jeffrey 176587124

125. Organophosphates are an acutely toxic class of pesticides. They are widely used and
commonly found in our drinking water and on our produce, including leafy greens,
berries, and citrus. Organophosphates make people sick with symptoms like headaches,
nausea, dizziness, breathing difficulties, and at very high exposures even seizures and
death. Even more troubling, children are at risk of reduced IQ, autism, and attention
deficit disorders at very low levels of exposure. EPA has proposals to provide
important protections from three organophosphates: acephate, malathion, and
dimethoate. Will you commit to finalizing these critical protections?

Response: I cannot prejudge any particular issue of this nature. If confirmed, I look forward to
being briefed by EPA’s talented scientific and technical experts.

52

EPA_00299823
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 80 of 129

126. Many states and local governments have enacted pesticide buffer zones near schools
and homes, but recent legislative proposals aim to preempt these protections. Do you

support legislative efforts to eliminate communities’ rights to establish localized
safeguards against pesticide exposure?

Response: If confirmed, I look forward to first being briefed on this topic by EPA’s talented
scientific and technical experts.

127. Farmworkers face disproportionately high levels of pesticide exposure. How will you
ensure stronger enforcement of workplace protections and improve the EPA's
collaboration with the Department of Labor to safeguard these essential workers?

Response; If confirmed, I commit to work with EPA’s scientific and technical experts and the
Department of Labor to ensure that farmworkers are appropriately protected.

128. Several statutes give effect to Congress’s constitutional power of the purse, reflecting its
responsibility to provide appropriations to federal agencies, and its prerogative to place
limitations on the availability of those appropriations, specifically, their availability as
to purpose, amount, and time. Among these, the Antideficiency Act prohibits agencies
from spending in advance, or in excess, of an appropriation. There is also a statutory
framework for the execution — that is, the obligation and expenditure — of
appropriations, as well as procedures for use when the President or executive branch

disagrees with the policy embodied in an appropriation and therefore does not wish to
obligate available funds.

a. Do you believe that the president or executive branch can ignore congressional
appropriation decisions and instructions?

Response: If confirmed, I pledge to respect all of Congress’s duly enacted statutes.

b. Do you pledge to respect congressional appropriation decisions and instructions
and resist any efforts within the executive branch to circumvent them?

Response: Particularly as a former Member of Congress, I appreciate and respect the
Congressional funding process. I commit to fully following the law.

129. The first Trump administration proposed measures to bias cost-benefit methods to
produce different results, including proposals to tinker with risk assessment methods to
hide or minimize health damage, proposals to raise discount rates, proposals to tinker
with cost analyses to exaggerate cost estimates, and proposals to discount or ignore
many harmful impacts and thus minimize the savings from regulations. Most of those

proposals were rejected by courts, abandoned by the Trump administration, or reversed
under President Biden.

a. Will you commit to retain EPA’s peer-reviewed and long-standing risk and cost
assessment methods and reject proposals to adopt biased methods that ignore

whole categories of harm and exaggerate costs?

Response: It is important that regulatory analysis be unbiased in any direction. If confirmed, I
look forward to conferring with economists and other talented technical experts on these

53

EPA_00299824
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 81 of 129

important issues.

b. Will you commit that any updates to such methods will be openly and
transparently reviewed by scientific and other experts, and through public comment,
before being adopted?

Response: I commit to public notice procedures where they are required or otherwise
appropriate.

130. I (and Senator Alsobrooks) asked you about plans to slash EPA’s workforce and move
its headquarters. You did not answer our questions directly.

a. Yes or no, do you support moving EPA’s headquarters out of the Washington, DC
metropolitan area?

Response: As I stated in the hearing, “no one has expressed to me in any setting since I was

announced as nominee or before that, of any plans with regard to moving the EPA headquarters
out of D.C.”

b. Yes or no, do you support reducing EPA’s staff by two thirds or three quarters?

Response: If confirmed, I look forward to working with the talented career staff at EPA who are
dedicated to the agency’s mission to protect human health and the environment.

c. Yes or no, do you support “traumatizing” EPA employees or making them feel
like they are “villains?”

Response: If confirmed, I look forward to working with the very talented career staff at EPA who
are dedicated to the agency’s mission to protect human health and the environment.

d. Will you commit, as EPA Administrator, to uphold the law passed by Congress
and complete the full obligation of IRA funds?

Response: I commit to always following all laws.

131. Administrations typically claim credit for pollution reductions that occur during their
tenure as a result of standards issued by their predecessors. There’s often a delay in the
results because EPA standards generally allow substantial lead time for compliance.
Putting aside improvements that are due to past administrations’ actions and focusing
on what you will do in your tenure to achieve further pollution reductions, what are the
top 3 actions you intend to take as EPA Administrator that will reduce greenhouse gas
emissions?

Response: It would be inappropriate for me to identify priority actions without first being
briefed by EPA’s career professionals on these important questions. However, I can commit to
working with other federal agencies as well as State, Tribal, and local governments to improve
forest management and the use of prescribed fires to address wildfire risk. I also commit to
working with the regulated community to improve compliance with Clean Air Act
requirements.

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EPA_00299825
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 82 of 129

132. Do you agree that the costs of climate change outweigh potential costs associated with
transitioning to a net zero-carbon economy?

Response: If confirmed, I look forward to conferring with EPA’s talented scientific, economic,
and technical experts on these and other important issues. I believe in an all-of-the-above energy
approach.

133. Do you agree that low-, zero-, and negative-carbon technologies will be a huge source
of global jobs, investment, and economic growth in the coming decades? Do you
believe that EPA’s regulatory regime can help incentivize the development of low-,
zero-, and negative-carbon industries here in the United States?

Response: If confirmed, I look forward to conferring with EPA’s talented scientific, economic,
and technical experts on these and other important issues. As I stated in the hearing, I believe in
an all-of-the-above energy approach.

134. The Global Change Research Act of 1990 mandates a periodic report from the federal
government to make sure that policy makers and the American people are fully
informed of the rising costs and mounting dangers the climate crisis is inflicting on our
families, businesses, ranches and farms. The National Climate Assessment, last
published in 2023, is written by the EPA and a dozen other federal agencies. It provides
citizens and policymakers with the sound science, reliable metrics and essential
guidance we need to respond to the impacts of rising seas, withering drought, blistering
heat and the raging wildfires, storms and floods that threaten every community in this
country.

a. Do you commit to ensuring that the next National Climate Assessment is
conducted and completed on time in full compliance with the Global Change
Research Act?

Response: I commit to following the law.

b. Will you support the professional scientists and other civil servants in your
agency and in sister agencies that work on this report?

Response: If confirmed, I look forward to working with the very talented career staff at EPA who
are dedicated to the agency’s mission to protect human health and the environment.

135. Nearly 20 years ago, Congress directed EPA to create a Greenhouse Gas Reporting
System for emissions of climate-changing pollutants from industrial sources. Do you
commit to maintaining the scope of the current GHG Reporting System?

Response: I commit to following the law.

136. The Greenhouse Gas Reduction Fund, which Congress established in the Inflation
Reduction Act and which EPA administers, is a historic investment in our economy that
will improve the lives of hardworking, everyday Americans. This program will unlock
an unprecedented flow of public and private capital to places that have been overlooked
for far too long, including rural, Tribal, energy transition, and other disadvantaged
communities. By catalyzing investments in these communities, the Greenhouse Gas

55

EPA_00299826
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 83 of 129

Reduction Fund will lower energy bills for households and small businesses, create new
jobs and economic opportunity, and improve public health and community resiliency.
Can assure this Committee that under your leadership, EPA will not slow or hinder
access to under the Fund investments that will help everyday Americans save money on
energy, especially those living in rural, Tribal, energy transition, and other
disadvantaged communities?

Response: I commit to following the law. I cannot prejudge particular outcomes.

137. Thanks to the Greenhouse Gas Reduction Fund, local lenders and private investors are
already finalizing investments in high-impact projects across the country. In fact, by
EPA’s own estimates, every public dollar invested through the Greenhouse Gas
Reduction Fund will leverage about seven dollars in private investment.

a. Do you agree that private lenders and investors expect and require that contracts
be honored when making investment decisions and building out their project
pipelines?

Response: I commit to following the law.

b. Do you pledge not hinder access to funds that have already been contractually
obligated to awardees to deploy into projects across the country — funds that
private lenders are already making investment decisions around?

Response: I commit to following the law.

138. EPA has made tremendous strides in recent years advancing its environmental justice
and civil rights compliance programs, with clear Congressional approval and support.
These programs are critical to ensuring that EPA achieves its mission in two important
respects. First, the civil rights compliance program ensures that within the United States
we follow the law — including the civil rights laws — when pursuing environmental and
public health protections. And second, in pursuit of EPA’s mission achievement, the
environmental justice program ensures that the agency achieves the same level of
protection for the environmental and public health of all communities.

a. Do you accept that there are communities in New York and across the United
States that for generations have faced levels of toxic pollution in their air, land,
and water, as well as lesser access to natural resources, which result in these
communities not being as protected as other communities across the United
States?

Response: I believe that every American deserves access to clean air and water.

b. Do you agree that EPA will not have achieved its mission until these
communities’ environmental and public health conditions have been sufficiently
improved and safeguarded to levels achieved for other communities?

Response: I believe that every American deserves access to clean air and water.

c. Are you aware that EPA’s practice over many decades has been to ignore the

56

EPA_00299827
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 84 of 129

cumulative impacts of multiple sources of pollution on highly vulnerable
communities?

Response: I am not aware of the details of the particular historical policies that you
reference. If confirmed, I look forward to working with the very talented career staff at EPA
who are dedicated to the agency’s mission to protect human health and the environment.

d. Do you accept that continuing support for the environmental justice programs
described above are needed to assure that the EPA follows the civil rights laws as
well as the environmental laws?

Response: I cannot prejudge outcomes. I commit to following the law.

e. Do you agree that undermining or reducing these expert staff or prohibiting the
use of these tools will greatly damage EPA’s ability to achieve its mission that
every community and everyone in the United States should have safe air, water,
and land?

Response: I cannot prejudge outcomes.

f. Do you accept that supporting communities to be viable and effective partners to
EPA — as well as to government agencies at all other levels — is a necessary
element of identifying solutions to long-standing environmental and public health
challenges?

Response: It is critical for EPA to work transparently and cooperatively with all stakeholders,
including communities, States, Tribes, local governments, non-profit groups, and the regulated
community.

g. Do you accept that it is not only proper but necessary for EPA to continue to
provide support directly to communities in the form of meaningful engagement,
technical assistance, and grants, in order to build community capacity?

Response: Yes, EPA should continue to take steps to engage with all stakeholders and build
community capacity in a manner consistent with the law. I understand that EPA administers
numerous grant programs authorized by Congress. Likewise, I understand that EPA provides
important technical assistance to States, Tribes, local governments, and other partners.

139. Rhode Island and your home state of New York have both been at the forefront of
efforts to address plastic pollution, and both have passed several laws aimed at reducing
plastic waste and improving recycling efforts.

a. As EPA Administrator, how would you build on these state-level efforts to
enhance national plastics recycling programs and address the vast amount of
plastics polluting our beaches, waterways, and terrestrial environment?

Response: I am aware that EPA has long viewed recycling as beneficial to our environment. For
example, EPA has stated that recycling efforts reduce the need to extract new natural resources,

reduce greenhouse gas emissions, conserve energy, and divert waste from landfills. EPA
administers a number of voluntary programs to promote recycling and the circular economy, and

57

EPA_00299828
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 85 of 129

I look forward to working on this important issue if confirmed as Administrator, including by
working with EPA’s State, Tribal, and local government partners.

b. Specifically, what steps will you take to improve the effectiveness of plastics
recycling at a national level, ensuring that it is more economically viable and

Response: I am aware that EPA has long viewed recycling as beneficial to our environment. For
example, EPA has stated that recycling efforts reduce the need to extract new natural resources,
reduce greenhouse gas emissions, conserve energy, and divert waste from landfills. EPA
administers a number of voluntary programs to promote recycling and the circular economy, and
I look forward to continuing work on this important issue if confirmed as Administrator.

140. If confirmed, how will you ensure that your agency upholds and advances the federal
trust responsibility to Indian tribes, and respects their rights to sovereignty and self
determination in its policies, actions, and resource allocation decisions?

Response: If confirmed, I commit to following the law with respect to Tribes and tribal
governments, and I will follow EPA’s tribal consultation policy.

141. If confirmed, how will you ensure that your agency respects the federal trust
responsibility to Tribes, particularly through prioritizing budget requests and federal
funding allocation, staffing, and policy implementation? Additionally, how will you
measure and report progress in advancing the needs of Native communities, and how
will you ensure that these efforts are transparent and accountable to Congress and to the
communities you serve?

Response: While it is premature to take specific positions on budget requests, funding allocation,
and staffing levels before I have been fully briefed on issues pertaining to the Agency, I look
forward to being briefed on these issues and taking appropriate action to uphold the Agency’s
commitment to Tribes.

142. One in three Tribal homes do not have adequate indoor plumping or safe drinking water.
What will you do to improve Tribal water infrastructure so children and families on
Tribal lands have clean water to drink?

Response: I am aware that Congress has established various programs that EPA administers to
provide support for water infrastructure projects to Tribes, including the Water Infrastructure
Improvements for the Nation Act grant programs and Drinking Water State Revolving Fund that
includes a tribal “set-aside.” If confirmed, I commit to being a good steward of taxpayer dollars
and ensuring that funds appropriated to EPA are spent in a manner consistent with the law.

143. The Bipartisan Infrastructure Law (BIL) and the Inflation Reduction Act of 2022
provided funding for the Environmental Protection Agency to support the construction
and repair of Tribal clean water infrastructure, but there isn’t enough to make a dent in
this problem. Will you commit to request necessary funding to implementing these
historic investments in clean water infrastructure for Tribal Nations?

Response: Although funding decisions are for Congress to make, I look forward to being briefed
on these issues in the pursuit of clean water across America.

58

EPA_00299829
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 86 of 129

144. The EPA defines cumulative impacts as "the totality of exposures to combinations of
chemical and nonchemical stressors and their effects on health and quality-of-life
outcomes.” As EPA administrator, would you support incorporating the consideration

of cumulative impacts on affected communities into Agency decision-making,
including permitting decisions?

Response: I cannot prejudge any policy decision. If confirmed, I look forward to working with
the very talented career staff at EPA who are dedicated to the agency’s mission to protect
human health and the environment.

145. Federal agencies often assess pollutants in isolation, leaving communities in the dark
about combined risks. How will you improve data collection and transparency to
provide communities with a fuller picture of their cumulative health risks?

Response: Transparency and risk communication are important parts of accomplishing EPA’s
mission.

For questions 146 through 159, the following definitions apply:

-A “foreign person” includes both (1) a natural person who is not a United States citizen
or an alien lawfully admitted for permanent residence to the United States; and (2) an

entity not organized under the laws of the United States or any jurisdiction within the
United States.

-A “foreign government” includes any agency or instrumentality of such government.

- “Zeldin Strategies” includes the corporate entity, any employees of the corporate entity,
and you individually as the CEO of Zeldin Strategies and in your personal capacity.

146. In your OGE Form 278e, you identified your current business as Zeldin Strategies. The
website of Zeldin Strategies states that it “provides clients with expert services covering
strategy, public relations, acquisitions, crisis management, and much more.” Since its
founding, has Zeldin Strategies provided services to any of the following:

a. A foreign government? Response: No
b. An entity owned or controlled by a foreign government? Response: No
c. A foreign person? Response: No

d. An entity owned or controlled by a foreign person? Response: Yes

147. Please provide a list of each government, person, and entity covered by Question 146,

including the dates of services provided to each and a detailed description of the
services provided.

Response: Heritage Advisors, April 2023 — December 2023, Consulting Services not
involving any lobbying or other activities requiring registration under FARA.

148. Since its founding, have you and/or Zeldin Strategies contacted or engaged with any of

59

EPA_00299830
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 87 of 129

the following on behalf of any client:
a. A foreign government? Response: No
b. An entity owned or controlled by a foreign government? Response: No
c. A foreign political party? Response: No

d. An international organization (including international treaty organizations such as
the European Union)? Response: No

e. An entity of an international organization (including international treaty
organizations such as the European Union)? Response: No

149. Please provide a list of the contacts and engagements covered by Question 148,
including:

a. An identification of:
i. Each government or entity contacted or engaged with; Response: N/A
ii. Each applicable Zeldin Strategies client; Response: N/A

b. The dates of each contact or engagement; and Response: N/A

c. A description of each contact or engagement. Response: N/A

150. Since its founding, has Zeldin Strategies advised, counsel, or otherwise provided
services to a client about how to contact or engage with any of the following:

a. A foreign government? Response: No
b. An entity owned or controlled by a foreign government? Response: No
c. A foreign political party? Response: No

d. An international organization (including international treaty organizations such as
the European Union)? Response: No

e. An entity of an international treaty organization (including international treaty
organizations such as the European Union)? Response: No

151. Please provide a list of the clients covered by Question 150, including:

a. An identification of the government or entity with respect to which advice,
counsel, or other services was provided; Response: N/A

b. A description of the advice, counsel, or other services provided by Zeldin
Strategies; and Response: N/A

c. The dates on which the advice, counsel, or other services were provided. Response: N/A

60

EPA_00299831
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 88 of 129

152. Since its founding, has Zeldin Strategies contacted or engaged with any of the
following on behalf of a client:

a. An agency of the United States government? Response: No

b. The U.S. Congress? Response: Yes

c. A U.S.-incorporated news network, social media platform, or other source of
information for the American public? Response: Yes

153. Please provide a list of the contacts and engagements covered by Question 152,
including:

a. An identification of:

i. The entity contacted or engaged with; Response: Congress, Media
ii. Each applicable Zeldin Strategies client; Response: New York Cancer and

Blood Specialists (Congress), Building America’s Future (Media), America
First Policy Institute (Media)

b. The dates of each contact or engagement; and Response: Do Not Have Dates
Recorded

c. A description of each contact or engagement. Response: Contacts re 152b were
political/campaign related. Contacts re 152c were to assist with Public Relations.

154. Since its founding, has Zeldin Strategies advised, counsel, or otherwise provided
services to a client about how to contact or engage with any of the following:

a. An agency of the United States government? Response: No

b. The U.S. Congress? Response: Yes

c. A U.S.-incorporated news network, social media platform, or other source of
information for the American public? Response: Yes

155. Please provide a list of the clients covered by Question 154, including:

a. An identification of the government or entity with respect to which advice,
counsel, or other services was provided; Response: Congress, Media

b. A description of the advice, counsel, or other services provided by Zeldin
Strategies; and Response: Strategy

c. The dates on which the advice, counsel, or other services were provided. Response:
Do Not Have Dates Recorded

156. In your OGE Form 278e, you identified Heritage Advisors, a London-based entity, as a
client of Zeldin Strategies. Heritage’s website describes the entity as “a privately-held

61

EPA_00299832
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 89 of 129

venture capital and investment management firm based in London. The firm is a global
investor led by His Excellency Sheikh Sultan bin Jassim Al Thani of Qatar.” Publicly
available information establishes that Al Thani is a citizen of Qatar.

a. Please describe in detail the services provided to Heritage Advisors and/or Al
Thani.

Response: Consulting Services to Heritage Advisors not involving any lobbying
or other activities requiring registration under FARA

b. Please identify the dates of the services you provided to Heritage Advisors and/or
Al Thani.

Response: April 2023 — December 2023

c. Has Heritage Advisors and/or Al Thani personally invested in any of the
following while you were providing services to them:

i. A foreign government? Response: Unknown
ii. An entity owned or controlled by a foreign government? Response: Unknown
i. A foreign person? Response: Unknown
iv. An entity owned or controlled by a foreign person? Response: Unknown

d. Has Zeldin Strategies contacted or engaged with any of the following on behalf
Heritage Advisors and/or Al Thani personally:

i. An agency of the United States government? Response: No
ii. The U.S. Congress? Response: No

ii. A U.S.-incorporated news network, social media platform, or other source
of information for the American public? Response: No

e. Has Zeldin Strategies advised, counsel, or otherwise provided services to a client
about how to contact or engage with any of the following: Response: Same
question as 154 above

i. An agency of the United States government?

ii. The U.S. Congress?

ii. A U.S.-incorporated news network, social media platform, or other source
of information for the American public?

157. If the answer is yes to any part of Question 156(c), please describe any involvement
you had with respect to any investments covered by that question. Response: N/A

158. If the answer is yes to any part of Question 156(d), please provide a list of the contacts

62

EPA_00299833
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 90 of 129

and engagements covered by that question, including:
a. An identification of:
i. The entity contacted or engaged with; Response: N/A
ii. Each applicable Zeldin Strategies client; Response: N/A
b. The dates of each contact or engagement; and Response: N/A
c. A description of each contact or engagement. Response: N/A

159. If the answer is yes to any part of Question 156(e), please provide a list of the clients
covered by that question, including: Response: Same question as 155 above

a. An identification of the government or entity with respect to which advice,
counsel, or other services was provided;

b. A description of the advice, counsel, or other services provided by Zeldin
Strategies; and

c. The dates on which the advice, counsel, or other services were provided.

Senator Sanders:

1. The EPA’s Lake Champlain Geographic program is a critical and highly successful
source of federal funding that helps Vermont and New York address invasive species,
nutrient and toxic substance pollution, and conservation needs related to Lake
Champlain. If confirmed, will you commit to working with me, and within the
administration, to fight for increased funding for this program?

Response: While funding decisions are for Congress to decide, I commit to implementing
EPA’s Geographic Programs consistent with law. I also commit to being a good steward of
taxpayer dollars and ensuring that funds appropriated to EPA are spent in a manner consistent
with the law.

2. During this hearing, Senator Moran asked you questions related to the EPA’s Clean
Water and Drinking Water State Revolving Funds. As you know, these EPA programs
are critically important for small communities in rural states like Vermont that want to
repair, maintain, and upgrade their aging drinking water and wastewater systems. If
confirmed, will you commit to working with me, and within the administration, to fight
for increased funding for these programs?

Response: While funding decisions are for Congress to decide, I commit to implementing the
State Revolving Funds consistent with law. I also commit to being a good steward of
taxpayer dollars and ensuring that funds appropriated to EPA are spent in a manner consistent
with the law.

3. The EPA Brownfields program is critical to ensuring that property contaminated by
hazardous substances and pollution is remediated to unlock the full benefits of that

63

EPA_00299834
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 91 of 129

property’s economic development. Vermont alone has 164 sites enrolled in the EPA’s
Brownfields program, and cleaning up these sites putting them back into productive use
would protects the environment, reduce blight, and take development pressures off
green spaces and working lands. If confirmed, will you commit to working with me,
and within the administration, to fight for increased funding for this program?

Response: While funding decisions are for Congress to decide, I commit to implementing the
Brownfields program consistent with law. I also commit to being a good steward of taxpayer
dollars and ensuring that funds appropriated to EPA are spent in a manner consistent with the
law.

4. Over the past four years, Congress has appropriated funding for a number of
Congressionally Directed Spending projects for critical drinking water and wastewater
system projects in rural communities across Vermont. If confirmed, will you commit to
working with me to ensure funding for these projects is administered and disbursed in a
timely manner?

Response: If confirmed, I will follow the law and work to have an effective and efficient
disbursement process. I also commit to being a good steward of taxpayer dollars and ensuring
that funds appropriated to EPA are spent in a manner consistent with the law.

5. During the hearing, you told Ranking Member Whitehouse that you believe in leaving
science to the scientists in regard to the effects that fossil fuel combustion is having in
the atmosphere. The vast majority of scientists agree that climate change is real and
that it is caused by carbon emissions that are driven by the burning of fossil fuels.
Given that you believe in leaving science to the scientists:

a. Do you agree with the vast majority of scientists that the burning of fossil fuels is
a main cause of climate change?

Response: I understand that scientists have found that emissions released from the combustion
of fossil fuels contribute to climate change.

b. Do you agree with the vast majority of scientists that human activities are
responsible for almost all of the increase in greenhouse gases in the atmosphere
over the last 150 years?

Response: Scientists have found that human activity is a significant contributor to climate
change.

c. Do you agree with the vast majority of scientists that fossil fuels are the largest
source of anthropogenic greenhouse gas emissions in the United States?

Response: I understand that scientists have found that emissions released from the combustion
of fossil fuels contribute to climate change.

64

EPA_00299835
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 92 of 129

d. Do you agree with the vast majority of scientists that addressing climate change
requires aggressively moving away from fossil fuels towards energy efficiency
and renewable sources of power?

Response: As I stated at the hearing, I believe in an all-of-the-above energy approach.

e. Do you agree with the vast majority of scientists that climate change is making
wildfires more frequent and severe?

Response: There are many causes to wildfires including the age of the forest, proper forest
management, and accidents.

f. Do you agree with the vast majority of scientists that the ongoing wildfires in Los
Angeles were exacerbated by climate change?

Response: I am not aware of a vast majority of scientists having researched and released studies
with that conclusion regarding this recent and ongoing event.

g. Do you agree with the vast majority of scientists that climate change is
exacerbating major flooding events like the ones Vermont has experienced over
the past two years?

Response: As stated in my hearing, I believe that we must be addressing these issues with
urgency.

6. During the hearing, you told me that climate change is an issue that we must be addressing
“with urgency”. If confirmed, will you commit to promulgating EPA rules and
regulations that address climate change with urgency and do not weaken current any
current EPA regulations related to climate change?

Response: It would not be appropriate to commit to promulgating any particular rule, or to the
outcome of the review of any existing rule.

7. During the hearing, you told Senator Schiff that disaster assistance should be provided to
states regardless of whether they are red states or blue states. As you may be aware,
several members of Congress have proposed attaching “policy strings” to disaster aid for
the ongoing Los Angeles wildfires, including requiring disaster aid to pass alongside a
raise in the debt limit or requiring California to repeal state-level regulations related to
climate change in exchange for receiving disaster aid. Given that you believe disaster
assistance should be provided to states regardless of their political leanings, do you

65

EPA_00299836
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 93 of 129

oppose attaching “policy strings” to federal aid for disasters including the ongoing Los
Angeles wildfires?

Response: We are all concerned about these fires and their impacts. I commit to using all
available means to urgently address them. As a nominee for EPA Administrator, it is not
appropriate for me to comment on the decision before Congress.

8. Congress appropriated $41.5 billion through the Inflation Reduction Act and $60 billion
through the Infrastructure Investment and Jobs Act to the EPA for various grant programs.

a. Does the law require the EPA to obligate, administer, and disburse all funds that
Congress appropriated to the EPA through the Inflation Reduction Act and the
Infrastructure Investment and Jobs Act?

Response: I commit to following the law.

b. Does the law require the EPA to administer and disburse all grant funds that have
been obligated by the EPA, including funds that Congress appropriated through
the Inflation Reduction Act and the Infrastructure Investment and Jobs Act, in a
timely manner?

Response: I commit to following the law.

c. If confirmed, will you commit to directing EPA staff to administer and disburse
all grant funds that have been obligated by the EPA?

Response: I commit to following the law.

d. If you will not commit to directing EPA staff to administer and disburse all grant
funds that have been obligated by the EPA, what are the specific conditions under
which you might direct EPA staff to attempt to withhold grant funding that has
been legally obligated by the EPA?

Response: I commit to following the law.

9. The EPA recently reinstated part of the longstanding “Once in, Always In” policy
that requires most sources of cancer-causing hazardous air pollutants to monitor,
report, and reduce their emissions of hazardous air pollutants regardless of their
categorization as a “major” or “area” source of pollution. Undoing this policy
would allow for industrial “area” sources to stop monitoring and reporting the
amount of hazardous air pollutants they emit, greatly increasing the risk of cancer
and other life-altering health effects for thousands of communities across the
country.

66

EPA_00299837
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 94 of 129

a. Do you believe that living near a source of significant benzene emissions is
harmful to human health?

Response: I would have to confer with the scientists at EPA to make a judgment on this
question. If confirmed, I look forward to working with the very talented career staff at EPA
who are dedicated to the agency’s mission to protect human health and the environment.

b. Do you believe that living near a source of significant arsenic emissions is
harmful to human health?

Response: I would have to confer with the scientists at EPA to make a judgment on this
question. If confirmed, I look forward to working with the very talented career staff at EPA
who are dedicated to the agency’s mission to protect human health and the environment.

c. Do you believe that living near a source of significant mercury emissions is
harmful to human health?

Response: I would have to confer with the scientists at EPA to make a judgment on this
question. If confirmed, I look forward to working with the very talented career staff at EPA
who are dedicated to the agency’s mission to protect human health and the environment.

d. When the previous Trump EPA rolled back enforcement of the “Once in, Always
In” policy, about 4,000 sources of hazardous air pollutants were allowed to
increase their toxic emissions. Do you believe that families living near these
sources of significant hazardous air pollution deserve to breathe clean air that
won’t make them sick?

Response: While I am not familiar with the particular figure from this rulemaking that you cite, I
believe that all Americans should have clean air to breathe. If confirmed, I look forward to
working with the very talented career staff at EPA who are dedicated to the agency’s mission to
protect human health and the environment.

e. Do you believe that too many American communities are living near sources of
hazardous air pollutants?

Response: I believe that all Americans should have clean air to breathe.

67

EPA_00299838
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 95 of 129

10. The National Ambient Air Quality Standards are a core part of the Clean Air Act,
reducing pollution levels for critical pollutants like soot and ozone that are linked to
increased rates of asthma, cardiovascular disease, and death. If confirmed, will you
commit to keeping these vital public health standards in place?

Response: It would not be appropriate to prejudge the outcome of any particular
rulemaking or review of any existing rule.

11. According to the Environmental Integrity Project, over 50 percent of our nation’s
surveyed surface waters are impaired for at least one Safe Drinking Water Act
contaminant. If confirmed, will you commit to reducing the percentage of our nation’s
surveyed waters that are impaired for at least one current Safe Drinking Water Act
contaminant?

Response: Surface water quality is an important issue, and I commit to following the law
when implementing EPA’s water quality standards program under the Clean Water Act in
conjunction with EPA’s State and Tribal partners.

12. On October 8, 2024, the EPA issued a final rule, “Lead and Copper Rule Improvements”,
that requires drinking water systems throughout the country to replace lead pipes within
ten years. According to a public poll by Global Strategy Group, over 90 percent of
Americans support this rule. If confirmed, will you commit to standing with the vast
majority of people who want to see toxic lead and copper removed from their drinking
water by defending and enforcing this rule?

Response: I am aware that EPA has concluded that there is no level of exposure to lead that is
without some risk, and I appreciate the importance of this issue to you and your constituents. I
am aware that EPA first issued a national primary drinking water standards for lead in 1991, and
EPA during the Trump Administration’s First Term updated that rule for the first time in three
decades. I am also aware that EPA issued further revisions to this rule in 2021 and again in 2024.
I understand that this rule is currently the subject of litigation, and EPA may have received
requests from stakeholders to revisit it, as it does from time to time. Thus, it would be
inappropriate for me to prejudge the outcome of any regulatory proceeding.

13. Communities all over the country, including in Vermont, are dealing with extraordinary
levels of PFAS contamination in their drinking water, air, and soil. As Senator Capito
noted during the hearing, earlier this year the EPA announced final rules on PFAS in line
with legislation you supported during your time in Congress to make polluters pay for the
cleanup of certain PFAS chemicals.

a. If confirmed, will you commit to aggressively pursuing polluters to force them to
pay for the costs of cleaning up PFAS contamination and ensuring that cleanup
costs do not fall on rural Americans?

Response: As I mentioned during my confirmation hearing, when I represented New York’s First
District in Congress, I was a member of the PFAS Task Force and voted for the PFAS Action

68

EPA_00299839
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 96 of 129

Act. I also saw PFAS issues firsthand in Suffolk County, New York. I commit to following the
law when it comes to PFAS or any other environmental issue.

b. If confirmed, will you commit to not rolling back any regulations that hold
polluters accountable for cleaning up the PFAS contamination impacting so many
of our rural communities?

Response: I understand the importance of addressing issues related to PFAS. I also
understand that a number of rules related to PFAS chemicals are currently the subject
of litigation, and EPA may have received requests from stakeholders to revisit them,
as it does from time to time. Thus, it would be inappropriate for me to prejudge the
outcome of any regulatory proceeding.

c. If confirmed, will you commit to reducing the number of Americans that have
PFAS chemicals in their drinking water by upholding the National Primary
Drinking Water Regulations?

Response: I understand the importance of addressing issues related to PFAS. I also
understand that a number of rules related to PFAS chemicals are currently the subject
of litigation, and EPA may have received requests from stakeholders to revisit them,
as it does from time to time. Thus, it would be inappropriate for me to prejudge the
outcome of any regulatory proceeding.

14. Ethylene oxide is one of the most toxic chemicals this country regulates. It causes a range
of cancers, including leukemia, breast cancer, and lymphoma. Over 80 medical facilities
across the country use ethylene oxide to sterilize equipment, which drastically increases
the risk of cancer for neighboring communities. Last year, the EPA finalized a rule that
will reduce ethylene oxide emissions from these facilities by an estimated 90 percent. The
chemical industry is suing the EPA to prevent enforcement of this rule.

a. If confirmed, will you commit to defending this vital public health regulation?

Response: If confirmed, I commit to following the laws as established and adhering to
decisions made by the courts.

15. The EPA is scheduled to propose additional rules to protect communities from ethylene
oxide emissions from hospitals later this year, and from storage warehouses in 2027. If
confirmed, will you commit to strengthening, not weakening, vital public health
protections from ethylene oxide emissions through these scheduled rules?

Response: It would not be appropriate for me to prejudge the outcome of a rulemaking. I can
commit to following the laws as established.

16. Scientific research links pesticide exposure to chronic illnesses, including cancer and
neurodevelopmental disorders.

69

EPA_00299840
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 97 of 129

a. If confirmed, will you commit to strengthening monitoring and accountability
requirements for pesticide-related health outcomes?

Response: I would have to confer with the scientists at EPA to make a judgment on this
question. If confirmed, I look forward to working with the very talented career staff at EPA
who are dedicated to the agency’s mission to protect human health and the environment.

b. If you will commit to strengthening monitoring and accountability requirements
for pesticide-related health outcomes, what specific actions will you to take to
strengthen these requirements?

Response: I would have to confer with the scientists at EPA to make a judgment on this

question. If confirmed, I look forward to working with the very talented career staff at EPA
who are dedicated to the agency’s mission to protect human health and the environment.

17. Negative health impacts from pollution tend to be clustered in certain areas, which are
predominantly low-income communities, Tribal communities, and communities of
color.

a. Do you believe the law gives the EPA the authority to address the
disproportionate environmental impacts experienced by these communities?

Response: I believe Congress has authorized EPA to pursue environmental outcomes that
benefit all Americans.

b. Do you believe the law obligates the EPA to address the disproportionate
environmental impacts experienced by these communities?

Response: I believe Congress has authorized EPA to pursue environmental outcomes that
benefit all Americans.

c. Do you believe the EPA should address the disproportionate environmental
impacts experienced by these communities?

Response: I believe Congress has authorized EPA to pursue environmental outcomes that
benefit all Americans.

d. If confirmed, will you commit to addressing the disproportionate environmental
impacts experienced by these communities?

Response: I commit to engaging with all Americans.

70

EPA_00299841
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 98 of 129

e. If confirmed, will you commit to ensuring the EPA meaningfully engages these
communities in the EPA decision-making process?

Response: I commit to pursuing environmental outcomes that benefit all Americans, consistent
with Congress’s direction and the rule of law.

f. Do you believe the EPA has an obligation to address the disproportionate
environmental impacts experienced by these communities?

Response: I believe Congress has authorized EPA to pursue environmental outcomes that
benefit all Americans.

18. On July 9, 2024, the EPA signed a collective bargaining agreement with the American
Federation of Government Employees, Council 238, which represents more than 8,000
EPA employees. If confirmed, will you commit to honoring this contract, as well as any

other union contracts that are currently in place between the EPA and its employees,
including terms related to the preservation of scientific integrity for EPA employees?

Response: I am not familiar with the terms of the collective bargaining agreement and look
forward to being briefed on this contract.

Senator Merkley:

1. If confirmed, how do you intend on addressing plastics, both in terms of reducing plastic
in our rivers and oceans and improving access to recycling programs?

Response: I am aware that EPA has long viewed recycling as beneficial to our environment. For
example, EPA has stated that recycling efforts reduce the need to extract new natural resources,
reduce greenhouse gas emissions, conserve energy, and divert waste from landfills. EPA
administers a number of voluntary programs to promote recycling and the circular economy, and
I look forward to advancing this important issue if confirmed as Administrator.

a. What steps will you take in response to the body of science demonstrating that
plastics contain endocrine-disrupting chemicals that harm human health by

interfering with our hormone systems?

Response: I look forward to discussing this issue with EPA’s career professionals, if
confirmed, and I will act consistent with EPA’s statutory authority.

2. If confirmed, what is your strategy and plan for addressing the growing threats of
microplastics that negatively impact human health and the environment?

Response: If confirmed, I look forward to being briefed on the issue of microplastics and
the impact to human health and the environment by the talented EPA technical and

technical experts.

3. The American Chemistry Council has said that converting waste to fuels is not recycling.

71

EPA_00299842
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 99 of 129

Since 1997 it has been the Environmental Protection Agency's position that converting non-
hazardous solid waste to fuels or fuel substitutes or for energy production is not recycling.
Will you commit to maintaining this long-standing agency position?

Response: If confirmed, I look forward to being briefed on this important issue by EPA’s career
professionals.

4. If confirmed, do YOU commit to maintaining the structure of the Science Advisory
Board?

Response: If confirmed, I commit to ensuring that the Science Advisory Board is balanced
and transparent.

5. How will you value expertise possessed by career civil servants at the EPA and ensure
decisions are made based on the science, not politics?

Response: If confirmed, I will value expertise on the part of EPA civil servants and on the part
of others by listening to their views and taking account of them among other factors in making
decisions under the law. Science informs policy but Congress has vested ultimate policy
decision-making with the Administrator.

6. Do you agree that legacy uses and disposal of all asbestos fibers present an unreasonable
risk to human and environmental health?

Response: If confirmed, I look forward to being briefed on this issue by EPA’s career
professionals.

7. If confirmed, do you commit to stringently regulating legacy uses and disposal of all
asbestos fiber types?

Response: If confirmed, I look forward to being briefed on this issue by EPA’s career
professionals, and any action taken will be done so consistent with EPA’s legal authority.

8. Yes or no, if confirmed will you modify any of the Biden administration’s risk
management rules or risk evaluations under the Toxic Substances Control Act?

Response: I understand that a number of these rules are currently the subject of
litigation, and EPA may have received requests from stakeholders to revisit them, as it
does from time to time. Thus it would be inappropriate for me to prejudge the
outcome of any regulatory proceeding.

9. The previous Trump administration miscalculated the Toxic Substances Control Act
(TSCA) user fees rule. This fee is supposed to collect funding from chemical
manufacturers to offset the costs of the TSCA program. Yes or no, if confirmed will you
commit to maintaining the current TSCA user fees rule?

Response: I cannot prejudge the outcome of any particular rulemaking or the review of any
existing rule. To the extent that the rule complies with Congress’s directions and is based on
rational policy choices, I will maintain it.

72

EPA_00299843
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 100 of 129

10. When we met, you said that you believe in the mission of the Environmental Protection
Agency (EPA) and that if confirmed, you want to rebuild the morale of EPA staff and foster
a trusting relationship with the experts at the agency. The nominee for the Office of
Management and Budget, Russell Vought has a different take, being quoted as saying, “We
want the bureaucrats to be traumatically affected. When they wake up in the morning, we
want them to not want to go to work because they are increasingly viewed as the villains. We
want their funding to be shut down so that the EPA can’t do all of the rules against our
energy industry because they have no bandwidth financially to do so. We want to put them
in trauma.” Do you agree with the objectives stated by Mr. Vought?

Response: If confirmed, I look forward to working with the very talented career staff at EPA who
are dedicated to the agency’s mission to protect human health and the environment.

a. How do you expect the Environmental Protection Agency to fulfill its mission if
its employees are subjected to “trauma” in the workplace?

Response: If confirmed, I look forward to working with the very talented career staff at EPA who
are dedicated to the agency’s mission to protect human health and the environment.

b. What will you do to protect dedicated staff at the Environmental Protection
Agency, including toxicologists, epidemiologists, and other support staff, who
work every day to protect our human and environmental health?

Response; If confirmed, I look forward to working with the very talented career staff at EPA who
are dedicated to the agency’s mission to protect human health and the environment.

11. Yes or no, if confirmed, do you commit to maintaining and implementing the
Environmental Protection Agency’s drinking water standards for six PFAS chemicals?

Response: I understand that this rule is currently the subject of litigation. Thus it
would be inappropriate for me to prejudge the outcome of any regulatory proceeding.
I will follow all legal requirements regarding implementation of EPA’s regulations.

12. Research has shown that pollution and its negative health impacts tend to be clustered,
often in low-income communities, tribal communities, and communities of color. How
will the Environmental Protection Agency address the disproportionate environmental
impacts experienced by these communities and ensure meaningful community
engagement in the agency’s decision-making processes?

Response: I believe that every American deserves access to clean air and water, and I commit
to working hard to meet the needs of all communities, consistent with the law.

13. The Environmental Protection Agency (EPA) defines cumulative impacts as "the totality
of exposures to combinations of chemical and nonchemical stressors and their effects on
health and quality-of-life outcomes.” If confirmed, would you support incorporating the
consideration of cumulative impacts on affected communities into Agency decision
making, including permitting decisions?

73

EPA_00299844
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 101 of 129

Response: I cannot prejudge any policy decision. If confirmed, I look forward to working with
the very talented career staff at EPA who are dedicated to the agency’s mission to protect
human health and the environment.

14. Yes or no, do you agree with the following statement? “The Environmental Protection
Agency must undergo a major reorganization, including developing a tiered-down
approach to cut costs, reduce the number of full-time equivalent (FTE) positions, and
eliminate programs.”

Response: If confirmed, I look forward to working with the career staff at EPA to ensure there
is adequate staffing and resources to fulfill the agency’s mission to protect human health and
the environment.

15. Yes or no, do you agree with the following statement? “The Office of Environmental
Justice and External Civil Rights, the Office of Enforcement and Compliance Assistance,
and the Office of Public Engagement and Environmental Education must be eliminated as
a stand-alone entities.”

Response: I commit to ensuring that Americans are protected. If confirmed, I look forward to
working with the career staff at EPA to ensure the agency’s mission to protect human health and
the environment is applied equally for all Americans.

16. Yes or no, do you agree with the following statement? “The Environmental Protection
Agency’s mission would be better served by moving civil servants from headquarters to
regional offices.”

Response. As I stated in the hearing, “no one has expressed to me in any setting since I was
announced as nominee or before that, of any plans with regard to moving the EPA headquarters
out of D.C.”

17. In April 2024, the Environmental Protection Agency finalized a rule that would designate
two per- and polyfluoroalkyl substances (PFAS) as hazardous substances under the
Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA).
Yes or no, do you agree with the following statement? “The designation of PFAS
chemicals as “hazardous substances” under the Comprehensive Environmental Response,
Compensation, and Liability Act should be revisited.”

Response: I cannot prejudge any policy decision. If confirmed, I look forward to working with
the very talented career staff at EPA who are dedicated to the agency’s mission to protect
human health and the environment.

18. The Integrated Risk Information System program is used to identify and characterize the
health hazards of chemicals found in our environment. Yes or no, do you agree with the
following statement? “Decision-making for human health assessments must be risk-based
rather than by using hazard-based approaches like the Integrated Risk Information
System program.”

Response: Generally speaking, I understand that the Toxic Substances Control Act requires that
EPA determine if a chemical substance presents an unreasonable risk to human health or the
environment. If confirmed, I commit to ensuring that “risk” is used as the basis for the risk

74

EPA_00299845
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 102 of 129

evaluation and risk management of chemicals as required by the law.

19. When evaluating chemical exposures for workers in a risk evaluation under the Toxic
Substances Control Act (TSCA), the Environmental Protection Agency (EPA) has
revisited its posture on assuming that workers use personal protective equipment (PPE)
properly or consistently. The EPA cites on its website that, ‘data violations of PPE use
suggest that assumptions that PPE is always provided to workers, and worn properly, are
not justified. Continued use of this assumption could result in risk evaluations that
underestimate risk, and in turn, risk management rules may not provide the needed
protections.” Yes or no, do you agree with the following statement? “Risk evaluations
and risk management rules promulgated under the Toxic Substances Control Act should
presume that workplaces are following all OSHA requirements, including requirements
for personal protective equipment (PPE).”

Response: I cannot prejudge any policy decisions. If confirmed, I look forward to working with
talented EPA career staff to ensure that any decision is based on the science, available data and
supports the Agency’s mission to protect human health and the environment.

20. As you may know, the voluntary Safer Choice program at the Environmental Protection
Agency provides an opportunity for consumers to easily identify and choose products that
contain ingredients considered safer for their health and the environment. Yes or no, do
you agree with the following statement? “The Safer Choice program should be
transitioned to the private sector.”

Response: I am aware of the benefits of the Safer Choice program, although I cannot prejudge
any decisions on this issue before being briefed by EPA’s career professionals on this issue.

21. In advance of your hearing, you were required to submit both a Questionnaire to the
Committee as well as a Form 278e financial disclosure to the Office of Government
Ethics (OGE). The OGE Form 278¢ is publicly available. In that disclosure you listed op
eds that were not listed on the Questionnaire submitted to the Committee. Some of those
op-eds were on subjects that seem pertinent to the Committee, including a FOX News op
ed about New York’s climate targets and a Newsday piece about environmental, social
and governance policies. Why did you not list these pieces on the Committee
Questionnaire?

Response: In the questionnaire, I highlighted several op-eds I published while in Congress,
which highly exemplified my long-standing work on environmental issues. At the end of my list
of publications, I offered to submit any additional sources into the record upon request by the
committee.

22. You indicated in your hearing that you supported full transparency about the articles you
had written. Will you provide this committee with the full list of op-ed articles that you

have received payment for, including the subject of those op-eds that were never
ultimately published?

Response: Below are links to the op-eds I received payment for:

https://www. washingtonexaminer.com/restoring-america/2908643/biden-administration-is-
using-medicaid-regulations-to-target-red-states/

15

EPA_00299846
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 103 of 129

https://www. washingtontimes.com/news/2023/jul/13/bidens-financial-regulators-give-china-
backed-brok/

https://nypost.com/2024/08/29/opinion/harris-housing-plan-would-inflate-costs-worsen-the-
crisis/

https://www.realclearpolicy.com/articles/2023/03/03/how_congress_can_stop the next ftx 885
118.html

https://www.foxnews.com/opinion/new-york-targets-beef-producers-cant-meet-its-own-climate-
goals

https://www.newsday.com/opinion/commentary/guest-essays/esg-investing-yteSq4zn

https://www.newsweek.com/last-thing-americans-need-another-broken-federal-retirement-
program-opinion-1798123

The subjects of the op-eds that were not published were finance sector-related submissions.
a. Who has provided you with drafts of or feedback on op-eds?
Response: LMZ Consulting worked with the firms that retained LMZ Consulting.

b. Who hired CGCN, DCI, and CRC Advisors to commission you to draft the op-eds
for which those firms paid you?

Response: Unknown

c. Will you grant permission for the Environment and Public Works Committee to
release that information publicly?

Response: I have no objection to the EPW Committee releasing my answers to Question
22A/B.

23. You reported receiving $21,675 from FOX News Network for the use of your media
studio. How much of this was for use of the studio for interviews that FOX News
conducted with you?

Response: $21,675, although the studio was made available for use by others.

24. You reported receiving $5,100 from Nexstar Media Group, Inc. for the use of your media
studio. How much of this was for use of the studio for interviews that Nexstar Media
Group, Inc. conducted with you?

Response: $5,100, although the studio was made available for use by others.

Senator Markey:

1. During your tenure in the House of Representatives, you voted twice for the PFAS Action
Act, which requires the Environmental Protection Agency (EPA) to set drinking water

76

EPA_00299847
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 104 of 129

standards for per- and polyfluoroalkyl substances (PFAS). More than 100 million people
will have cleaner drinking water as a result of the EPA’s final maximum contaminant
levels (MCL) for PFAS in drinking water. While ten states have their own PFAS drinking
water standards, 40 states do not, leaving their residents with no protections if the
national standard was to be eliminated. Do you agree that people should have clean water
regardless of where they live?

Response: Yes

a. If confirmed, will you ensure that the drinking water standard goes into effect in
2029?

Response: As I mentioned during my confirmation hearing, when I represented New York’s First
District in Congress, I was a member of the PFAS Task Force and voted for the PFAS Action
Act. I also saw PFAS issues firsthand in Suffolk County, New York. I understand EPA’s drinking
water standards for certain PFAS are currently under review in federal court, and thus it would be
inappropriate for me to prejudge the outcome of any future action that may be taken regarding
these standards. I look forward to being briefed by EPA’s career professionals on this issue, if
confirmed.

b. If confirmed, will you preserve, not weaken, the PFAS drinking water standard?

Response: I understand EPA’s drinking water standards for certain PFAS are currently under
review in federal court, and thus it would be inappropriate for me to prejudge the outcome of
any future action that may be taken regarding these standards. I look forward to being briefed
by EPA’s career professionals on this issue, if confirmed.

c. How will you build upon drinking water standards under the Safe Drinking Water
Act to prevent additional contamination of our nation’s drinking water with
PFAS?

Response: It would be inappropriate for me to prejudge the outcome of any future action that
may be taken regarding these standards. I look forward to being briefed by EPA’s career
professionals on this issue, if confirmed.

2. Following the designation of certain types of PFAS as hazardous substances under the
Comprehensive Environmental Response, Compensation, and Liability Act, will EPA
evaluate the risks from PFOA and PFOS during the mandatory five-year review of
Superfund site remedies?

Response: If confirmed, I commit to following the law.

3. How will you work to limit industrial wastewater discharges of PFAS through effluent
limitation guidelines under the Clean Water Act?

Response: If confirmed, I commit to following the law, and I look forward to being briefed by
EPA’s career professionals on this issue.

4. The EPA signed a memorandum of understanding with the Department of Labor to apply
high-road labor standards to EPA programs funded by the Bipartisan Infrastructure Law

7

EPA_00299848
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 105 of 129

and Inflation Reduction Act. If confirmed, will you uphold this MOU and support high
road labor standards, including prevailing wages, apprenticeship requirements, and
project labor agreements?

Response: It is critical to work cooperatively with other agencies across the federal government.
I have not reviewed this memorandum of understanding; however, if confirmed, I look forward
to reviewing it.

5. The National Ambient Air Quality Standards are a core part of the Clean Air Act and
have helped clean up America’s skies since their bipartisan passage in 1970. These
standards reduce pollution for a handful of critical pollutants, such as soot and ozone
pollution, which are linked to increased rates of asthma, lost school and work days,
cardiovascular disease, and death. Will you commit to enforcing these life-saving and
economy-boosting public health standards?

Response: I commit to following the law.

6. In 2019, you voted to prevent the federal government from considering the economic costs
of climate change. A 2024 study found that climate change alone will cost an average
American born today nearly a million dollars over their lifetime, through a combination
of cost-of-living increases, reduced earnings, increased healthcare costs, and natural
disaster damages. Will you commit to ensuring the EPA factors climate-related economic
impacts into its decision-making under your leadership?

Response: I commit to taking into consideration all benefits and costs as allowed by law and
appropriate in the particular regulatory context.

7. The first EPA Administrator Bill Ruckelshaus—appointed by President Nixon—said
“EPA is an independent agency. It has no obligation to promote agriculture or
commerce; only the critical obligation to protect and enhance the environment.” On Fox
News in November, you emphasized your commitment to rolling back regulations on day
one, framing environmental protections as burdens on businesses. However, these
regulations are critical to safeguarding clean air and water for Americans, as well as
addressing environmental harms from climate change. While burdens to businesses can
be considered during rulemakings, EPA was designed not to have an inherently
economic-focused mission. Given your stated plan to roll back clean air and water
protections, how will you uphold and prioritize EPA’s mission to protect public health
and the environment?

Response: Protecting the environment is a vital mission, but it cannot be done with disregard for
the burdens that regulations can impose. The Supreme Court has held that agencies are generally
required to consider the costs and benefits of their regulations, and has found in the past that EPA
violated the law by refusing to do so. EPA and all agencies must act according to the law, which
is the only way that their policies will be durable.

8. Coal ash contains hazardous pollutants including arsenic, boron, cobalt, chromium, lead,
lithium, mercury, molybdenum, radium, selenium, and other heavy metals, which have
been linked to cancer, heart and thyroid disease, reproductive failure, and neurological
harm. Despite the federal 2015 Coal Ash Rule, widespread industry violation of the rule
is causing significant groundwater contamination across the country. Last year, EPA

78

EPA_00299849
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 106 of 129

acknowledged industry’s widespread non-compliance and made enforcement of federal
coal ash safeguards an EPA priority as part of the National Enforcement and Compliance
Initiative. Do you agree that hazardous pollutant levels in coal ash pose a danger to the
public?

Response: I understand that EPA regulates coal combustion residuals as solid waste under
subtitle D of the Resource Conservation and Recovery Act, which governs non-hazardous solid
waste. I am aware that coal combustion residuals contain constituents such as heavy metals that
may pose risks to human health and the environment in certain quantities and circumstances.

a. If yes, do you agree that exposure to coal ash, including through its use as fill,
should be reduced to a maximum possible extent?

Response: I will protect communities facing groundwater contamination in a manner consistent
with EPA’s statutory authorities from Congress. I am aware that EPA’s solid waste regulations
under subtitle D of the Resource Conservation and Recovery Act governing coal combustion
residuals, first promulgated in the Obama Administration and revised during the First Term of
the Trump Administration and again during the Biden Administration, continue to exclude
from their scope the beneficial use of coal combustion residuals, so long as that beneficial use
meets certain criteria in the regulations. I understand there are numerous environmental
benefits from beneficial use of coal combustion residuals, and those should be considered when
assessing the overall regulatory approach to coal combustion residuals.

b. Will you ensure utilities comply with federal rule requirements to safely manage
and dispose of coal ash?

Response: I commit to following the law.

c. Will you ensure that regional offices have the resources to inspect and enforce the
Coal Ash Rule to ensure clean water and healthy communities?

Response: While the Agency’s budget is ultimately for Congress to determine, I understand that
these are important issues and I commit to working with Congress, EPA’s regional offices, and
our State and Tribal partners to address them.

d. Will you commit to using existing EPA authority to gather data on communities
where coal ash has been used as fill for construction and landscaping projects, as
well as protect further communities from exposure to coal ash fill?

Response: I am aware that EPA’s solid waste regulations under subtitle D of the Resource
Conservation and Recovery Act governing coal combustion residuals include a number of
reporting and data collection obligations. I look forward to being briefed by EPA’s career
professionals on this issue.

9. Given that 40 percent of all school age children today have one or more chronic health
conditions, and that asthma is still the leading cause of absenteeism due to illness, would

you as Administrator support and help expand EPA’s Indoor Air in Schools program?

Response: I cannot prejudge any policy decision. If confirmed, I look forward to working with
the talented career staff at EPA who are dedicated to the agency’s mission to protect human

79

EPA_00299850
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 107 of 129

health and the environment.

10. Given that school facilities are often large, complex structures with layers of operating
systems (roofing, plumbing, heating, cooling, building materials), rural-remote schools
and those in disadvantaged communities can find it difficult to address contamination.
Will you support EPA continuing to provide grants and technical assistance on
remediation and removal of toxic substances in schools?

Response: As a father, the issue of a safe school environment is particularly close to my heart.
While I cannot commit to outcomes prior to confirmation, please rest assured I look forward, if
confirmed, to being briefed on toxic substances in American schools and finding solutions for
remediation.

11. Water quality projects needed to meet goals of the Clean Water Act will cost an
estimated $630.1 billion nationwide over the next 20 years, according to the most recent
Clean Watersheds Needs Survey. What can EPA do to close this gap?

Response: While funding decisions are the responsibility of Congress, if confirmed, I commit to
carrying out EPA’s water quality programs as authorized by Congress in a manner consistent with
the law and in conjunction with EPA’s State, Tribal, and local government partners.

12. This past April, the EPA released its updated guidance on PFAS destruction and disposal.
Can you commit that any disposal or destruction method deemed acceptable by the EPA
will be verified through real-world data as effective and have continuous monitoring to
ensure public safety?

Response: I appreciate the importance of this issue and look forward to being briefed on PFAS
destruction and disposal by EPA’s career professionals.

13. appreciate your commitment to providing clean water for Americans. As EPA
Administrator, how would you prioritize efforts to address lead contamination in drinking
water, particularly in disadvantaged and overburdened communities?

Response: I commit to working on this important issue in a manner consistent with EPA’s
statutory authority under the Safe Drinking Water Act.

a. What specific steps would you take to ensure municipalities have the resources
they need to comply with federal standards and protect public health?

Response: I commit to working on this important issue in a manner consistent with EPA’s
statutory authority under the Safe Drinking Water Act. Iam aware that Congress has established
various programs that EPA administers to provide support for water infrastructure projects to
States, Tribes, and local governments, including the Water Infrastructure Improvements for the
Nation Act grant programs and Drinking Water State Revolving Fund. If confirmed, I commit to
being a good steward of taxpayer dollars and ensuring that funds appropriated to EPA are spent
in a manner consistent with the law.

14. Will you commit to preserving EPA’s Scientific Integrity Policy?

Response: I cannot prejudge the outcome of any particular policy review.

80

EPA_00299851
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 108 of 129

15. For infrastructure projects that are funded through federal financial assistance, the Build
America, Buy America Act (BABA) requires that iron, steel, construction materials, and
manufactured products produced in the United States. The EPA has made progress on the
implementation of this requirement, as detailed in its 2024 Investing in America report.
Do you support BABA requirements?

Response: I commit to following the law.

a. Will you commit to helping EPA build its internal capacity to implement BABA
requirements through internal policies and procedures?

Response: I commit to following the law.

16. More than 98 percent of Safer Choice-certified products are either headquartered in the
United States or have a manufacturing site in the United States, and the Fiscal Year 2025
National Defense Authorization Act (P. L. 118-159) included a requirement to purchase
cleaning products identified by the Safer Choice program or through an equivalent
certification. Do you agree that the Safer Choice program provides value to both
American companies and for consumer protection?

Response: I cannot prejudge any decisions on this issue. If confirmed, I will confer with the
talented EPA career staff to ensure that any decision is based on the Agency’s mission to protect

human health and the environment.

17. Will you commit to fully continuing to implement the awarded Clean School Bus
program grants and rebates?

Response: I commit to following the law. I cannot prejudge the outcome of any particular
policy review.

18. EPA workers are essential to carrying out the mission of the agency. Will you honor
collective bargaining agreements currently in place with EPA Unions?

Response: If confirmed, I will follow applicable legal requirements regarding EPA’s
employee unions.

a. Will you ensure merit-based hiring and promotions?
Response: If confirmed, I will follow applicable legal requirements regarding EPA’s
employee unions. I cannot prejudge the outcome of any particular employment decision
that may come before me.

b. Do you agree to continue a robust Labor Management Forum?
Response: If confirmed, I will follow applicable legal requirements regarding EPA’s

employee unions. Additionally, I believe it is important for management and labor
unions to have open dialogue.

Senator Kelly:

81

EPA_00299852
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 109 of 129

1. The State of Arizona has been collaborating with EPA, local governments, and
universities across the state on the Ground Level Ozone Research project to identify
ozone precursors both within and outside the Maricopa County region that are impacting
ozone levels. Will you continue the research and support ozone studies and scientific
discussions focused on the Maricopa County ozone nonattainment area?

Response: If confirmed, I will work with you and your staff on issues related to Maricopa
County’s ozone nonattainment area.

a. What additional research will the EPA be conducting?

Response: Before making any commitments on additional research, I would need to meet with
EPA staff to understand what potential gaps exist and how best to utilize taxpayer funds
consistent with the authorities established by Congress.

b. Will the EPA investigate the atmospheric chemical factors contributing to why
reductions in anthropogenic ozone precursor emissions over the past seven years
have not resulted in lower ozone concentrations in nonattainment areas across the
west?

Response: Better understanding causes of ground-level ozone and mitigation techniques that
improve air quality are important and I commit, if confirmed, to working with you on these
issues.

2. Mr. Zeldin, as we discussed, Arizona needs support to ensure air emissions from Mexico
are accounted for in our attainment planning process. Do you have a view on how the
Agency can update its policies regarding the Clean Air Act’s Section 179(b) exemption
for international emissions?

Response: It’s important to ensure that American communities are not penalized for pollution
originating in other countries that they have no ability to control. With this principle in mind,
EPA can articulate a clear standard for states to make international emission demonstrations to
support state plan approvals and avoid unfair imposition of sanctions and penalties.

3. Mr. Zeldin, as we discussed, wildfire smoke is posing challenges to air quality monitoring
throughout the western United States. How you would streamline the process for non-
attainment areas to have exceptional events like wildfires properly considered in
attainment status determinations?

Response: While I cannot prejudge the outcome of any particular attainment status
determination, I agree that it is important for EPA to give due consideration to exceptional
events like wildfires in a manner consistent with the Clean Air Act.

4. Mr. Zeldin, there are over 15,000 abandoned uranium mines (AUMs) across the Western
United States, with 75% located on federal and tribal lands. According to U.S. EPA, AUMs
pose an enormous environmental threat and “[p]otential health effects include lung cancer
from inhalation of radioactive particles, as well as bone cancer and impaired kidney
function from exposure to radionuclides in drinking water.” In December 2023, the U.S.
EPA issued its Final High-Pressure Slurry Ablation (HPSA) Treatability Study Report
approving HPSA technology as “a viable technology for treatment of AUM waste.” U.S.

82

EPA_00299853
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 110 of 129

EPA concluded that HPSA achieved “up to a 98 percent reduction in the concentration of
uranium and up to a 93.5 percent reduction in the concentration of Ra 226 in the course
fraction.” It furthermore concluded that HPSA technology reduced leachability by up to 93
percent, original waste volume by up to 83 percent, and clean-up costs by up to 90 percent.
Over the past year, U.S. EPA has been working closely with the Navajo Nation and the
developer of the HPSA technology to develop a Phase 2 demonstration project at AUM sites
on Navajo Nation lands. The Phase 2 demonstration project will further prove HPSA at
commercial scale and is expected to be supported by funds from the Navajo Nation as well
as funds from a Trust Fund previously established for the clean-up of AUMs pursuant to a
legal settlement between the U.S. Government and the Navajo Nation. Will you commit to
continuing to advance the U.S. EPA’s partnership with the Navajo Nation and the developer
of HPSA to further prove this promising technology’s application to AUM clean-ups in
preparation for full deployment?

Response: I acknowledge the importance of EPA partnering with Tribal governments to achieve
positive environmental outcomes. While I cannot prejudge any particular policy outcome, if
confirmed, I commit to working with you and stakeholders on this issue.

a. Will you ensure ongoing negotiations of the U.S. EPA with the Navajo Nation,
the developer of HPSA, the Trust Fund previously established for the clean-up of
AUMs, and any other related parties regarding a HPSA Phase 2 demonstration
project are able to continue when the Trump Administration takes office?

Response: I cannot prejudge any particular policy outcome. If confirmed, I commit to working
with you and stakeholders on this issue.

5. For almost a century, Federal and state Miller Acts have provided protections for workers,
subcontractors, and taxpayers against loss by requiring contractors to utilize payment and
performance protections for the construction of public infrastructure projects. These
protections help ensure projects are delivered on time and on budget, protect taxpayer
revenue, and also provide meaningful safeguards for subcontractors, workers, suppliers
by ensuring compensation in the event a lead contractor for an infrastructure project is
unable to deliver on their obligations. However, application of the Federal and state
Miller acts is not always clear on newer forms of project procurements, such as public
private partnerships (P3s). Sen. Cramer and I introduced legislation last Congress, S.
2928, the Water Infrastructure Subcontractor and Taxpayer Protection Act, to address this
ambiguity and ensure these commonsense protections are applied appropriately,
regardless of project procurement. Would you commit to working with us as we continue
to address this policy loophole?"

Response: If confirmed, I look forward to learning more about the particulars of this issue and
engaging you and Senator Cramer, as appropriate.

6. One of the legacy projects my predecessor in the United States Senate, John McCain,
championed in Arizona was an imitative called Rio Reimagined, which seeks to support
economic development along the banks of the Salt River in Phoenix and surrounding
communities. In 2020, EPA included the Rio Reimagined project within an EPA program
called the Urban Waters Federal Partnership. This program seeks to support economic
development alongside waterways in urban areas by facilitating brownfield and
watershed cleanups along waterways. Mr. Zeldin, do you agree that EPA has a role to

83

EPA_00299854
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 111 of 129

play in supporting economic development through projects like the Rio Reimagined
project?

Response: If confirmed, I look forward to being briefed by EPA’s career professionals on the
details of EPA’s Urban Waters Federal Partnership, and to carry out the program in a manner
consistent with law.

a. Will you provide my team with feedback and technical assistance on bipartisan
legislation we’ ve introduced in prior years, called the Urban Waters Federal
Partnership Act (S. 702)?

Response: Yes, I commit to working with you on this issue and to providing technical
assistance from EPA as-needed.

7. Waters of the United States (WOTUS) is a term used in the Clean Water Act to identify
which waters must comply with federal clean water standards. The Clean Water Act
grants the Environmental Protection Agency and the United States Army Corps of
Engineers the authority to define “waters of the United States” via regulations. The
definition of “waters of the United States” has seen many legal challenges, leading to
different definitions over the years. Most recently, the Supreme Court ruled that the
Clean Water Act extends only to wetlands that have a continuous surface connection with
“waters of the United States.” The ruling limits the jurisdiction of EPA to regulate waters
under the Clean Water Act and will require the agencies to develop a new definition of
WOTUS. Given the ongoing legal and regulatory debates surrounding the definition of
Waters of the United States, how do you plan to establish a clear and consistent
framework that balances environmental protection with the interests of landowners and
industries?

Response: As I mentioned during my confirmation hearing, it is critical that Americans have a
clear understanding on which waters are subject to federal jurisdiction under the Clean Water
Act. If confirmed, I commit to working with EPA’s talented career professionals and the
United States Army Corps of Engineers to provide needed clarity.

a. What steps will you take to ensure that the classification of WOTUS reflects the
latest scientific understanding of aquatic ecosystems and their connectivity?

Response: As I mentioned during my confirmation hearing, it is critical that Americans have a
clear understanding on which waters are subject to federal jurisdiction under the Clean Water
Act. If confirmed as EPA Administrator, I commit to working with EPA’s talented career
professionals and the United States Army Corps of Engineers to provide needed clarity.

8. States receive three core categorical grants from the federal government that support state
implementation of key federal programs: air, water, and hazardous waste. Relatively
stagnant funding combined with increased regulatory complexity, emerging issues, and
state responsibility, compounded by significant growth in inflation, has eroded the actual
level of support these programs receive and increases strain on state program budgets.
Arizona and other states need increased funding to each of the three categorical grant
programs to successfully carry out our responsibilities under federal law and protect
public health. How do you plan to ensure that EPA is providing states with adequate
funding support to implement delegated and primacy programs?

84

EPA_00299855
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 112 of 129

Response: While funding level appropriations are the responsibility of Congress, if confirmed, I
commit to working with our State and Tribal partners to provide resources, information, and
technical support on issues within EPA’s jurisdiction.

a. Do you anticipate any changes to the IIJA or IRA grant programs under the
incoming administration?

Response: It would be inappropriate for me to prejudge the outcome of any action that
EPA may take.

9. Water infrastructure is a foundational element for the economic development of
communities, yet it is an area where rural and Tribal communities in Arizona and across
the country have been left behind in terms of investment. This committee, the full
Congress, and the EPA accomplished a lot in this area in the Bipartisan Infrastructure
Law, but much more must be done. Specifically, disadvantaged communities benefit
from the availability of technical assistance resources, and flexibilities being built into
how funding can be used. What will EPA do under your leadership to address these
challenges? Can you commit to working with the committee to ensure we’re providing
flexibilities and technical assistance resources that rural and Tribal communities need to
improve their water infrastructure?

Response: I understand the importance of these issues to you and your constituents, and I look
forward to working with the Committee on these issues if confirmed.

10. Phoenix saw a record breaking 143 days over 100 degrees Fahrenheit this summer.
That’s dangerous for senior and vulnerable. In your view, what is EPA’s role in tackling
extreme heat?

Response: I am aware that EPA has historically provided resources and information to people
confronting extreme heat, in conjunction with State, Tribal, and local governments and other
federal agencies including the Occupational Safety and Health Administration and the Centers
for Disease Control and Prevention.

11. Federal clean energy investments from the IIJA and the IRA have spurred growth in
clean manufacturing and affordable renewable energy, creating hundreds of thousands of
new jobs, lowering energy costs for Americans, and cutting climate pollution. The
suspension of investments like these would not only cost good paying jobs in Arizona,
but potentially reverse the progress made in reducing emissions. As you review programs
funded by the IRA and IIJA, will you commit to evaluate the impact to good paying
manufacturing jobs, in states like Arizona, before making any changes to program
implementation?

Response: Yes.

12. The Pesticide Registration Improvement Act (PRIA) was enacted to provide predictable
timelines for pesticide registrants and additional funding for EPA’s Office of Pesticide
Programs (OPP). PRIA plays a crucial role in helping farmers access safe and effective
tools by reducing delays in bringing innovative pesticide products to market while
maintaining rigorous safety standards. Currently, about 62% of all pending pesticide
registration actions under PRIA are late. In instances where OPP has missed PRIA

85

EPA_00299856
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 113 of 129

deadlines, OPP has not been clearly communicating the reasons why additional time is
needed and the number of additional days needed to complete the PRIA action, as required
under the statute. Other countries with equally robust regulatory reviews are approving
new pesticide technologies months or years faster than EPA, leaving American farmers
and applicators with fewer tools to combat disease and pest threats than those abroad. This
puts the American farmer at a disadvantage and hinders American innovation. Given the
importance of timely pesticide registrations for farmers and agricultural productivity, how
will you, if confirmed as EPA Administrator, help ensure that the Office of Pesticide
Programs adheres to PRIA timelines and allocates the necessary resources to meet the
needs of farmers?

Response: If confirmed, I will work with EPA’s Office of Pesticide Programs to improve its
registration procedures by identifying areas for process improvements and optimization and
work toward more timely pesticide registrations.

a. Additionally, what steps will you take to enhance collaboration with agricultural
stakeholders and improve the efficiency of the pesticide registration process?

Response: I cannot prejudge the steps to improve the efficiency of the registration process. If
confirmed, I commit to work with EPA career staff to identify areas for process improvement
and process optimization.

13. The U.S. is a global leader on sound science and risk-based regulatory approaches for
agricultural pesticides. However, over the past several years the EPA has not been
attending international forums, creating space for a hazard-based regulatory approach to
be promoted globally. It is critical that the U.S. is not only present, but that EPA’s leaders
and experts actively participate in dialogues to provide technical expertise and support
USS. agriculture. If confirmed, do you commit that the EPA will once again participate
and lead on the global stage to promote sound science and risk-based regulatory
approaches?

Response: If confirmed, I commit to conferring with career EPA staff to ensure that the
appropriate staff participate in global meetings and dialogues, in conjunction with the State
Department as appropriate.

14. Mr. Zeldin, as we discussed, uranium mine cleanup on the Navajo Nation is a priority for
me. Will you support applying the latest technology to promote better remediation results
at CERCLA clean-up sites?

Response: Generally speaking, it is important to consider available technological developments
that have been adequately demonstrated when considering potential remedies to address releases
at contaminated sites. While I cannot comment on any particular cleanup effort, I commit to
working with you on this priority for you and your constituents.

a. Do you believe that CERCLA remediation efforts at abandoned uranium mines in
the Navajo Nation should favor remedies that recover waste uranium and critical
minerals while simultaneously reducing groundwater contamination by
eliminating the leachability of the toxic materials?

Response: I am aware that EPA considers and balances a host of factors, consistent with the

86

EPA_00299857
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 114 of 129

Comprehensive Environmental Response, Compensation, and Liability Act and EPA’s
implementing regulations, when determining the appropriate remedy for a contaminated site.
While I cannot comment on any particular cleanup effort, I commit to working with you on this
priority for you and your constituents.

b. High-Pressure Slurry Ablation is such a remedy, and a study financed by USEPA
found it to be a very promising technology for CERCLA remediation within the
Navajo Nation and at other locations. However, Region 9 of USEPA has not
funded any further studies. Would you support additional studies and pilot
projects?

Response: While funding decisions are the responsibility of Congress, if confirmed, I look
forward to working with EPA’s career professionals in Region 9 on these issues.

c. Do you support the USEPA’s National Strategy to Expand Superfund
Optimization Practices from Site Assessment to Site Completion, and will you
apply that policy to sites on the Navajo Nation?

Response: It would be inappropriate for me to prejudge any changes to this program before
having the opportunity to consider the issues and confer with EPA’s career professionals on
this topic, once confirmed.

d. How will USEPA move forward engaging and collaborating with tribal leaders
and tribal governments to ensure full alignment and support for on-going
Superfund cleanup efforts, recognizing the unique sovereignty and cultural needs
of Tribal Communities, particularly Navajo Nation?

Response: While I cannot comment on any particular cleanup effort, I commit to working with you
on this priority for you and your constituents, as well as working with the appropriate State, Tribal,
and local government officials in a manner consistent with EPA’s regulations and policies,
including EPA’s policy on tribal consultation.

e. How will USEPA secure long-term support and funding for the Navajo National
Superfund Program from the USEPA Superfund Tax? Specifically, how will
USEPA guarantee funding from the Superfund Tax for the new Lukachukai
Mountain Mineral District, the first National Priority List site on the Navajo
Nation which was added to the NPL in March 2024?

Response: While it is premature to take positions on spending priorities before I have been
confirmed and fully briefed on issues pertaining to the Agency, I look forward to being briefed

on this issue.

Senator Padilla:

1. The California Conservation Corps provides young adults with paid opportunities to work
on environmental conservation, natural resource management, and disaster response
projects, equipping them with hands-on experience, education, and job training. Widely
regarded as a successful model, the program offers pathways to careers in environmental
and public service sectors while addressing critical challenges facing the state. Mr.
Zeldin, if confirmed, how will the EPA work with and build on programs like the

87

EPA_00299858
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 115 of 129

California Conservation Corps to provide the next generation with opportunities to
develop valuable skills and create job opportunities?

Response: If confirmed, I commit to carrying out the authorities that Congress has granted to
EPA on this issue in a manner consistent with law.

2. In September, the EPA proposed to designate the former Exide Technologies site on the
Superfund list, which puts the site on the path towards final designation and justice for
the many Southeast Los Angeles communities who are suffering from lead and other
contamination. Unfortunately, under the prior Trump Administration, the EPA proposed
significant cuts to the EPA’s budget overall, including to the Superfund program. We’re
not going to be able to move sites through the Superfund process and clear the backlog if
we underfund this critical program. Mr. Zeldin, if confirmed, will you commit to working
with me and Southeast Los Angeles communities affected by Exide’s crimes to ensure
that we get a proper clean-up?

Response: I am aware that, according to EPA, there are more than 1,100 Superfund sites currently
on the National Priorities List, and 39 additional sites proposed for listing. While funding
decisions are the responsibility of Congress, and while I cannot prejudge the outcome of any
proposed Superfund site listing, I commit to working with you on priorities important to you and
your constituents if confirmed.

a. And, will you commit to requesting sufficient funds in future EPA budget
requests for the Superfund program?

Response: While funding decisions are the responsibility of Congress, I commit to working with
you on priorities important to you and your constituents if confirmed.

3. As we work to bring manufacturing back to the US, we must also commit to keeping
American families safe from toxic chemicals used in everyday consumer products.
Currently, there is insufficient scientific data for evaluating the health effects of all
potentially toxic chemicals, but advances in high performance machine learning are
promising. How would the use of supercomputing and computational toxicology assist
the EPA with the assessment of new chemicals under the Toxic Substances Control Act
and would such a program be helpful in bolstering the use of science in EPA’s decision
making?

Response: If confirmed, I will confer with the talented EPA career scientists and technology
experts to consider this issue.

4. As the largest agricultural state in the nation, California grows more than 400
commodities, many of which are specialty crops that are not grown anywhere else in the
country. EPA has significant responsibility for ensuring the safety and efficacy of
pesticides, antimicrobials, and disinfectants for human health and the environment. Yet

88

EPA_00299859
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 116 of 129

years of declining budgets and staffing at EPA’s Office of Pesticide Programs has
delayed and prevented innovative crop protection products from reaching the market,
many of which could reduce costs, improve yield, and are more sustainable than existing
technologies. How will the EPA ensure OPP has adequate resources to fulfill its
responsibilities under the Federal Insecticide, Fungicide and Rodenticide Act (FIFRA)
and the Pesticide Registration Improvement Act (PRIA)?

Response: I understand the important role EPA plays in administering this program. While
funding decisions are the responsibility of Congress, I commit to carrying out the authorities that
Congress has granted to EPA on this issue in a manner consistent with law.

5. Tribal access to water and sanitation is often unreliable. Native American households are
19 times more likely than white households to lack indoor pipes for running water and
sanitation. In addition, these water systems are almost all small, rural, and understaffed.
How will the EPA ensure that Tribal systems receive the support needed to address
critical system upgrades, operations and maintenance, and workforce development
shortfalls?

Response: I am aware that Congress has established various programs that EPA administers to
provide support for water infrastructure projects to Tribes, including the Water Infrastructure
Improvements for the Nation Act grant programs and Drinking Water State Revolving Fund that
includes a tribal “set-aside.” If confirmed, I commit to being a good steward of taxpayer dollars
and ensuring that funds appropriated to EPA are spent in a manner consistent with the law.

6. The maritime industry has increasingly pushed and set decarbonization goals to address
greenhouse gas pollution. For example, Maersk and Carnival have committed to
decarbonizing their operations by 2040 and 2050, respectively. As the maritime industry
continues to adopt the International Maritime Organization’s greenhouse gas
recommendations, what role will the EPA play in incentivizing maritime decarbonization
efforts to address the needs of industry and the environment?

Response: I would have to confer with the technical experts at EPA on this issue. If confirmed,
I look forward to working with the very talented career staff at EPA who are dedicated to the
agency’s mission to protect human health and the environment.

7. In 1972, the EPA banned the chemical DDT because of the risks it posed to human
health, wildlife, and the environment. Before that happened, substantial amounts of DDT
were dumped into the Pacific Ocean. These chemicals have been reported to make their
way up the food chain — creating a toxic legacy that pollutes our precious ocean
ecosystems and fisheries. How will the EPA address and work to create a long-term plan
for remediation of this chemical disaster through its Superfund authority?

Response: I would have to confer with the technical experts at EPA on this issue. If confirmed,
I look forward to working with the very talented career staff at EPA who are dedicated to the
agency’s mission to protect human health and the environment.

8. Due to the ongoing wildfires in Los Angeles, the air quality in Southern California has

89

EPA_00299860
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 117 of 129

been drastically impacted, with several notices going out warning residents about the
smoke, ash, and pollution in the air. If confirmed, will you commit to ensuring that the
EPA continues to support the recovery in Los Angeles and continues to provide real-time
information to Angelenos regarding the health impacts of the wildfires and subsequent
destruction?

Response: We are all concerned about these fires and their impacts. I commit to using available
means to urgently address them, consistent with the Agency’s authority provided by Congress.

9. State and local regulators in my state have done everything they can to reduce toxic
emissions for sources that they have jurisdiction over. What’s left are the things that
only the federal government can regulate, like the transportation sector. But I want to be
clear that the answer to our non-attainment issues is not deregulate or lower the bar for
attainment. That doesn’t actually do anything to improve the air quality for my
constituents. Instead, we need the federal government to actually step up and do its part.
If confirmed, will you commit to using EPA’s regulatory authority to actually improve
the air quality for my constituents, and not just let polluters off the hook by lowering
environmental and public health standards?

Response: Ensuring that areas are able to attain NAAQS standards should be a top priority for
States, as they are responsible for establishing plans to meet those standards. Issues related to
emissions that the state or area cannot control are ones faced by many states. If confirmed, I
commit to using EPA’s regulatory authority pertaining to the NAAQS in a manner consistent
with the law. I also commit that EPA will work with our State and local government partners to
provide technical assistance and other resources to assist with attainment efforts.

10. The Environmental Protection Agency’s list of obligations and duties has been
exponentially increasing as new industries, products, and processes arise as a result of
American innovation. However, the EPA’s budget and workforce have not seen a
meaningful increase to keep pace with the demands of the Agency since 2010. What will
you do, if confirmed, to ensure the agency is fully staffed and resourced to perform their
duties to keep people and natural resources safe and clean?

Response: If confirmed, I will ensure that the Agency follows the law concerning expenditures
of money appropriated by Congress, partnering with you to ensure that there is adequate staffing
for the Agency’s mission to protect human health and the environment.

11. EPA’s Draft Insecticide Strategy aims to ensure pesticide impacts on listed species under
the Endangered Species Act are lessened, if not neutralized. What is your plan to advance
the Draft Strategy?

Response: I would have to confer with the technical experts at EPA on this issue. If confirmed,
I look forward to working with the talented career staff at EPA who are dedicated to the
agency’s mission to protect human health and the environment.

90

EPA_00299861
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 118 of 129

12. Water quality projects needed to meet goals of the Clean Water Act will cost an
estimated $630.1 billion nationwide over the next 20 years, according to the most recent
Clean Watersheds Needs Survey. What can EPA do to close this gap?

Response: While funding decisions are the responsibility of Congress, if confirmed, I commit to
carrying out EPA’s water quality programs as authorized by Congress in a manner consistent with
the law and in conjunction with EPA’s State, Tribal, and local government partners.

13. PFAS is a growing public concern and has direct linkages between source water
protection and public health. The states with the highest level of PFAS include
California, New Jersey, Michigan, Massachusetts, New Hampshire, North Carolina,
Alabama, and Pennsylvania to name a few. Whether you live in a red or blue state, we’re
all affected by PFAS pollution. How will EPA meet this challenge to keep harmful PFAS
out of source water to protect communities and help utilities and treatment plants deal
with this emerging threat?

Response: As I mentioned during my confirmation hearing, when I represented New York’s First
District in Congress, I was a member of the PFAS Task Force and voted for the PFAS Action
Act. I also saw PFAS issues firsthand in Suffolk County, New York. If confirmed, I commit to
carrying out the authorities that Congress has granted to EPA on this issue in a manner consistent
with law.

14. Given the increase in cybersecurity attacks on public water utilities in recent years, how
will you as Administrator, if confirmed, support improving the water and wastewater
sectors cybersecurity resiliency against threats from malicious actors?

Response: I am aware that EPA has stated that cyber attacks against public water systems are
increasing. If confirmed, I commit to carrying out the authorities that Congress has granted to
EPA on this issue in a manner consistent with law.

Senator Schiff:

1. I asked you a number of questions at your confirmation hearing on January 16, 2025. 1
was grateful for your willingness to answer my questions and for the number of
commitments you provided, listed below, to ensure clean air, water, and more for all
Californians. If confirmed, will you agree to meet with me in March to discuss the issues
I raised in further detail as well as your progress on the commitments made during your
public nomination hearing?

Response: If confirmed, I commit to working with you and your office on issues within EPA’s
authority important to you and your constituents, and commit to working with your office to
schedule a meeting at a mutually convenient time.

a. As you know, the horrific fires in Los Angeles have displaced thousands of

91

EPA_00299862
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 119 of 129

people and have resulted in the loss of more than two dozen lives, destroying
Californians’ homes, livelihoods, and so much more. It's more important than
ever that California has the full support of the federal government to recover and
respond. I appreciated our discussion at the hearing about your work as State
Senator in New York as a member of the State Senate Bipartisan Task Force on
Hurricane Sandy recovery and EPA’s close work with federal agencies and the
states of New Jersey and New York to assess damage and respond to
environmental concerns after the hurricane. Furthermore, I appreciate your
commitment to advocating for the same strong disaster response and recovery
assistance from the EPA to California after the Los Angeles fires as EPA
provided to your constituency in Long Island after Hurricane Sandy.

b. I appreciate your commitment at the hearing to doing everything in your power to
ensure California receives EPA assistance after the Los Angeles fires to ensure
that local water supplies are tested, treated, and restored to safe drinking water
standards, just as EPA stepped in to do after the horrific Maui fires.

c. I further appreciate your comments about working to ensure that Americans
affected by disasters receive relief regardless of whether they are in a red state or
a blue state.

d. As I discussed with you privately and during the hearing, the Tijuana River
pollution crisis has brought immense industrial waste and raw sewage over the
border from Mexico into California, posing serious environmental and public
health challenges to San Diego and Imperial County. I appreciated your
commitment to reviewing the EPA’s Border Water Infrastructure program,
specifically with the needs of California and the Tijuana River pollution crisis in
mind. Furthermore, I was grateful to hear your commitment to reviewing the
EPA's January 7, 2025 decision to deny a request to investigate the Tijuana River
Valley for a potential Superfund designation and consider whether a different
judgment should be reached, should you be confirmed.

e. As I raised during the hearing, the average home in South Los Angeles is over 70
years old and more likely to contain corroded lead plumbing than other regions in
the state. Additionally, out of the 58 counties in the state of California, Fresno
County has one of the largest numbers of children with high levels of lead in their
blood. In October, the EPA announced new final regulations requiring drinking
water systems across the country to identify and replace all lead pipes within 10
years. I appreciated your commitment at the hearing to ensure the EPA continues
its work to provide local communities like those in Fresno and in South Los
Angeles with access to safe drinking water, particularly in underserved
communities.

f. As you know, the EPA administers 12 geographic programs, longstanding
geographic specific programs that help protect local ecosystems and communities
from climate change, habit, habitat loss, and pollution. Their efforts to add the
Salton Sea in California, which is an ecological disaster, potentially paired with
the Great Salt Lake, which has similar ecological and health issues, as part of
EPA geographic program designation. If successful, such a designation would
bring revenues that could be used to mitigate an environmental hazard in a very

92

EPA_00299863
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 120 of 129

neglected part of the state. I appreciated your commitment at the hearing to
reviewing the ecological hazards at the Salton Sea and consider adding the Salton
Sea as one of these geographic programs.

g. As I shared at the hearing, residents of Fresno in the San Joaquin Valley had just
10 days of healthy air last summer, a stark reminder of the urgency of California’s
air pollution issues. The EPA has long supported California's efforts to address
this crisis through clean vehicle programs, regulatory actions, and strong
enforcement. I was grateful for your comments to continue support for
investments like those the EPA has already made in the San Joaquin Valley to
improve air quality in California.

2. Will you ensure that the historically underserved communities in Altadena and across Los
Angeles County receive the resources and assistance they need in recovering from the
environmental damage caused by the LA fires from the EPA?

Response: We are all concerned about these fires and their impacts. If confirmed, I commit to
using available means to urgently address them, consistent with the Agency’s authority provided
by Congress.

3. The Central Coast is a geographically and demographically diverse region of California
where research has found that possible PFAS contamination from pesticides
disproportionately affects communities of color. California’s Central Coast Regional
Water Quality Control Board approved a Voluntary Cleanup and Abatement Agreement
with San Luis Obispo County and CAL FIRE to address PFAS contamination at the
airport resulting from the use of firefighting equipment during training and operational
activities. Will you commit to working with members of the California Congressional
Delegation to ensure that airports seeking assistance under the FAA Reauthorization Act
of 2024 are supported by the EPA?

Response: We are all concerned about these fires and their impacts. If confirmed, I commit to
using available means to urgently address them, consistent with the Agency’s authority provided
by Congress.

4. The EPA’s Clean School Bus Program is a national initiative that is helping communities
reduce emissions from older diesel school buses. The program provides funding to
replace older diesel-fueled buses with cleaner, zero-emission models and aims to improve
air quality and protect the health of students and surrounding communities. California has
been a leader in electric school bus manufacturing. If confirmed as EPA Administrator,
do you plan to continue the EPA Clean School Bus Program?

Response: If confirmed, I will work to carry out EPA programs authorized by Congress in a
manner consistent with law.

Senator Blunt Rochester:

93

EPA_00299864
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 121 of 129

1. In 2020, you voted in favor of an inadequate soot pollution standard that was neither
backed by scientific evidence nor recommended by the agency itself. Will you commit to
protecting, not weakening, the soot pollution standard and other critical environmental
standards under the Clean Air Act?

Response: I will follow the law and make sure the EPA is fulfilling Congressional obligations
under the Clean Air Act.

2. Water affordability keeps American families up at night. The EPA recently found that
over 19 million households struggle to pay their monthly water bill. This is
unacceptable.

The Bipartisan Infrastructure Law laid the groundwork for the EPA to play a role in
solving this problem by authorizing for them to administer a much-needed assistance
pilot program that I helped author.

How will your EPA address water affordability and ensure all Americans have access to
this basic resource?

Response: Too many American families are facing numerous economic hardships. If confirmed
as Administrator, I will address the issue of water access and affordability using the authorities
provided to the Agency by Congress, in partnership with States, Tribes, and local governments.

a. Will you commit to working with my office and the committee to fund this pilot
program to help address the 19 million households in need of support lowering
their water bills?

Response: While funding decisions are the responsibility of Congress, I commit to working
with your office on drinking water issues.

3. As you may know, roughly a third of the workforce in the water sector is within 5-10
years of retirement and there are considerable challenges associated with recruitment,
retention, and training of plumbers, water treatment plant operators, and utility operators.
Do you believe that this is an issue that should be prioritized by the EPA?

Response: Water workforce resilience is an important issue facing our nation. I am aware that,
in 2020, EPA under the Trump Administration issued a Water Sector Workforce Initiative to
help address the challenges of recruitment, training, and retention of water sector workforce
employees. If confirmed, I commit to addressing issues facing the water sector in a manner
consistent with legal authorities provided to the Agency by Congress.

a. Will you support allocating funding to address this major issue?

Response: While funding decisions are the responsibility of Congress, I commit to working
with your office on drinking water issues.

4. Programs such as the Clean Ports Program, the Climate Pollution Reduction Grants, and

the Greenhouse Gas Reduction Fund have helped both red and blue states, including

94

EPA_00299865
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 122 of 129

Georgia, Florida, and my home state of Delaware. However, these programs are rumored
to be at risk under your potential leadership of the EPA.

Mr. Zeldin, how will your EPA ensure that these successful programs continue to be
implemented to improve these states' energy infrastructure and technology?

Response: If confirmed, I will work to carry out programs established and funded by Congress.

5. Mr. Zeldin, you’ve been a long-time and vocal supporter of EPA’s National Estuaries
Program. You co-founded the National Estuary Caucus, cosponsored a resolution to
designate a National Estuaries Week, and supported reauthorization of the National
Estuary Program. Will you commit to supporting the National Estuaries Program at
EPA and ensuring it does not face any funding cuts?

Response: The National Estuaries Program is a non-regulatory program established by Congress
under section 320 of the Clean Water Act, designed to improve the waters, habitats and living
resources of 28 estuaries across the country. If confirmed as EPA Administrator, I look forward
to working closely with EPA’s career professionals on administering this program and others that
affect our nation’s estuaries in a manner consistent with the law.

6. Mr. Zeldin, small refineries in Delaware, New Jersey, and Pennsylvania have raised
questions on the feasibility and effectiveness of the Renewable Fuel Standard. If
confirmed, will you commit to working with me to address concerns we have. If you are
confirmed, can you commit to working with me to help ensure small refineries are able to
meet the requirements of the program in a way that does not put union refining jobs at
risk?

Response: If confirmed, I will work with you to ensure that the Renewable Fuel Standard
program is carried out consistently with the law that Congress has enacted to govern it.

Senator Alsobrooks:

1. When you and I met, we spoke about your efforts in Congress involving the National
Flood Insurance Program—a program that is important in your home state and in mine.
On a related topic, the cost of homeowners insurance is on the rise. Since 2018,
homeowners insurance non-renewals have increased by 30 percent in Maryland. Major
homeowners insurance providers are dropping hundreds of thousands of policyholders in
response to frequent extreme weather events caused by climate change. Do you agree that
the effects of climate change are driving economic hardship for American families, such
as unaffordable insurance premiums?

Response: Too many American families are facing numerous economic concerns. Coming from a
coastal state myself, I’ve seen the challenges and disappointments this issue causes. If confirmed,
I will work with the tools Congress has given me to protect Americans.
a. If yes, do you believe that the Environmental Protection Agency (EPA) has an
obligation to address the root causes of climate change, including reducing

greenhouse gas emissions?

Response: If confirmed, I commit to following the law in every respect.

95

EPA_00299866
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 123 of 129

2. During your hearing, I asked if you supported the unofficial Department of Government
Efficiency’s proposal to lay off 75 percent of government workers. Specifically, I asked
if you supported firing 75 percent of EPA employees. You said that you were unaware of
EPA layoffs during the last Trump administration and that you were unaware of plans to
fire EPA employees during this term. Would you please clarify whether you would
support a significant reduction in EPA’s workforce if confirmed?

Response: If confirmed, I look forward to working with the very talented career staff at EPA who
are dedicated to the agency’s mission to protect human health and the environment.

3. During your hearing, I asked whether you supported Project 2025’s proposal to move the
EPA headquarters out of Washington, D.C. You stated that you were unaware of plans to
move the EPA headquarters. Would you please clarify whether you would support or
oppose such a move if confirmed?

Response: As I stated in the hearing, “no one has expressed to me in any setting since I was
announced as nominee or before that, of any plans with regard to moving the EPA headquarters
out of D.C.”

96

EPA_00299867
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 124 of 129

Message

From: Voyles, Travis [(O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]
Sent: 2/14/2025 5:00:13 PM

To: Vaseliou, Molly [Vaseliou.Molly@epa.gov]
cc: Amidon, Eric [Amidon.Eric@epa.gov]
Subject: FW: Loving, Kathryn shared "contract_details" with you

These are being terminated now.

Travis Voyles
C: (202) 787-0595

From: Killian, Cole <Killian.Cole@epa.gov>

Sent: Friday, February 14, 2025 11:48 AM

To: Voyles, Travis <voyles.travis@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@ epa.gov>
Subject: RE: Loving, Kathryn shared "contract_details" with you

Thank you for this update Travis.

As anote: OMS is giving input on whether they think any given contract is mission-critical, and they didn’t
mark any of these contracts as mission-critical.

OMS is now moving forwards with terminating these contracts.

Best,
Cole

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Thursday, February 13, 2025 10:18 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Killian, Cole <Killian.Cole@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: RE: Loving, Kathryn shared "contract_details" with you

Thank you!

And below is the test batch run that just got approved to cancel. We will go back into the spreadsheet and mark these as
“Approved to Cancel”.

Date
Cancellation PIID Terms and Rationale Notes from EAS Description Recipient Name

Process Started Conilifions

EPA_00299908
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 131-3

Page 125 of 129

2/11/2025 68HERH24F0023 | No notice EO: Ending Technical assistance for ENDYNA, INC.
required. radical and planning, development,
Term for wasteful implementation, and reporting
convenience. | government assistance related to the
FAR 52.249 DEI programs environmental climate justice
and program.
preferencing
2/11/2025 68HERH23F0237 | No notice EO: Ending The contractor will fulfill ENDYNA, INC.
required. radical and OEJECR’s need for EJ and
Term for wasteful Civil Rights programming and
convenience. | government learning material in support of
FAR 52.249 DEI programs implementing EJ and Civil
and rights considerations into EPA
preferencing. If | policies, programs, and
we were doing activities.
this, we should
insource.
2/11/2025 68HEOP24F0031 | No notice EO: Ending The Suppliers are encouraged to | HUMAN
required. radical and bid on training 40 employees CAPTIAL
Term for wasteful for 3 days of training over a 5- RESOURCES &
convenience. | government week training period, spread out | CONCEPTS INC
FAR 52.249 DEI programs over 5 months that is in person
and training. The training will focus
preferencing on critical leadership skills and
should include some training on
Environmental Justice,
Working with Communities,
and Diversity Equity Inclusion
and Accessibility (DEIA).
2/11/2025 68HERC24F0330 | No notice Waste: Should The EPA Office of Research PEGASUS
required. be in-sourced. and Development (ORD) is TECHNICAL
Term for (Training collaborating with Region 5 to SERVICES, INC
convenience. | material develop Health Impact
FAR 52.249 development.) Assessment (HIA) learning
And HIA objectives and training
probably has a materials for new and existing
DEI angle, EPA staff, and potentially
though itis not | external partners, such as states,

explicit here.

to understand and perform HIA
in an EPA context. ORD has a
long history of doing HIA
research and practice. Based on
our experience, we are well-
positioned to be a resource for
the Agency as it is building
capacity to do cumulative
impact assessment (CIA), of
which one existing
methodology is Health Impact
Assessment. Cumulative impact
assessment is a priority by
which EPA has committed to
addressing environmental
justice issues.

EPA_00299909

2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 131-3

Page 126 of 129

2/11/2025 68HERH23F0327 | No notice Waste: Retreats | The contractor shall provide GENERAL
required. might be strategic planning, facilitation DYNAMICS
Term for wasteful, and and leadership support for the INFORMATION
convenience. external Office of Land and Emergency | TECHNOLOGY,
FAR 52.249 contractor Management (OLEM), Office INC.

support for a of Emergency Management

retreat is (OEM) conferences and

definitely meetings related to OEM senior

wasteful. management and staff office
wide retreats. Support for this
task order should also include
an experienced, skillful
facilitator to conduct interviews
with each OEM staff and
manager, provide
developmental training
exercises and training materials,
pre-retreat development of an
agenda and topical discussions
to include strategic planning,
and provide highlights after the
meeting.

2/11/2025 68HERC23P0042 | No notice EO: Ending Procure Gartner HR research GARTNER, INC.
required. radical and and advisory services covering
Term for wasteful employee experience, diversity,
convenience. | government equity, inclusion and
FAR 52.249 DEI programs accessibility, and work life

and integration.
preferencing.

2/11/2025 68HERH24P0143 | No notice EO: Ending CONSULTING SERVICES TO | LIGHTHOUSE
required. radical and DEVELOP A STRATEGY
Term for wasteful COMPREHENSIVE PLAN CONSULTING
convenience. government AND STRATEGY WHICH LLC
FAR 52.249 DEI programs ADDRESSES DIVERSITY,

and EQUITY, INCLUSION,

preferencing. ACCESSIBILITY, AND
STAFF ENGAGEMENT IN A
WAY THAT IS
MEANINGFUL, RELEVANT,
AND APPROPRIATE FOR A
STEM AUDIENCE.
TRAINING OFFERED
SHOULD BE

2/11/2025 68HERC23F0428 | No notice EO: Ending SUPPORT FOR EXPANDING | ICF
required. radical and THE ENVIRONMENTAL INCORPORATED,
Term for wasteful JUSTICE CONTENT WITHIN | L.L.C.
convenience. government ACE (AMERICA'S
FAR 52.249 DEI programs CHILDREN AND THE

and ENVIRONMENT)
preferencing.

2/11/2025 68HERH24F0409 | No notice EO: Ending Provides administrative support | INTSCI-ENDYNA
required. radical and and meeting planning support to | LLC
Term for wasteful the office of environmental
convenience. | government justice and external civil rights.

FAR 52.249 DEI programs
and
preferencing.

EPA_00299910

2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 131-3

Public Contract Description

Base and All
Options Value

Base
Exercised
Options Value

Total
Obligation

Outstanding
Value

BPAS 68HERH22A0018
THROUGH
68HERH22A0029. THIS IS
A NEW COMPETITIVE
EARTH T&M/FFP HYBRID
CALL ORDER FOR
OEJECR ENTITLED,
"TECHNICAL
ASSISTANCE FOR GRANT
APPLICANTS/RECIPIENTS
AND ADMINISTRATIVE
SUPPORT TO EPA UNDER
THE CLEAN AIR ACT
SECTION

$117,931,407.48

$70, 122,340.16

$64,668,605.16

$53,262,802.32

THIS CALL ORDER IS TO
AWARD A CONTRACT
FOR ENVIRONMENTAL
JUSTICE AND CIVIL
RIGHTS PROGRAMMING
AND LEARNING.

$6,895,921.10

$3,206,754.60

$750,000.00

$6,145,921.10

$228,292.84

$43,000.00

$43,000.00

$185,292.84

Page 127 of 129

EPA_0029991 1
2:25-Cv-02152-RMG

$248,464.00

Date Filed 04/21/25

$109,528.00

Entry Number 131-3

$109,528.00

$138,936.00

TASK ORDER FOR
FACILITATION,
LEADERSHIP
DEVELOPMENT, AND
OFFICE-WIDE RETREAT
SUPPORT (FOLLOW-ON
TO EP-17-W-003/0013)
UNDER MULTIPLE-
AWARD BRIDGE
CONTRACTS FOR OFFICE
OF LAND AND
EMERGENCY
MANAGEMENT, OFFICE
OF EMERGENCY
MANAGEMENT.

$108,255.27

$108,255.27

$64,533.82

$43,721.45

$95,922.00

$95,922.00

$95,922.00

$0.00

CONSULTING SERVICES
TO DEVELOP A
COMPREHENSIVE PLAN
AND STRATEGY WHICH
ADDRESSES DIVERSITY,
EQUITY, INCLUSION,
ACCESSIBILITY, AND
STAFF ENGAGEMENT IN
A WAY THAT IS
MEANINGFUL,
RELEVANT, AND
APPROPRIATE FOR A

$180,000.00

$180,000.00

$180,000.00

$0.00

Page 128 of 129

EPA_00299912
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131-3 Page 129 of 129

STEM AUDIENCE.
TRAINING OFFERED
SHOULD BE

SUPPORT FOR $985,889 $985,889 $985,889 0
EXPANDING THE
ENVIRONMENTAL
JUSTICE CONTENT
WITHIN ACE (AMERICA'S
CHILDREN AND THE
ENVIRONMENT)
CONTRACTOR SUPPORT _ | $257,672.10 $257,672.10 $257,672.10 $0.00
FOR OFFICE OF
ENVIRONMENTAL
JUSTICE AND EXTERNAL
CIVIL RIGHTS, OFFICE OF
POLICY, PARTNERSHIPS
AND PROGRAM
DEVELOPMENT,
PARTNERSHIPS AND
COLLABORATION
DIVISION.

Travis Voyles
C: (202) 787-0595

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Thursday, February 13, 2025 6:11 PM

To: Voyles, Travis <voyles.travis@epa.gov>; Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine)
<hanson.catherine@epa.gov>; Killian, Cole <Killian.Cole@epa.gov>

Subject: RE: Loving, Kathryn shared "contract_details" with you

Hi everyone,

Keeping up the cadence today, we have added to the queue a list of 71 grants that were all signed before July 1,
2024, worth $119M (ceiling; savings will be lower once we subtract obligations). The new tab is called “Feb 13
grants to cancel”.

It was great to put 5 of the “gold bars” on this list, that are signed before July 1! (The majority of those were
signed after July 1.) We have marked those 5 rows in blue, because gold is too hard to read. Total award value
for those 5 is $36.9M, of which $27.8M has not yet been obligated. We are calling them “gold bars” because
they were awards to grant makers who plan to give subawards. 4 of the 5 are part of the Thriving communities
grantmaking program that Lee cancelled part of earlier today.

Best,
Kathryn

EPA_00299913
